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                         ICC 22056/DDA

     THE COMPANY: COMPAGNIE SAHÉLIENNE D’ENTREPRISE

                                (Senegal)

                                                         Claimant
                                   V.




                    THE REPUBLIC OF GUINEA

                                                         Respondent




                             FINAL AWARD


                              August 7, 2018


                     (Pursuant to the 2012 ICC Rules)




                              RENDERED
             BY AN ARBITRAL TRIBUNAL COMPOSED OF:


                 Prof. Dr. Nayla Comair-Obeid - President

                  Dr. Seydou Madani SY - Co-Arbitrator

                  Mr. Joachim Bilé-Aka - Co-Arbitrator
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LIST OF ABBREVIATIONS

Applicable Laws and Procedural Rules


  Terms of Reference                        Terms of Reference signed by the Claimant and the
                                            members of the Arbitral Tribunal during the Procedural
                                            Hearing held on June 23, 2017

  Special Administrative Terms and          The Special Administrative Terms and Conditions of
  Conditions (C.C.A.P.)                     the Procurement Contracts for Lot 4 and Lot 5
                                            (“C.C.A.P.”)

  G eneral Administrative Terms and         The G eneral Administrative Terms and Conditions of
  Conditions for the Procurement            the Procurement Contracts for Lot 4 and Lot 5,
  Contracts                                 (“C.C.A.G.”)

                                            The Procedural Timetable approved on June 23, 2017
  Procedural Timetable
                                            during the Procedural Hearing

  Applicable Law                            Guinean Law

  Rules of the International Chamber of     The 2012 Arbitration Rules of the International
  Commerce in Paris                         Chamber of Commerce in Paris

  Procedural Rules established by the       Adopted during the Procedural Hearing held on June
  Arbitral Tribunal and adopted             23, 2017



Parties, Attorneys, Experts, the ICC, and Arbitral Tribunal

  Claimant                                  Compagnie Sahélienne d’Entreprise, a corporation
                                            incorporated in Senegal, which has its registered office
                                            at Rocade Fann Bel Air in Dakar (Senegal), or “CSE”




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  Respondent                                  The Republic of G uinea, Conakry, a sovereign State
                                              acting through the Judicial Agent of the Government or
                                              “Project Owner”

  Attorney for the Claimant                   Represented by Dr. Abdoul Hamid Ndiaye, Attorney at
                                              Law admitted to the Paris Bar

  Attorney for the Respondent                 Not represented

  The     International Court   of            The Court of the ICC is located in Paris, France
  Arbitration of the International
  Chamber of Commerce

  The Secretariat of the International        The Secretariat of the ICC is located in Paris, France
  Chamber of Commerce

  Arbitral Tribunal                           The Arbitral Tribunal is composed of the following
                                              persons: Prof. Dr. Nayla Comair- Obeid (President), Dr.
                                              Seydou Madani (Co-Arbitrator) and Me. Joachim
                                              Bilké-Aka (Co-Arbitrator)



General: Pertinent entities and individuals

  The Guinean Embassy in France               51, Rue de la Faisanderie, 75016, Paris, France

  Funders                                     KFAED, SFD, BADEA, and OPEC

  Ministry of Public Works of the             Boulevard du Commerce - Almamya, Kaloum, BP
  Republic of Guinea                          [P.O. Box] 581, Conakry, Guinea

  Mr. Massamba Gueye                          Chief Executive Officer and Chief Financial Officer of
                                              Compagnie Sahélienne d’Entreprise - Fact witness for
                                              the Claimant



Submissions of the Parties

  Request for Arbitration                     Submission of the Request for Arbitration on June 20,
                                              2016




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  Request for Arbitration               Request for Arbitration submitted by the Claimant on
                                        July 22, 2017

  The Questions of the Arbitral         The questions of the Arbitral Tribunal sent to the
  Tribunal and Request for Production   Claimant dated October 3, 2017
  of Documents

  The Claimant’s responses to the       The responses were submitted to the Arbitral Tribunal
  questions asked by the Arbitral       on October 25, 2017 and additional responses were
  Tribunal                              submitted on November 6, 2017 and on March 29, 2018

  Telephone conference call             On December 19, 2017, a telephone conference call was
                                        held with the members of the Arbitral Tribunal and the
                                        Claimant represented by Mr. Abdoul Ndiaye present.
                                        The Respondent did not participate despite the fact that
                                        it was notified of the date of the telephone conference
                                        call.



Other Abbreviations

  Preliminary Procedural Hearing        A preliminary procedural hearing was held in Paris, on
                                        June 23, 2017.

  Final Hearing for Pleadings           The Final Hearing was held on February 19 and 20,
                                        2018.

  Amendments                            Amendment No. 1 of the Procurement Contract for
                                        Construction Work No. 2003/0325/1/2/1/2/N dated
                                        June 25, 2003 and Amendment No. 1 of the
                                        Procurement Contract for Construction Work No.
                                        2003/0324/1/2/1/2/N dated June 25, 2003

  Guinean NDB                           Guinean National Development Budget

  Certificate of Final Acceptance       Certificate of Final Acceptance of the Procurement
                                        Contract for Lot 4 and of the Procurement Contract for
                                        Lot 5

  C.C.                                  Guinean Civil Code

  SA (Startup Advance) Count            Initial Advance Count




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KFAED                             Kuwait Fund for Arab Economic Development

SFD                               Saudi Fund for Development

GNF                               Guinean Francs

Procurement Contract for Lot 4    The Procurement Contract for Construction Work
                                  entitled “Upgrading of the 2x2-lane [Road] between
                                  Tombo and Gbessia Airport (Conakry), Lot 4: Kenien
                                  Section -T1, Procurement Contract for Construction
                                  Work no. 2003/0325/1/2/1/2/N dated June 25, 2003

Procurement Contract for Lot 5    The Procurement Contract for Construction Work
                                  entitled “Upgrading of the 2x2-lane [Road] between
                                  Tombo and Gbessia Airport (Conakry), Lot 5: Section
                                  T1-T2, including the two interchanges at the
                                  intersections of the T1 and the T2, Procurement
                                  Contract      for    Construction     Work     No.
                                  2003/0324/1/2/1/2/N dated June 25, 2003”

Procurement Contracts             Procurement Contract for Lot 4 and Procurement
                                  Contract for Lot 5

OPEC                              Organization of Petroleum Exporting Countries




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I.   INTRODUCTION

A.   THE PARTIES

1.   The Claimant

1.   Compagnie Sahélienne d’Entreprise (“CSE”), a corporation incorporated in Senegal, which has
     its registered office at the Rocade Fann Bel Air in Dakar (Senegal).

2.   The Claimant is represented by:

     Mr. Abdoul Hamid Ndiaye

     Attorney at Law admitted to the Paris Bar
     22, Avenue de l’Observatoire
     75014, Paris
     France

     Tel.: +33 6 20 64 84 10
     Fax: +33 1 45 38 57 10
     E-mail address: andiaye.avocat@yahoo.fr

3.   The counsel of the Claimant, Mr. Abdoul Hamid Ndiaye, has been duly authorized to represent the
     Claimant in the arbitral proceeding pursuant to a retainer agreement to provide representation and
     assistance dated June 8, 2016.

2.   The Respondent

4.   The Republic of Guinea, a sovereign State acting through the Judicial Agent of the Government,
     with the following addresses:

     The Republic of Guinea
     Agent judiciaire de l’Etat [Judicial Agent of the Government]
     Immeuble ACGPMP [ACGPMP Building] - 2ème Étage [2nd Floor]
     Boulevard du Commerce
     Conakry, Guinea




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     The Guinean Embassy in France
     51, Rue de la Faisanderie
     75016, Paris
     France
     Tel.: +33 (1) 47 04 81 48
     Fax: +33 (1) 47 04 57 65


5.   The Arbitral Tribunal, in its correspondence dated September 8, 2017, October 2, 2017, and
     October 6, 2017, asked the Claimant to identify, in addition to the two addresses of the Respondent
     already identified in the case file, the address of the Ministry of Public Works of the Republic of
     Guinea. the Claimant identified said address in its Correspondence No. 10 dated October 25, 2017.
     Thus, since October 25, 2017, the pieces of correspondence from the Arbitral Tribunal have also
     been sent to the following new address of the Respondent:

     The Republic of Guinea
     Ministre des Travaux Publics [Minister of Public Works]
     Boulevard du Commerce - Almamya, Kaloum
     BP [P.O. Box] 581, Conakry, Guinea


6.   The Respondent did not participate in the arbitral proceeding, although all the correspondence was
     sent to it and duly served upon it via DHL. Below is a table summarizing the pieces of
     correspondence and the dates on which they were received by the Respondent.




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Correspondence   Date Sent by the   Date of Receipt by   Date of Receipt by   The Republic of   Appendix
                 Tribunal           the Judicial Agent   the Guinean          Guinea
                                    of the               Embassy (Paris,
                                    Government           France)              Minister of
                                    (Conakry,                                 Public Works
                                    Guinea)


AT-P-001         May 10, 2017       May 15, 2017         May 29, 2017                           1
                                                         (sent with AT-P-
                                                         003)
AT-P-002         May 23, 2017       May 26, 2017         May 29, 2017                           2
                                                         (sent with ATP-
                                                         003)
AT-P-003         May 25, 2017       May 29, 2017         May 29, 2017                           3
AT-P-004         June 6, 2017       June 9, 2017         June 7, 2017                           4
AT-P-005         June 14, 2017      June 19, 2017        June 15, 2017                          5
AT-P-006         June 15, 2017      June 20, 2017        June 16, 2017                          6
AT-P-007         June 16, 2017      June 20, 2017        June 19, 2017                          7
AT-P-008         June 20, 2017      June 27, 2017        June 21, 2017                          8
AT-P-009         June 22, 2017      June 27, 2017        June 23, 2017                          9
AT-P-010         June 27, 2017      July 3, 2017         June 29, 2017                          10
AT-P-011         July 6, 2017       July 11, 2017        July 7, 2017                           11
AT-P-012         August 4, 2017     August 8, 2017       August 7, 2017                         12
AT-P-013         August 30, 2017    September 4,         August 31, 2017                        13
                                    2017
AT-P-014         October 3, 2017    October 6, 2017      October 9, 2017                        14
AT-P-015         October 4, 2017    October 9, 2017      October 5, 2017                        15
                                    November 10,         November 9,          November 10,
AT-P-016         November 6, 2017
                                    2017                 2017                 2017
                                                                                                16–17
AT-P-017         November 7, 2017   November 10,         November 9,          November 10,
                                    2017                 2017                 2017




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AT-P-018          December 12,       December 21,       December 20,       December 21,
                  2017               2017               2017               2017
AT-P-019          December 14,       December 21,       December 20,       December 21,
                  2017               2017               2017               2017
AT-P-20           December 16,       December 21,       December 20,       December 21,
                                                                                              18–22
                  2017               2017               2017               2017
AT-P-21           December 17,       December 21,       December 20,       December 21,
                  2017               2017               2017               2017
AT-P-22           December 18,       December 21,       December 20,       December 21,
                  2017               2017               2017               2017
AT-P-23           December 21,       January 3, 2018    January 2, 2018    January 3, 2018
                  2017
                                                                                              23–24
AT-P-24           December 18,       January 3, 2018    January 2, 2018    January 3, 2018
                  2017
AT-P-25           January 8, 2018    January 12, 2018   January 2, 2018    January 12, 2018   25
AT-P-26           January 12, 2018   January 18, 2018   January 17, 2018   January 18, 2018   26
AT-P-27           January 24, 2018   January 30, 2018   January 29, 2018   January 30, 2018   27
AT-P-28           February 15,       February 20,       February 19,       February 20,       28
                  2018               2018               2018               2018
AT-P-29           February 26,       March 1, 2018      February 28,       March 1, 2018      29
                  2018                                  2018
AT-P-30           February 27,       March 27, 2018     March 26, 2018     March 27, 2018
                  2018                                                                        30–31
AT-P-31           March 22, 2018     March 27, 2018     March 26, 2018     March 27, 2018
AT-P-32           March 29, 2018     April 9, 2018      April 6, 2018      April 9, 2018      32
AT-P-33           April 14, 2018     April 19, 2018     April 17, 2018     April 19, 2018     33
AT-P-34           April 17, 2018     April 27, 2018     April 25, 2018     April 27, 2018
                                                                                              34–35
AT-P-35           April 24, 2018     April 27, 2018     April 25, 2018     April 27, 2018
AT-P-36           July 12, 2018      July 16, 2018      July 13, 2018      July 16, 2018      36



7.    The Arbitral Tribunal is attaching as an appendix to this final award, all the DHL receipts for
      transmission to the Respondent of all the pieces of correspondence, which demonstrate that the
      Respondent was actually able to peruse all of said pieces of correspondence, and as a result was
      validly informed of the arbitral proceeding.

8.    The Arbitral Tribunal thus notes the following:




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      There is no doubt that the Respondent was informed of this arbitration from the outset;


      The Respondent was duly and validly served with the Claimant’s Request for Arbitration in
      compliance with the terms of Article 4 of the ICC Rules, and it was clearly notified of this
      proceeding and of the intention of the ICC to appoint an Arbitral Tribunal to resolve this
      dispute;


      The Arbitral Tribunal has taken all the measures necessary to identify a second address and a
      third address for the Respondent, i.e., those of the Guinean Embassy in Paris and of the Ministry
      of Public Works of the Republic of Guinea in order to serve all the correspondence and
      procedural acts upon it.


      Several additional measures were taken by the Claimant and the Arbitral Tribunal in order to
      ensure that the Respondent was advised of this arbitration;


      Considerable, efforts have been made, repeatedly, throughout this proceeding, to allow the
      Respondent to participate in all the stages of the arbitration; and


      All the notifications were validly served upon the Respondent in compliance with Article 3(2) of
      the ICC Rules.


9.   Considering the preceding, the Arbitral Tribunal deems that all the measures reasonably necessary
     to notify the Respondent of this arbitration have been taken; that there have been no obstacles to
     the Respondent’s participation in this arbitration; and that the Respondent’s absence at this
     arbitration has been a deliberate choice on its part and not the result of a lack of notification.




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B.    THE ARBITRAL TRIBUNAL

1.    Co-Arbitrators

10.   Dr. Seydou Madani Sy was appointed Co-Arbitrator by the Claimant and confirmed by the Court
      on April 28, 2017 pursuant to Article 13(1) of the ICC Rules. His contact information is as follows:

      Dr. Seydou Madani SY
      Ngor Almadies - Villa No. 6
      Rues 96 x 99 [96th Street at 99th Street]
      B.P. [P.O. Box] 6183 Dakar-Etoile
      12900, Dakar
      Senegal

      Tel.: +221 33 865 07 07
      +221 77 504 81 40
      E-mail address: madani.sy@gmail.com


11.   Mr. Joachim Bilé-Aka was appointed Co-Arbitrator directly by the Court on April 28, 2017 as Co-
      Arbitrator instead and in place of the Respondent, which did not designate a Co-Arbitrator, pursuant
      to Articles 12(4) and 13(4)(a) of the ICC Rules. His contact information is as follows:

      Mr. Joachim BILÉ-AKA, Esq.
      Bilé-Aka, Brizoua-Bi & Associés
      7 Boulevard Latrille
      25 BP [P.O. Box] 945 Abidjan 25
      Côte d’Ivoire

      Tel.: +225 22 40 64 30
      Mobile: +225 07 07 65 66
      Fax: +225 22 48 89 28
      E-mail: joachim.bileaka@bilebrizoua.ci




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2.    President of the Arbitral Tribunal

12.   On April 28, 2017, the International Court of Arbitration of the International Chamber of Commerce
      (the Court) directly appointed Prof. Dr. Nayla Comair-Obeid President of the Arbitral Tribunal
      pursuant to Article 13(4)(a) of the Arbitration Rules of the International Chamber of Commerce
      effective beginning on January 1, 2012 (the ICC Rules). Prof. Dr. Comair-Obeid formally
      acknowledged her appointment in her letter to the Parties dated May 10, 2017. Her contact
      information is as follows:

      Prof. Dr. Nayla COMAIR-OBEID
      Obeid Law Firm
      Immeuble Stratum [Stratum Building], 4ème Étage [4th Floor]
      Rue Omar Daouk, Quartier Mina El Hosn
      Centre ville de Beyrouth [Downtown Beirut]
      Beirut, Lebanon

      Tel.: +961 1 36 37 90
      Fax: +961 1 36 37 91
      E-mail addresses: nayla@obeidlawfirm.com; info@obeidlawfirm.com

II.   THE SECRETARIAT OF THE ICC

13.   Ms. Florence Richard is the Counsel in charge of this case for the Secretariat of the ICC. Her contact
      information is as follows:


      Ms. Florence Richard
      Secrétariat de la Cour internationale d’arbitrage de la CCI [Secretariat of the International Court of
      Arbitration of the ICC]
      33–43, Avenue du Président Wilson
      75116, Paris, France
      Tel.: +33 1 49 53 29 51
      Fax: +33 1 49 53 57 75
      E-mail address: ica2@iccwbo.org


14.   Ms. Florence Richard is also assisted by the following Deputy Counsels: Ms. Constance Castres
      Saint-Martin (Tel.: +33 1 49 53 29 28), Mr. Sébastien Pépin (Tel.: +33 1 49 53 30 37) and Mr.
      Aurélien Zuber (Tel.: +33 1 49 53 29 79).




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II.    FACTUAL ELEME
                   N TS THAT LED TO THE DISPUTE

15.    On June 25, 2003, two public works procurement contracts for the completion of two projects for
       upgrading of various sections (Lots 4 and 5) of the 2x2-lane [Road] between Tombo and Gbessia
       Airport (Conakry), were signed between the Respondent (as the project owner) and the Claimant
       (as the contractor). They were the following two procurement contracts for public work:
       Procurement Contract for Construction Work No. 2003/0325/1/2/1/2/N dated June 25, 2003
       entitled “Lot 4: Kenien Section -T1” and Procurement Contract for Construction Work No.
       2003/0324/1/2/1/2/N dated June 25, 2003 entitled “Lot 5: Section T1-T2 including the two
       interchanges at the intersections of the T1 and the T2.” ». Said procurement contracts, hereinafter,
       are called “Procurement Contract for Lot 4”, “Procurement Contract for Lot 5”, and together,
       the “Procurement Contracts”.

16.    Two amendments were made to said Procurement Contracts. The first Amendment, dated January
       19, 2010, is regarding the Procurement Contract for Lot 4 entitled “Amendment No. 1 to Contract
       No. 2003/0325/1/2/1/2/N Upgrading of the 2x2-lane Tombo-Gbessia Road, Lot 4 :Kenien-T1”. The
       second Amendment, dated January 19, 2010, is regarding the Procurement Contract for Lot 5
       entitled “Amendment to Contract No. 2003/0324/1/2/1/2/N Upgrading of the 2x2-lane Tombo-
       Gbessia Road, Lot 5 :T1-T2”. Said Amendments, hereinafter, are called “Amendment to the
       Procurement Contract for Lot 4”, “Amendment to the Procurement Contract for Lot 5”, and
       together, the “Amendments”.

17.    The dispute between the Parties that is the subject of this arbitration arose during the execution of
       the Amendments.

III.   ARBITRATIO
                N AGREEME
                        N T

A.     ARBITRATION CLAUSE

18.    The Procurement Contracts involved in this arbitration are governed by the General and Special
       Administrative Terms and Conditions, each of which contains a clause regarding the settlement of
       disputes.

19.    Article 50 of the [General] Administrative Terms and Conditions for both Procurement Contracts
       stipulates that:

       “50. Settlement of Disputes
       50.1 Intervention of the Project Owner
       If a dispute arises between the Project Owner and the Contractor, in the form of reservations noted with
       respect to a service order or in any other form, the Contractor shall submit to the Project Owner, for
       transmission to the Project Owner through the Project Head, a memorandum setting forth the grounds and
       indicating the amounts of its claims.

       In the absence of a satisfactory response received within a time limit of fifteen (15) days from the date of


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      receipt, by the Project Owner, of the letter or of the memorandum from the Contractor, the Contractor
      shall have fifteen (15) days to submit to the Mediator the dispute related to its claim or the response that is
      made to it by the Project Owner.”

20.   The Special Administrative Terms and Conditions also stipulate in Article 29 thereof a provision
      regarding the settlement of disputes:

      “Article 29. Settlement of Disputes (General Administrative Terms and Conditions, Article 50)
      50.31 All disputes arising out of this Procurement Contract shall be settled definitively in accordance with
      the Arbitration and Mediation Rules of the International Chamber of Commerce in Paris, France, by one or
      more arbitrators designated in compliance with said Rules.”

B.    SEAT OF THE ARBITRATION

21.   The place of said arbitration shall be Paris (France), as established by the Court pursuant to Article
      12 (2) of the ICC Rules.

C.    LANGUAGE OF THE PROCEEDING

22.   Since the Arbitration Clause says nothing regarding the language of the arbitration, the Claimant
      asked in its Request for Arbitration that French be the language of the arbitration.

23.   In correspondence dated May 23, 2017, the Tribunal asked the Respondent to indicate its comments
      regarding the language of the arbitration no later than June 2, 2017.

24.   Since it did not receive a response from the Respondent regarding this matter, the Tribunal decided
      in its Procedural Order No. 1 dated June 5, 2017 that the language of this arbitration shall be French.

D.    LAW APPLICABLE TO THE MERITS OF THE DISPUTE

25.   Article 51.1 of the General Administrative Terms and Conditions of both Procurement Contracts,
      entitled “Settlement of Disputes”, stipulates that: “In the absence of a provision stipulated in the
      Special Administrative Terms and Conditions, the applicable law for the interpretation and the
      execution of this Procurement Contract shall be the law of the country of the Project Owner.”

26.   The Special Administrative Terms and Conditions of both Procurement Contracts do not contain
      provisions regard the applicable law. Therefore, the law applicable to this dispute is the law of the
      country of the Project Owner, i.e., Guinean law.




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E.    LAW AND RULES APPLICABLE TO THE PROCEEDING

27.   Subject to any public policy provisions in the law of the seat of the arbitration, that is, the French
      Code of Civil Procedure, this proceeding shall be governed by:

             The 2012 ICC Rules; and in the event that the Rules do not address a specific subject matter
             The Procedural Rules established by the Arbitral Tribunal adopted during the Procedural
              Hearing; and in the event that said Rules do not address a specific subject matter
             Any other Procedural Rules approved by mutual agreement between the Parties or, in the
              absence of such an agreement, determined at the discretion of the Tribunal.

IV.   SUMMARY OF THE PROCEEDING

A.    SUMMARY OF THE VARIOUS STAGES OF THE PROCEEDING

28.   On June 24, 2016, the Request for Arbitration filed by the Claimant (the Request) was received by
      the Secretariat of the ICC. In its Request, the Claimant proposed that the arbitration be conducted
      by a single arbitrator, that the place of arbitration be Paris (France), and that the language of the
      arbitration be French.

29.   In correspondence dated August 12, 2016, the Secretariat of the ICC notified the Respondent of the
      Request and asked it to submit its Answer to the Request within 30 days after the receipt of said
      correspondence. The Respondent was also asked to share its comments regarding the constitution
      of the Tribunal, the place of the arbitration, and the language of the arbitration.

30.   In correspondence dated November 3, 2016, the Secretariat of the ICC noted that the Request had
      been received by the Respondent on August 16, 2016 and that the 30-day time limit granted to the
      Respondent to submit an Answer had expired on September 15, 2016 (Article 5(1) of the ICC Rules)
      without said Answer having been submitted. The Secretariat of the ICC also informed the Parties
      that the number of arbitrators and the place of the arbitration would be determined by the Court
      (Articles 12 (2) and 18(1) of the ICC Rules) while the language of the arbitration would be
      determined by the Arbitral Tribunal (Article 20 of the ICC Rules).

31.   In correspondence dated December 2, 2016, the Secretariat of the ICC informed the Parties that the
      Court had established Paris (France) as the place of the arbitration (Article 12 (2) of the ICC Rules)
      and had decided to submit this arbitration to three arbitrators (Articles 12 (2) of the ICC Rules). The
      Secretariat also informed the Parties that the Court had established the amount of the provision for




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      expenses of the arbitration to be USD 510,000, subject to subsequent revaluations. All three
      decisions were made on November 24, 2016.

32.   In correspondence dated January 3, 2017, the Secretariat of the ICC asked the Claimant to designate
      a Co-Arbitrator within a time limit of 15 days.

33.   In correspondence dated January 17, 2017, the Claimant designated Dr. Seydou Madani Sy as Co-
      Arbitrator.

34.   In correspondence dated January 24, 2017, the Secretariat of the ICC asked the Respondent to
      designate a Co-Arbitrator within a time limit of 15 days, and if it failed to do so, the Court would
      appoint an arbitrator on its behalf (Article 12(4) of the ICC Rules).

35.   In correspondence dated January 31, 2017, the Secretariat of the ICC circulated to the Parties a copy
      of the Statement of acceptance, availability, impartiality, and independence, as well as the
      curriculum vitae of Dr. Seydou Madani Sy.

36.   In correspondence dated April 21, 2017, the Secretariat of the ICC noted that the Respondent had
      not made the appointment of an arbitrator within the time limit granted of 15 days following the
      receipt of the letter from the Secretariat of the ICC dated January 24, 2017 and informed the Parties
      that the Court would make the appointment of a Co-Arbitrator on behalf of the Respondent (Article
      12(4) of the ICC Rules).

37.   In correspondence dated April 28, 2017, the Secretariat of the ICC transmitted the case file to the
      Arbitral Tribunal and informed the Parties that the International Court of Arbitration of the ICC:

           Had confirmed Dr. Seydou Madani Sy as Co-Arbitrator upon his designation by the Claimant
            (Article 13(1) of the ICC Rules);
           Had directly appointed Mr. Joachim Bilé-Aka as Co-Arbitrator instead and in place of the
            Respondent, since the latter did not appoint a Co-Arbitrator (Articles 12(4) and 13(4)(a) of the
            ICC Rules);
           Had directly appointed Prof. Dr. Nayla Comair-Obeid as President of the Arbitral Tribunal
            (Article 13(4) (a) of the ICC Rules).

38.   In correspondence dated May 10, 2017, the Tribunal circulated its first letter to the Parties discussing
      the following points:

           The Respondent’s participation in the arbitration had still not occurred. The Tribunal referred
            the Parties in particular to Article 6(8) of the ICC Rules, which stipulates that the arbitration
            may take place notwithstanding the rejection of or the abstention from participation of one
            Party;
           The preparation of the Terms of Reference, the Procedural Rules, and the Procedural
            Timetable. The Parties were asked to submit a summary of their respective claims




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          and requests for inclusion in the Terms of Reference and to confirm their available for holding
          a conference regarding the management of the proceeding on June 23, 2017;
         Communications between the Parties and the Tribunal;
         The representation of the Parties.

39.   In correspondence dated May 19, 2017, the Claimant appended its Communication No. 1 dated
      May 15, 2017, in which the Claimant:

         Formally acknowledged the Tribunal’s comments regarding the Respondent’s participation in
          this arbitration, the communications among the Parties and the Tribunal, as well as the
          representation of the Parties;
         Informed the Tribunal that the Claimant “wanted, at this stage of the proceeding, to rely upon
          its pleadings for the purposes of arbitration sent to the Court on June 20, 2016, while reserving
          the right to update them by including all the expenses and fees paid within the framework of
          this arbitral proceeding”;
         Confirmed its availability for holding the conference on the management of the proceeding on
          June 23, 2017.

40.   In correspondence dated May 23, 2017, the Tribunal:

         Informed the Parties that all correspondence (including letters and e-mail messages) sent by one
          Party (Claimant or Respondent) to the Tribunal would also be required to be sent to the other
          Party by registered or certified mail (e.g., via DHL) and that the Party that sent the
          correspondence would also be required to keep the recorded delivery receipts for each piece of
          correspondence sent to the other Party;
         Confirmed that, unless a response was received from the Respondent by June 2, 2017, the
          conference regarding the management of the proceeding would be held on June 23, 2017 in
          Paris, and asked the Claimant to make all reservations necessary for said purpose (rental of a
          hearing room and of meeting rooms, live transcription services) immediately;
         Informed the Parties of its preference that each Party submit a summary exposition of its claims
          and requests in order to meet the conditions stipulated in Article 23(1) of the ICC Rules,
          clarifying, however, that each Party could reserve the right to update its requests as well as all
          the costs, expenses, and disbursements resulting from this arbitration.
         Asked the Respondent to share its comments regarding the language of the arbitration.

41.   In correspondence dated May 25, 2017, the Tribunal served the entire case file for this arbitration
      upon the aforementioned Guinean Embassy in France and in the name of His Excellency Mr. Amara
      Camara, Ambassador of the Republic of Guinea to France and to Portugal.




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42.      In correspondence dated June 2, 2017, the Claimant submitted Communication No. 2, in which it:

             Confirmed that all its subsequent correspondence would be sent to the Respondent by
              registered or certified mail;
             Confirmed its agreement to the conference regarding the management of the proceeding being
              held at the Hearing Center of the ICC in Paris on June 23, 2017;
             Submitted the summary exposition of its claims and requests in compliance with Article 23 (1)
              of the ICC Rules;
             Reiterated its request that French be adopted as the language of the arbitration.

43.      In Procedural Order No. 1 dated June 5, 2017, the Tribunal:

             Determined that the language of this arbitration would be French;
             Issued its final summons ordering the Respondent to participate in this arbitration and to
               contact the Tribunal and the Claimant immediately.

44.      In correspondence dated June 5, 2017, the Tribunal:1

             Confirmed that the conference regarding the management of the proceeding would be held on
              June 23, 2017 in Paris.
             Asked the Claimant to confirm no later than June 9, 2017 that a meeting room and a live
              transcription service would be reserved at the Hearing Center of the ICC in Paris.
             Circulated drafts of the Terms of Reference, Procedural Rules, and Procedural Timetable and
              asked the Parties to share their comments regarding them no later than June 14, 2017.

45.      In two pieces of correspondence dated June 12, 2017 entitled Claimant’s Communication No. 3 and
         Claimant’s Communication No. 4, respectively, the Claimant:2

             Confirmed that its Communications Nos. 1, 2, and 3 dated May 15, 2017, June 2, 2017, and June
              12, 2017 respectively, were sent to the Respondent by registered or certified mail to the address
              of the Judicial Agent of the Government of the Republic of Guinea in Conakry and also to the




1 The Arbitral Tribunal noted the dispatch of the pieces of correspondence by the Claimant to the Respondent by registered or
certified mail to the Respondent’s address in Guinea as well as to the Guinean Embassy in France.
2 The Claimant also asked the Secretariat of the ICC to make the reservation for a hearing room at the Hearing Center of the ICC

for June 23, 2017 in accordance with the instructions from the Arbitral Tribunal in its correspondence dated May 23, 2017; in
correspondence dated June 14, 2017, the Tribunal informed the Claimant that the reservation of the hearing room had to be made
directly with the Hearing Center of the ICC and that, normally, the Secretariat of the ICC is not involved in that type of request.


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               address of the diplomatic delegation of the Republic of G uinea in France, by submitting the
               supporting documents proving the dispatch;

46.       In correspondence dated June 15, 2017, the Tribunal:

            Since it had still not received a response from the Parties regarding the drafts of the Terms of
             Reference, Procedural Rules, and Procedural Timetable, asked the Parties to share their
             comments regarding them (or to confirm their absence) before 5:00 p.m. that same day;
            Reiterated its instructions to the Claimant to make the reservation for a hearing room and live
             transcription service for the Procedural Hearing scheduled for June 23, 2017;
            Asked the Parties to confirm, no later than June 20, 2017, the agreement or objection to the
             appointment of an administrative secretary, Dr. Zeina Obeid (an employee in the law firm of
             the President of the Tribunal) to assist the Tribunal within the framework of the management
             of the arbitral proceeding.

47.       In an e-mail message dated June 15, 2017, the Claimant confirmed that it did not have any
          comments to make regarding the drafts of the Terms of Reference, Procedural Rules and Procedural
          Timetable, emphasizing that said position would be formalized by means of a communication that
          would be sent subsequently to the Tribunal.

48.       In correspondence dated June 16, 2017, the Tribunal:

              Informed the Parties that any other points regarding the drafts of the [Terms of Reference],
               Procedural Rules, and Procedural Timetable would be discussed at the conference regarding
               the management of the proceeding to be held on June 23, 2017;
              Formally acknowledged that the Respondent had not submitted comments regarding the
               procedural documents within the time period allotted to it, emphasizing that it would be
               assumed that the Respondent did not have comments or objections to make regarding that
               subject, unless the Respondent appeared at the conference regarding the management of the
               proceeding.3

49.       In correspondence dated June 20, 2017, the Tribunal:
           ■
                Asked the Respondent to participate in this arbitral proceeding and to contact the Tribunal and
                the Claimant immediately. The Tribunal also reminded the Respondent that the arbitration
                would continue notwithstanding its abstention as stipulated in Articles 6(8), 23(3), and 26(4)
                of the ICC Rules;




3 The Arbitral Tribunal also reiterated its instructions to the Claimant to confirm the reservation of a hearing room and of a live

transcription service for June 23, 2017; in e-mail messages dated June 19, 2017, the Tribunal reiterated its request that the Claimant
immediately confirm the reservations required for holding the conference regarding the management of the proceeding (the hearing
room and the transcription service), and the Claimant confirmed that said reservations had been made.


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           ■
                Proposed amending paragraph 8.3 of the Terms of Reference in order to include a list of points
                in dispute and suggested incorporating other minor amendments into the Terms of Reference.

50.       In correspondence dated June 20, 2017 entitled Communication No. 6, the Claimant submitted the
          supporting documents showing the reservation of the hearing room at the Hearing Center of the
          ICC in Paris and requested that the hearing expenses be covered by the provision for arbitration
          expenses paid in full by the Claimant.

51.       In correspondence dated June 22, 2017, the Tribunal confirmed that it had no objection to the
          hearing expenses being covered by the provision for arbitration expenses.

52.       On June 23, 2017, a Procedural Hearing was held in Paris with the only members of the Arbitral
          Tribunal and the Claimant present. The Respondent did not appear despite the numerous pieces of
          correspondence from the Tribunal notifying it that said hearing was going to be held.4

53.       In correspondence dated June 23, 2017, the Arbitral Tribunal informed the Secretariat of the ICC
          of the conclusion of the Procedural Hearing and transmitted seven copies of the Terms of Reference
          signed by the members of the Arbitral Tribunal and by the Claimant, for approval by the Court
          pursuant to Article 23(3) of the 2012 ICC Rules.5

54.       In correspondence dated July 6, 2017, the Arbitral Tribunal issued Procedural Order No. 2, to which
          it attached the Procedural Rules and the Procedural Timetable that were approved at the Procedural
          Hearing held on June 23, 2017 in Paris.

55.       In correspondence dated July 22, 2017, the Claimant transmitted the Statement of Claim to the
          Arbitral Tribunal.




4 Moreover, at the Procedural Hearing, the Arbitral Tribunal reiterated Article 6.8 of the ICC Rules, which stipulates that the
arbitration shall take place notwithstanding the rejection of or the abstention of one of the Parties from participating in the arbitration
(Transcript of the Procedural Hearing held on June 23, 2017, p. 6, paras. 14 through 21). The Tribunal also indicated that said
Procedural Hearing would be transcribed and that the entirety of the transcript would be sent to the Respondent. (Transcript of the
Procedural Hearing held on June 23, 2017, p. 6, paras. 20 and 21). The Arbitral Tribunal, after waiting until 10:40 a.m. without the
Respondent appearing and after reiterating the fact that the Arbitral Tribunal does everything in its power to ensure that both Parties
would be treated equally and to protect their rights in said arbitration, decided that the proceeding in this ICC Case No. 22056
would have to be continued (Transcript of the Procedural Hearing held on June 23, 2017, p. 6, paras. 22 through 31).
5 In correspondence dated that same day, the Arbitral Tribunal transmitted the following to the Parties: the Terms of Reference

signed by the Arbitral Tribunal and the Claimant; the signed statement of confidentiality, impartiality, and independence of the
administrative secretary; as well as a copy of the correspondence from the Tribunal to the ICC Secretariat dated June 23, 2017 with
the seven copies of the Terms of Reference attached.


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56.      In correspondence dated July 24, 2017, the Arbitral Tribunal informed the Claimant that the
         correspondence dated July 22, 2017 did not contain the Statement of Claim as well as Exhibits Nos.
         1, 2, 3, 4, 5, 7 and 9. In addition, the Arbitral Tribunal instructed the Claimant to send by registered
         or certified mail a paper copy of its Statement of Claim with its attachments as well as a USB drive
         that included the attachments to its Statement of Claim to the Respondent at both its addresses and
         to transmit to the Arbitral Tribunal the confirmation of the dispatch by express courier as well as
         the confirmation of delivery receipt from the Respondent.

57.      In correspondence dated July 25, 2017, the Claimant transmitted the supporting documents proving
         that the Statement of Claim and the exhibits were indeed transmitted to the Respondent at both its
         addresses.6

58.      In correspondence dated August 8, 2017, the Claimant transmitted to the Arbitral Tribunal the
         request sent to the ICC Secretariat regarding the payment of the balance of the amount of the
         provision for the procedural expenses by bank guarantee.7

59.      In correspondence dated August 30, 2017, the Arbitral Tribunal reviewed the situation with regard
         to the progress of the arbitral proceeding. The Tribunal reiterated the fact that the Respondent was
         served with the Procedural Timetable as well as the Procedural Rules by express courier at both the
         Respondent’s addresses, that of the Guinean Embassy in France and that of the Judicial Agent of
         the G overnment of the Republic of G uinea in Conakry with the delivery confirmation receipt
         attached. The Arbitral Tribunal also reiterated the fact that the Terms of Reference approved by the
         Court of the ICC was also served by the ICC upon the Respondent at both its aforementioned
         addresses and attached the delivery confirmation receipt as well as the correspondence from the
         Arbitral Tribunal dated July 24 and 26, 2017. The Tribunal furthermore noted that the Claimant
         had submitted its Statement of Claim as well as its attachments on July 23, 2017.

60.      In that same correspondence, the Arbitral Tribunal noted that the Respondent had not appeared in
         this arbitral proceeding and that it had not submitted its Answer by the deadline, on August 23,
         2017. The Arbitral Tribunal reiterated the provisions of Article 6(8) of the 2012 ICC Rules to the
         effect that notwithstanding the lack of participation on the part of the Respondent in the arbitration,
         the arbitral proceeding will continue. The Arbitral Tribunal indicated that because of the




6 In correspondence dated July 26, 2017, the Arbitral Tribunal confirmed the receipt of the supporting documents confirming the

dispatch of the Statement of Claim as well as the exhibits to both the Respondent’s addresses; and in correspondence dated August
4, 2017, the Arbitral Tribunal transmitted by registered or certified mail the pieces of correspondence from the Arbitral Tribunal
dated July 24 and 26, 2017.
7 In correspondence dated August 17, 2017, the ICC confirmed that since the Claimant had already paid its portion of the provision,

it could substitute itself for the Respondent to pay the share of the amount of the provision incumbent upon the latter, i.e., USD
255,000, by providing a bank guarantee (Article 1(7) of Appendix III).


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         Respondent’s abstention, the submission of the “Reply in Response to the Respondent’s Answer”
         on September 7, 2017 followed by the “rejoinder” on September 22, 2017 no longer needed to occur
         in the absence of an Answer. The Arbitral Tribunal indicated that the next stage, subject to potential
         participation on the part of the Respondent in the Arbitration, would consist of preparation by the
         Arbitral Tribunal of a list of questions and of a request for production of exhibits to which the
         Claimant would be asked to respond, a stage that would be followed by the “consecutive exchange
         between the Parties of depositions of witnesses and of expert reports in response” scheduled in the
         Procedural Timetable to take place on October 7, 2017.

61.      In correspondence dated September 2, 2017, the Claimant attached its Communication No. 9 dated
         September 1, 2017, in which it formally acknowledged the correspondence from the Arbitral
         Tribunal dated August 30, 2017 and confirmed that the Statement of Claim as well as its exhibits
         had been sent to both the addresses of the Respondent on July 22, 2017.

62.      In correspondence dated September 8, 2017, the President of the Arbitral Tribunal confirmed the
         receipt, on September 4, 2017, of the hard copy of the Statement of Claim and asked the Claimant
         to transmit to it the DHL supporting documents confirming receipt of the Statement of Claim by the
         Respondent as well as the supporting documents confirming receipt of all the other pieces of
         correspondence that were served upon the Respondent. The Arbitral Tribunal, moreover, believed
         that it was necessary to use all communications methods to transmit to the Respondent the various
         pieces of correspondence that had been exchanged as of that date in this arbitral proceeding and
         therefore asked the Claimant to provide any other e-mail addresses and fax numbers for the Judicial
         Agent of the G uinean G overnment identified by the Claimant as the legal representative of the
         Republic of Guinea in Conakry as well as the e-mail address and the fax number of the Guinean
         Minister of Public Works and Transportation, who had concluded the public procurement contracts
         for construction work with the Claimant.8

63.      By means of a letter dated September 28, 2017, the Claimant sent to the ICC a bank guarantee for
         the sum of USD 225,000 as payment for the balance of the amount of the provision for the
         procedural expenses and obtained a copy of said guarantee from the Arbitral Tribunal.

64.      In correspondence dated October 2, 2017, the Arbitral Tribunal reiterated to the Claimant that it was
         necessary to use all communications methods to transmit to the Respondent the various pieces of




8 In correspondence dated September 11, 2017, the Secretariat de the ICC asked the Parties to [indicate], within a time limit of 15

days from the day after the receipt of the correspondence, if they agreed to the publication of the names of the arbitrators, their
nationalities, their roles on the Tribunal, and the procedures followed in making their appointments; and in a letter dated September
28, 2017, the Claimant gave its approval for publishing the information regarding the names of the arbitrators, their nationalities,
their roles on the Arbitral Tribunal, and the procedures followed in making their appointments.


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         correspondence that had been exchanged as of that day in this arbitral proceeding.9

65.      In correspondence dated October 3, 2017, the Arbitral Tribunal asked the Claimant to answer the
         questions asked by the Arbitral Tribunal and to produce the documents requested by the Arbitral
         Tribunal in its request for production of documents, and to do so no later than October 20, 2017.
         Said correspondence was also sent to the Respondent by registered or certified mail.

66.      In correspondence dated October 6, 2017, the President of the Arbitral Tribunal confirmed receipt
         by DHL of the communication from the Claimant dated September 27, 2017 containing the e-mail
         addresses and the fax numbers of the Judicial Agent of the Guinean Government and of the Guinean
         Ministry of Public Works and Transportation.

67.      In correspondence dated October 20, 2017, the Claimant requested that it be granted additional time
         to transmit the documents requested by the Arbitral Tribunal.

68.      In correspondence dated October 20, 2017, the Arbitral Tribunal granted additional time to the
         Claimant until October 25, 2017 to provide the requested documents.

69.      In correspondence dated October 25, 2017, the Claimant submitted its answers to the questions from
         the Arbitral Tribunal and submitted the documents requested by the Tribunal’s request for
         production of documents.10

70.      In correspondence dated October 26, 2017, the Arbitral Tribunal confirmed receipt of the
         communication that contained the answers to the [request for] the production of documents
         requested by the Arbitral Tribunal and asked the Claimant to provide answers to the questions from
         the Tribunal that appeared on pages 2, 3, and 4 of its correspondence dated October 3, 2017. The
         Arbitral Tribunal furthermore asked the Claimant to confirm that Communication No. 10 had been
         sent to both the Respondent’s addresses by mail and to transmit the confirmation of delivery receipt
         for said letter to the Arbitral Tribunal.

71.      In correspondence dated November 3, 2017, the Arbitral Tribunal asked the Claimant to inform the
         Tribunal of the reasons for the lack of a response to its correspondence dated October 26, 2017 and
         asked it to submit the answers to the questions asked by the Arbitral Tribunal or, otherwise, to




9 In correspondence dated October 3, 2017, the Arbitral Tribunal indicated that it had sent the Respondent, by registered or certified

mail, the correspondence from the Arbitral Tribunal dated September 8, 2017 and October 2, 2017.
10 In correspondence dated November 13, 2017, the President of the Arbitral Tribunal confirmed receipt of the hard copy of the

Claimant’s Communication No. 10 dated October 25, 2017 with its 19 attachments.


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           provide the supporting documents explaining said breach no later than Monday, November 6, 2017.

72.        In correspondence dated November 6, 2017, the Arbitral Tribunal added the mailing address of the
           Ministry of Public Works of the Republic of G uinea. The Tribunal indicated that all the
           correspondence (electronic and in paper form) and all the communications regarding this arbitration
           were served upon the Republic of Guinea in Conakry at the addresses transmitted in the case file
           and re-transmitted again the correspondence by express courier to the Ministry of Public Works of
           the Republic of Guinea. The Arbitral Tribunal asked the Claimant to transmit to the Tribunal an e-
           mail address for the Minister of Public Works of the Republic of Guinea and to confirm the mailing
           address indicated (Boulevard du Commerce—Almamya, Kaloum, BP [P.O. Box] 581, Conakry,
           Guinea). The Tribunal also informed the Parties that a Final Hearing for Pleadings would be held
           in Paris on December 18 and 19, 2017.

73.        In correspondence dated November 6, 2017, the Arbitral Tribunal informed the Parties that the
           following e-mail address of the Judicial Agent of the G uinean G overnment—
           maitredoumbouva@yahoo.fr—which had been transmitted by the Claimant was not valid. The
           Tribunal demanded that the Claimant transmit another e-mail address to the Arbitral Tribunal.

74.        In correspondence dated November 6, 2017, the Claimant transmitted the answers to the Tribunal’s
           questions and the documents that the Arbitral Tribunal had requested and informed the Tribunal that
           it was not aware of any other addresses of the Respondent.

75.        In correspondence dated November 9, 2017, the Claimant transmitted the supporting documents
           proving the dispatch by express courier (DHL) to the Respondent of the Claimant’s answers to the
           Arbitral Tribunal’s questions, as well as documents produced at the request of the Tribunal.

76.        In correspondence dated December 12, 2017, the Arbitral Tribunal indicated that it had still not
           received depositions of witnesses or an expert’s report from the Claimant, in accordance with the
           Procedural Timetable.11 The Arbitral Tribunal noted that the Claimant’s Communication No. 10,
           dated October 25, 2017, contained numerous accounting documents, an analysis of which by an
           expert appeared to be necessary at that juncture of the proceeding, and asked the Claimant to clarify
           its position regarding the appointment of an expert and to specify whether it wished to submit
           testimony from fact witnesses, no later than December 14, 2017.




11   Also, cf., Correspondence No. 13 from the Tribunal dated August 30, 2017.


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77.      In correspondence dated December 14, 2017, the Arbitral Tribunal reiterated the need to appoint a
         certified public accountant expert to analyze the numerous accounting documents submitted for the
         case file by the Claimant in order to allow a complete understanding and interpretation of them.
         The Arbitral Tribunal, as matters stood, in light of the circumstances of the case, and out of a
         concern to control the costs of this proceeding, in order to avoid holding two hearings, deemed,
         after deliberations, that it was preferable to cancel the hearing scheduled for December 18 and 19,
         2017 and to postpone it to later dates in February 2018, when the Tribunal would be able to draw
         all the necessary conclusions from the exhibits submitted for the case file. The Arbitral Tribunal
         proposed the alternative of holding a telephone conference call with the Parties on December 18 or
         19, 2017 in order to set a new hearing date in February 2018.

78.      In correspondence dated December 16, 2017, the Arbitral Tribunal reiterated the fact that the Final
         Hearing for Pleadings could not take place in December and that it had to be postponed until the
         month of February 2018 and asked the Claimant and the Respondent to transmit their availability
         for December 18 or 19, 2017 at 5:00 p.m., Paris time, for a telephone conference call in order to
         establish the date for the Final Hearing for Pleadings.12

79.      On December 19, 2017, a telephone conference call was held with the members of the Arbitral
         Tribunal and the Claimant represented by Mr. Abdoul NDIAYE present on the call. The
         Respondent did not participate in said telephone conference call. The dates of February 19 and 20
         were selected as new hearing dates subject to receipt within a reasonable time limit of the report of
         the certified public accountant appointed either by the Arbitral Tribunal or by the Claimant.

80.      In a piece of correspondence dated December 21, 2017, the Claimant indicated its favorable view
         of the appointment of a certified public accountant expert.

81.      In correspondence dated December 21, 2017, the Arbitral Tribunal asked the Claimant to clarify its
         position regarding the following sentence—“[T]he Claimant is asking the Arbitral Tribunal to take
         a favorable position regarding the appointment of a certified public accountant expert in contact
         with the ICC”—no later than December 22, 2017.

82.      In correspondence dated December 22, 2017, the Claimant clarified its position indicating that
         within the framework of this Request for Arbitration, it involved the collection of a receivable that
         was liquid and due and was uncontested. Thus, the Claimant did not request an accounting expert




12 In correspondence dated December 17, 2017, the Arbitral Tribunal asked the Parties to transmit to it their availability for holding
a telephone conference call in order to discuss the remainder of the arbitral proceeding; and in correspondence dated December 18,
2017, the Claimant confirmed its availability for a telephone conference call on December 19, 2017 at 5:00 p.m.


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      Assessment, but did not object to the appointment of a certified public accountant expert if the
      Arbitral Tribunal deemed it to be necessary. The Claimant, furthermore, indicated to the Arbitral
      Tribunal that it was difficult for it to pay for the expenses related to said accounting expert
      assessment, considering the fact that up to that time it had been required to cover all the expenses
      related to this arbitral proceeding. The Claimant indicated, in addition, that it was prepared to have
      the head of the Finance Department of Compagnie Sahélienne d’Entreprises testify at the Final
      Hearing for Pleadings to answer all the Arbitral Tribunal’s questions and to provide all the
      clarifications to the Arbitral Tribunal relevant for understanding the accounting and financial
      documents transmitted.

83.   In correspondence dated December 28, 2017, the Arbitral Tribunal transmitted the summary of the
      procedural conference call that had taken place on December 19, 2018, during which, among other
      things, new hearing dates were set for February 19 and 20, 2018. A copy of said correspondence
      was transmitted by express courier to the Respondent.

84.   In correspondence dated January 8, 2018, the Arbitral Tribunal delivered Procedural Order No. 3,
      in which the Arbitral Tribunal indicated that if the Claimant failed to cover the expenses of the
      accounting expert assessment, and, if the Respondent failed to participate in said proceeding, it
      would be impossible for the Arbitral Tribunal to appoint a certified public accountant expert. The
      Arbitral Tribunal also asked the Claimant to submit written testimony prepared by the head of the
      Finance Department of Compagnie Sahélienne d’Entreprises, in which the latter would be required
      to answer the questions asked by the Arbitral Tribunal and submit evidence in support of the
      amounts claimed by the Claimant by referring to the accounting documents submitted for the case
      file. Said testimony would be treated as factual testimony and would be required to be submitted no
      later than January 30, 2018 in compliance with the instructions stipulated by Article 3 of the
      Procedural Rules applicable to this arbitral proceeding.

85.   In correspondence dated January 12, 2018, the Arbitral Tribunal asked the Claimant to inform it no
      later than January 17, 2018, if it was counting on submitting written testimony prepared by the head
      of the Finance Department of Compagnie Sahélienne d’Entreprises. Moreover, the Arbitral Tribunal
      confirmed the dates of the Final Hearing scheduled to be held on February 19 and 20, 2018. In the
      absence of participation by the Respondent, the Arbitral Tribunal asked the Claimant to provide the
      confirmation of the reservation of a meeting room and transcription service at the Hearing Center of
      the ICC for the Final Hearing scheduled for February 19 and 20, 2018, no later than January 17,
      2018.

86.   In correspondence dated January 17, 2018, the Claimant informed the Arbitral Tribunal that it would
      submit, no later than January 30, 2018, testimony prepared by the head of the Finance Department
      of Compagnie Sahélienne d’Entreprises. In another piece of correspondence dated the same day, the




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         Claimant confirmed the reservation of a hearing room and the reservation of a live transcription
         service for the purposes of the Final Hearing for Pleadings.13

87.      In correspondence dated January 30, 2018, the Claimant submitted the written testimony of the Chief
         Executive Officer and Chief Financial Officer of Compagnie Sahélienne d’Entreprise and confirmed
         that the witness would be coming to testify at the Final Hearing for Pleadings on February 19 and
         20, 2018. The Claimant confirmed that said testimony had been sent by e-mail to the Respondent at
         the e-mail address: maitredoumbouya@yahoo.fr and that it had also been sent by DHL to the
         Respondent at all its addresses.14

88.      In correspondence dated February 15, 2018, the Arbitral Tribunal confirmed once again the content
         of the Final Hearing for Pleadings to be held on February 19 and 20, 2018 in Paris, at the ICC
         Hearing Center and transmitted to the Parties an agenda for the first day of the hearing. The Arbitral
         Tribunal reiterated the fact that the Respondent, as of that day, had still not participated in the arbitral
         proceeding, had been duly served by registered or certified mail, from the beginning of the arbitral
         proceeding, all the correspondence, submissions, and procedural documents in the aforementioned
         case, as well as the fact that the Final Hearing was being held on February 19 and 20, 2018.

         The Arbitral Tribunal reiterated once again its summons to the Respondent to participate in the Final
         Hearing in the aforementioned case and reminded the Parties of the provisions stipulated in Article
         26(4) of the ICC Rules and that, therefore, the Final Hearing for Pleadings scheduled for February
         19 and 20, 2018 would be held in Paris notwithstanding the abstention from participation on the part
         of one of the duly notified Parties.15

89.      A Final Hearing for Pleadings was held on February 19 and 20, 2018 with the Claimant and the
         Members of the Arbitral Tribunal present. The Respondent did not appear despite the series of




13 In correspondence dated January 24, 2018, the Arbitral Tribunal noted the reservation by the Claimant of a live transcription
service for the purposes of the Final Hearing for Pleadings planned to be held on February 19 and 20, 2018 and asked the Claimant
to confirm said reservation with the hearing Center of the ICC as requested in the estimate. The Tribunal also noted that the Claimant
would file, no later than January 30, 2018, testimony prepared by the head of the Finance Department of Compagnie Sahélienne
d’Entreprises and that the witness would testify at the Final Hearing for Pleadings. The Arbitral Tribunal finally asked the Claimant
to confirm that a copy of its e-mail messages was sent by mail to the Respondent.
14 In correspondence dated February 12, 2018, the Claimant transmitted to the Arbitral Tribunal the supporting documents proving

the dispatch by via DHL to the Respondent of the Claimant’s Communication No. 13, the testimony of the Chief Executive Officer
and Chief Financial Officer of CSE, the confirmation of the reservation of the ICC conference room, and the confirmation of the
reservation of a live transcription service for the purposes of the Final Hearing for Pleadings to be held on February 19 and 20,
2018.
15 In correspondence dated February 16, 2018, the Claimant confirmed receipt of the Arbitral Tribunal’s Correspondence No. 28

and of its attachment.


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           notifications of the date and place of the Final Hearing for Pleadings made with confirmation with
           return receipt requested by the Arbitral Tribunal.16

90.        In correspondence dated February 26, 2018, the Arbitral Tribunal transmitted the attendance sheet
           for the two days of hearings held on February 19 and 20, 2018. In addition, the Arbitral Tribunal
           mentioned that the Respondent did not appear at the hearing despite its having been served multiple
           times by registered or certified mail with return receipt requested. The Arbitral Tribunal also
           attached Exhibit No. 16 entitled “Letter dated April 13, 2012”, which had been submitted in its
           entirety on the second day of the hearing at the request of the Arbitral Tribunal as well as the
           document dated 10/04/2010 submitted by the Claimant and admitted by the Arbitral Tribunal during
           the hearing regarding the bank wire transfer received by Compagnie Sahélienne d’Entreprise from
           the Kuwaiti Fund proving that the latter had paid the sum of EUR 190,991.11 to be deducted from
           the amount indicated in the amendment to the Procurement Contract for Lot 4. Said correspondence
           with its three attachments had been sent to the Respondent at its three addresses by registered or
           certified mail with confirmation of delivery receipts.

91.        In correspondence dated March 2, 2018, Ms. Bardot transmitted the draft transcript of the hearing
           held on February 19, 2018, in Word and PDF formats, Version 1, to be reviewed by the participants.

92.        In pieces of correspondence dated March 9 and 12, 2018, the Claimant transmitted its corrections to
           the transcript of the hearing held on February 19 and 20, 2018.

93.        In correspondence dated March 20, 2018, the Claimant indicated to the Arbitral Tribunal that it had
           sent by mail and by DHL express delivery the following documents requested by the Arbitral
           Tribunal during the hearing held on February 19 and 20, 2018:

                The clarifications regarding the basis of the claims and the calculation of the penalties for late
                 payment.
                The details and the supporting documents regarding the costs generated by this arbitral
                 proceeding for which the Claimant remained liable.
                The confirmation of delivery receipts for the correspondence sent to the Respondent.
                The transmission to the Respondent of the entirety of the document dated April 13, 2012 sent
                 by the Chief Executive Officer of CSE to the Minister of the Economy and Finance of the
                 Republic of Guinea.
                The transmission to the Respondent of the bank statement from LCL bank, proving the payment
                 of the sum of EUR 190,991.11 by the Kuwaiti Fund.




6   Cf. section IV (D).


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        The Claimant also attached to its correspondence copies of the Civil Code and of the Code of Civil
        Procedure of Guinea.

94.      In correspondence dated March 22, 2018, the Arbitral Tribunal confirmed receipt of the e-mail
         message from the Claimant dated March 20, 2018 with the attachments including copies of the Civil
         Code and of the Code of Civil Procedure of Guinea. In addition, the Arbitral Tribunal indicated that
         the Claimant should have submitted, no later than March 7, 2018, the documents requested by the
         Arbitral Tribunal. The Arbitral Tribunal also informed the Claimant that as of that day, the Arbitral
         Tribunal had only received the electronic version of the G uinean Civil Code and Code of Civil
         Procedure and instructed the Claimant to transmit to it the receipts for the dispatch by DHL of the
         documents mentioned by the Claimant in its letter dated March 20, 2018. Furthermore, the Arbitral
         Tribunal reiterated its instructions to the Claimant to respond no later than March 29, 2018 to the
         question regarding the calculation of the penalties for late payment (“intérêts moratoires”).

95.      In correspondence dated March 29, 2018, the Arbitral Tribunal responded to the Claimant regarding
         the correction of the transcript of the two days of hearings held on February 19 and 20, 2018 and
         indicated that the objective of the review of the hearing transcript was only to correct typographical
         errors, errors in calculations, and other physical errors without distorting the content of the text of
         the transcript, which needed to remain a faithful record of the statements made by the Parties and
         the members of the Arbitral Tribunal during the hearing. The Arbitral Tribunal noted that the
         Claimant had made corrections that went beyond ordinary corrections of physical errors and had
         reworded sentences in some passages and/or deleted certain passages. The Arbitral Tribunal
         indicated that said modifications could not be allowed since they distorted the text of the transcript
         itself. In addition, the Arbitral Tribunal informed the Claimant that it would be transmitted a final
         corrected version of the transcript of the two days of hearings held on February 19 and 20, 2018,
         and that the revision involved mainly the correction of figures transcribed by the court reporter. The
         Arbitral Tribunal indicated that a hard copy of said correspondence would be sent to the various
         addresses of the Respondent.17

96.      In correspondence dated March 29, 2018, the Arbitral Tribunal transmitted the corrected final
         version of the transcript of the two days of hearings held on February 19 and 20, 2018. A copy of
         said correspondence with its attachment were sent by registered or certified mail to the Respondent,
         at its various addresses.18




17 In correspondence dated March 29, 2018, the Claimant transmitted the exhibits announced in its correspondence dated September

29, 2017.
18 In correspondence dated March 29, 2018, the Claimant confirmed receipt of the transcript of the two days of the Final Hearing

for Pleadings held on February 19 and 20, 2018.


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97.      In correspondence dated April 14, 2018, the Arbitral Tribunal confirmed receipt on March 29, 2018,
         of the electronic version of the exhibits to which the Claimant referred in its correspondence dated
         March 20, 2018 and asked it to inform it of the status of the dispatch of the correspondence dated
         March 20, 2018 by express courier. In addition, the Arbitral Tribunal confirmed receipt of the
         documents showing delivery confirmation receipts for the various pieces of correspondence sent by
         the Claimant to the Respondent. The Arbitral Tribunal also asked the Claimant to submit a table
         containing the date of each piece of correspondence with the date of its confirmed receipt by the
         Respondent and to submit its response to the question asked by the Arbitral Tribunal regarding the
         calculation of the penalties for late payment no later than April 17, 2018.

98.      In correspondence dated April 17, 2018, the Claimant indicated that it was not able to meet the
         requirements established by the Arbitral Tribunal in its correspondence dated April 14, 2018
         because of a business trip to Geneva and requested additional time.

99.      In correspondence dated April 17, 2018, the Arbitral Tribunal confirmed receipt of the Claimant’s
         e-mail message dated April 17, 2018 and instructed the latter to submit its answers to the questions
         and requests of the Tribunal no later than Tuesday, April 24, 2018.

100.     In correspondence dated April 24, 2018,19 the Arbitral Tribunal confirmed receipt of the Claimant’s
         correspondence dated March 29, 2018 in which it provided responses to the requirements
         established by the Arbitral Tribunal during the Final Hearing for Pleadings dated February 19 and
         20, 2018 with its attachments, i.e.:

                      The details and the supporting documents regarding the costs generated by said arbitral
                       proceeding for which the Claimant remained liable.
                      The confirmation of delivery receipts for the correspondence sent to the Respondent.
                      The transmission to the Respondent of the entirety of the document dated April 13, 2012
                       sent by the Chief Executive Officer of CSE to the Minister of the Economy and Finance
                       of the Republic of Guinea.
                      The transmission to the Respondent of the bank statement from LCL bank, proving the
                       payment of the sum of EUR 190,991.11 by the Kuwaiti Fund.

101.      In correspondence dated April 24, 2018, the Claimant formally acknowledged the receipt by the
          Arbitral Tribunal of the correspondence from the Claimant dated March 29, 2018 as well as the
          hard copies of the attachments to said correspondence. The Claimant also believed that it had, in
          said




19 In said correspondence, the Arbitral Tribunal also asked the Claimant to submit its responses to the questions and requests of the

Arbitral Tribunal in the correspondence dated April 14 and 17, 2018.


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       correspondence and by means of the exhibits transmitted, provided answers to the questions and
       requests of the Arbitral Tribunal made in the pieces of correspondence dated April 14 and 17, 2018.

102.   In correspondence dated April 26, 2018, the Arbitral Tribunal confirmed receipt of the
       correspondence from the Claimant dated April 24, 2018 and reminded the Claimant to submit a
       table containing the date of each piece of correspondence sent to the Respondent along with the date
       of its confirmation of delivery receipt no later than April 27, 2018 since the Arbitral Tribunal was
       not able to get the confirmation of delivery receipts submitted by the Claimant to match the
       corresponding pieces of correspondence.

103.   In correspondence dated July 12, 2018, the Arbitral Tribunal issued Procedural Order No. 3 in which
       it declared the proceedings closed with regard to the issues to be settled in the award in compliance
       with Article 27 of the 2012 ICC Rules.

B.     PROCEDURAL ORDERS

104.   In Procedural Order No. 1 dated June 5, 2017, the Arbitral Tribunal determined that the language
       of this arbitration would be French and issued its final summons ordering the Respondent to
       participate in this arbitration and to contact the Tribunal and the Claimant immediately.

105.   In correspondence dated July 6, 2017, the Arbitral Tribunal delivered Procedural Order No. 2
       containing the Procedural Rules and the Procedural Timetable that were approved during the
       procedural hearing held on June 23, 2017 in Paris.

106.   In correspondence dated January 8, 2018, the Arbitral Tribunal delivered Procedural Order No. 3 in
       which the Arbitral Tribunal indicated that if the Claimant failed to cover the expenses of the
       accounting expert assessment and if the Respondent failed to participate in this proceeding, it would
       be impossible for the Arbitral Tribunal to appoint a certified public accountant if the Claimant did
       not pay for the expenses of said expert assessment. The Arbitral Tribunal also asked the Claimant
       to submit written testimony prepared by the head of the Finance Department of Compagnie
       Sahélienne d’Entreprises, in which the latter would be required to answer the questions asked by
       the Arbitral Tribunal and submit evidence in support of the amounts claimed by the Claimant by
       referring to the accounting documents submitted for the case file. Said testimony would be treated
       as factual testimony and would be required to be submitted no later than January 30, 2018 in
       compliance with the instructions stipulated by Article 3 of the Procedural Rules applicable to this
       arbitral proceeding.




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107.     In correspondence dated July 12, 2018, the Arbitral Tribunal delivered Procedural Order No. 4,20 in
         which it declared the proceedings closed with regard to the issues to be settled in the award in
         compliance with Article 27 of the 2012 ICC Rules.

C.       PROCEDURAL HEARING HELD ON JUNE 23, 2017

108.     A Procedural Hearing was held on June 23, 2017 in Paris, with only the members of the Arbitral
         Tribunal and the Claimant present. The Arbitral Tribunal reiterated during the hearing that all the
         pieces of correspondence had been sent to the Respondent by registered or certified mail to its
         address in Guinea as well as to the Guinean Embassy in France while recapitulating the number and
         the date of each piece of correspondence from the Arbitral Tribunal and the date on which it was
         served upon the Respondent.21

109.     During the hearing, the Arbitral Tribunal also reiterated Article 6.8 of the ICC Rules stipulating that
         all the arbitration would take place notwithstanding the rejection of or abstention of one of the
         parties from participation in the arbitration. 22 The Tribunal also indicated that said Procedural
         Hearing would be transcribed and that the transcript would be sent to the Respondent in its entirety.23

110.     The Arbitral Tribunal, after waiting until 10:40 a.m. without the Respondent appearing and after
         reiterating the fact that the Arbitral Tribunal had done everything in its power to ensure that both
         Parties would be treated equally and to protect their rights in said arbitration, had decided that the
         proceeding in this ICC Case No. 22056 would be continued.24

111.     During the Procedural Hearing, the Terms of Reference of the Arbitral Tribunal and the Procedural
         Rules were signed, and the Procedural Timetable was finalized.

112.     The Claimant’s claims as articulated in the Terms of Reference are the following:

         “The Claims

          WHEREFORE




20 The Arbitral Tribunal noted a typographical error in its correspondence dated July 12, 2018 in the numbering of the Order: It is
Procedural Order No. 4 and not No. 3.
21 Transcript of the Procedural Hearing held on June 23, 2017, p. 5, paras. 38 through 49, and p. 6, paras. 1 through 12.
22 Transcript of the Procedural Hearing held on June 23, 2017, p. 6 paras. 14 through 21.
23 Transcript of the Procedural Hearing held on June 23, 2017, p. 6 paras. 20 and 21.
24 Transcript of the Procedural Hearing held on June 23, 2017, p. 6, paras. 22 through 31.




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         1.1.1 I n consideration of Law No. L/2012/020/CNT establishing the rules governing the
         conclusion, the supervision, and the regulation of public procurement contracts and public service
         delegations of the Republic of Guinea dated October 11, 2012;

         1.1.2 In consideration of Decree No. D/2012/128/PRG/SGG regarding the Public Procurement
         Contracts Code [Code des Marchés Publics] of the Republic of Guinea dated December 3, 2012;

         1.1.3 In consideration of the arbitration clause in Article 29 of the Special Administrative Terms
                and Conditions of the procurement contracts;

         1.1.4 In consideration of the exhibits attached in support of the request;

         1.1.5 To award to Compagnie Sahélienne d’Entreprise the entire benefit of these submissions and
         those set forth in its Request for Arbitration dated June 20, 2016.”

D.       FINAL HEARING FOR PLEADINGS HELD ON FEBRUARY 19 AND 20, 2018

113.     The Final Hearing for Pleadings was held over two days at the Hearing Center of the ICC in Paris
         on February 19, 2018 and February 20, 2018. Said Final Hearing for Pleadings was for the purpose
         of hearing the final pleadings and holding hearings of the Witnesses.

114.     The Respondent did not appear during the two-day hearing, despite the fact that it was served by
         express courier with confirmation of delivery receipts sent to its three addresses with all the acts
         and documents of the arbitral proceeding, including the dates of the Final Hearing for Pleadings.
         The Respondent was, in particular, aware of the dates of the Final Hearing for Pleadings and had
         been aware thereof at least since December 28, 2017. The Arbitral Tribunal reconfirmed the dates
         of said Final Hearing for Pleadings in correspondence dated February 12, 2018 received with
         confirmation of delivery receipts at the Respondent’s three addresses on January 17 and 18, 2018.
         The Arbitral Tribunal subsequently sent the Parties a piece of correspondence dated January 24,
         2018 to note the reservations of the hearing room made by the Claimant at the Hearing Center of
         the ICC, correspondence that was received by the Respondent on January 29, 2018.25

115.     The Arbitral Tribunal, after waiting until 10:30 a.m., during the two days of hearings without the
         Respondent appearing and after reiterating the provisions stipulated in Article 6.8 of the ICC Rules,
         which stipulates that the arbitration shall take place notwithstanding the rejection or the abstention
         of




25Transcript of the hearing held on February 19, 2018, p. 4, paras. 41 through 45, and p. 5 paras. 1 through 24; Transcript of the
hearing held on February 20, 2018, p. 4, paras. 10 through 42.


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         one of the parties from participation in the arbitration, began the hearing in accordance with the
         agenda transmitted to the Parties.26

116.     The Hearing held on February 19, 2018 was held with the following persons present:

                •    Members of the Arbitral Tribunal: Prof. Dr. Nayla Comair-Obeid, Dr. Seydou Madani Sy,
                     Mr. Joachim Bilé-Aka.
                •    On behalf of the Claimant: Mr. Abdoul Ndiaye.
                •    Administrative Secretary: Dr. Zeina Obeid

117.    During the first day of the Hearing, the Arbitral Tribunal listened to the Claimant’s oral pleadings
        and then heard the testimony of Mr. Massamba Gueye, the head of the Finance Department of CSE.

118.     The Hearing held on February 20, 2018 was held with the following persons present:

                •    Members of the Arbitral Tribunal: Prof. Dr. Nayla Comair-Obeid, Dr. Seydou Madani Sy,
                     and Mr. Joachim Bilé-Aka.
                •    On behalf of the Claimant: Mr. Abdoul Ndiaye.
                •    Administrative Secretary: Dr. Zeina Obeid

119.    During the second hearing day, the Arbitral Tribunal continued the hearing of Mr. Massamba Gueye.

120.     Finally, the Arbitral Tribunal heard the final pleadings of the Claimant.

121.    The hearings and the witness interviews over the two hearing days were transcribed, and the
        transcript was sent to the Respondent’s three addresses.

122.    At the end of the hearing, the Claimant’s counsel confirmed that he had no objections or reservations
        regarding the progress of the entire arbitral proceeding, from the beginning of the proceeding until
        the Final Hearing for Pleadings.27




26 Transcript of the Hearing held on February 19, 2018, p. 5, paras. 27 through 34; Transcript of the Hearing held on February 20,

2018, p. 4, paras. 38 through 42.
27 Transcript of the Hearing held on February 20, 2018, p. 45, paras. 6 through 10.




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V.          SUBMISSIONS OF THE PARTIES AND THE CLAIMS MADE IN THEIR
            RESPECTIVE SUBMISSIONS

1.          The Request for Arbitration that instituted the arbitral proceeding (June 20, 2016)

123.        The arbitral proceeding was begun at the initiative of the Claimant by a Request for Arbitration that
            instituted the arbitral proceeding on June 20, 2016.

124.        The Claimant maintains that Compagnie Sahélienne d’Entreprise concluded with the G uinean
            Government contracts dated June 25, 2003 regarding the execution, in the capital of Conakry, of
            construction work for the completion of two road projects, Lots 4 and 5, named “the 2x2-lane
            [Road] between Tombo and Gbessia Airport”. They are the “Procurement Contract for Lot 4” and
            the “Procurement Contract for Lot 5”.28

125.        On the basis of said Procurement Contracts, the Project Owner was to release 86.82% of the amount
            excluding taxes of the procurement contract with respect to the portion denominated in foreign
            currency, and 13.18% of the amount of the procurement contract with respect to the portion
            denominated in Guinean Francs.29

126.        The Claimant asserts that it has performed its contractual obligations in full and delivered to the
            G uinean G overnment all of the construction works stipulated in the contracts and that said
            performance has been attested by certificates of final acceptance, established without reservations,
            dated June 24, 2009 for each Lot, by the Project Owner.30

127.        The Claimant claims that because of a funding gap resulting from fluctuations in exchange rates,
            CSE agreed to revise the amounts of its receivable by means of an Amendment No. 1 for each
            Procurement Contract (Lots 4 and 5), both signed on February 19, 2010. Said amendments were
            approved by the Guinean Minister of the Economy and Finance. 31

128.        The Claimant maintains that despite the multiple reminder letters to the various Guinean Ministries
            involved, that is, the Minister of Public Works and the Minister of Finance, and after meeting with
            said authorities several times, the payment of the receivable owed to CSE could not take place.32

129.        The Claimant then brought the case into arbitration in compliance with Article 29 of the Special
            Administrative Terms and Conditions of the Procurement Contracts executed.33




28   Request for Arbitration, p. 2.
29   Request for Arbitration, p. 2.
30   Request for Arbitration, p. 2.
31   Request for Arbitration, p. 3.
32   Request for Arbitration, pp. 3 and 4.
33   Request for Arbitration, p. 4.


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130.       The Claimant has asked the Arbitral Tribunal to handle CSE’s claims, which are based on two
           different procurement contracts, in one and the same arbitral proceeding since the Parties and the
           arbitration clauses are identical in the two Procurement Contracts, and the receivables are based on
           similar facts. In fact, the same arbitration clause is stipulated in Article 29 of the same Special
           Administrative Terms and Conditions included in the two Procurement Contracts.34

131.       With regard to the number of arbitrators, in the absence of a specification in the arbitration clause
           (Article 29), the Claimant requested the appointment of a single arbitrator.35

132.       With regard to the applicable law, the Claimant refers to Article 51.1 of the General Administrative
           Terms and Conditions of each of the Procurement Contracts, which stipulates that: “[T]he applicable
           law for the interpretation and execution of this Procurement Contract shall be the law of the country
           of the Project Owner” and that, therefore, it is Guinean Law that applies to this dispute.36

133.       With regard to the language of the arbitration, the Claimant has indicated that it is French that is the
           official language of both Parties.37

134.       The Claimant has, therefore, asked the Arbitral Tribunal for the following:38

           -      “To declare the request submitted by Compagnie Sahélienne d’Entreprise admissible with
                  regard to form,

            And declaring that it has jurisdiction:

               - To order the Republic of Guinea in Conakry to pay the principal amounts of EUR 7,365,747.91
                and GNF 699,665,661 to Compagnie Sahélienne d’Entreprise.

               - To order the Republic of Guinea in Conakry to pay the penalties for late payment in the amount
               of EUR 5,805,126.13 and GNF 506,725,585 to Compagnie Sahélienne d’Entreprise, known as
               CSE, in addition to the interest that accrues until the arbitral award is rendered.

               - To order the Republic of Guinea in Conakry also to pay liquidated damages in the amount of
                EUR 2,000,000.




34   Request for Arbitration, pp. 4 and 5.
35   Request for Arbitration, p. 5.
36   Request for Arbitration, p. 5.
37   Request for Arbitration, p. 6.
38   Request for Arbitration, p. 8.


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              - To order the Republic of Guinea in Conakry to pay all the expenses and expenditures caused
               by this arbitral proceeding, which will be set forth in submissions.”

2.          Statement of Claim (July 21, 2017)

135.        The Claimant submitted its Statement of Claim on July 21, 2017, in which it summarized its
             allegations in its Request for Arbitration.

136.         The Claimant reaffirmed that it had performed its contractual obligations in their entirety and
             delivered to the Guinean Government all the construction works stipulated in the contracts39 and
             that said performance is proven by the certificates of final acceptance established without any
             reservations, dated June 24, 2009 for each Lot, by the Project Owner. 40

137.         The Claimant also reaffirmed that CSE agreed to revise the amount of its receivable by means of
             an Amendment No. 1 for each Procurement Contract (Lots 4 and 5), both concluded on February
             19, 2010 to assume responsibility for payment of the costs related to the factors that generated the
             funding gap41 and that said amendments were approved by the Guinean Minister of the Economy
             and Finance.42

138.         With regard to the search for a conciliatory solution by CSE, the Claimant maintained that it sent
             numerous reminder letters to the various G uinean ministries involved (the Minister of Public
             Works and the Minister of Finance) and met with said authorities many times to ask, in vain, for
             payment of the receivable due to CSE. 43 The Claimant added that at the time of the various
             meetings with the G uinean authorities, CSE asked the latter for a conciliatory solution to this
             situation. The Claimant indicated that it is customary practice with regard to public procurement
             contracts for amicable settlement by a mediator or arbitrator to assume that the parties, prior to any
             dispute, stipulate the mediation procedure and the procedures for appointment of the mediator, but
             such a clause is not stipulated in the procurement contracts involved in this dispute, and even less
             is there a compromise that requires the clear consent of the Parties to the contract, for the
             Government of Guinea has remained silent. The Claimant added that CSE has made every effort,
             both formally and informally, to arrange for a mediation to take place unsuccessfully and that prior
             mediation, even if it is stipulated contractually, could be raised as an objection only by the parties




39   Statement of Claim, para. 3, p. 2.
40   Statement of Claim, para. 4, p. 3; Exhibit no. D2 (the certificates of final acceptance of the work).
41   Statement of Claim, para. 5, p. 3; Exhibit no. D3 (amendment no. 1 of the procurement contracts).
42   Statement of Claim, para. 6, p. 3.
43   Statement of Claim, para. 7, p. 4.


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          to the contract since that supplementary procedure could not be a matter of public policy.44 The
          Claimant also submitted the correspondence from CSE sent to the G uinean Ministry of Public
          Works dated April 11, 2015,45 which indicated delinquent receivables in the amounts of EUR
          13,170,874.04 and GNF 1,206,391,246.

139.     The Claimant maintained, therefore, given the silence and lack of reaction on the part of the Project
         Owner with regard to the payment of the receivable owed to CSE, that it brought the case to
         arbitration in compliance with Article 29 of Special Administrative Terms and Conditions of the
         Procurement Contracts executed.46

140.     The Claimant subsequently responded to the questions in the Terms of Reference. The Claimant
         confirmed the jurisdiction of the Arbitral Tribunal in compliance with Article 29 of the Special
         Administrative Terms and Conditions of the Procurement Contracts and with Article 9 of the ICC
         Rules. The Claimant also asked for the simultaneous examination of its claims in the same
         proceeding, although they are based on two separate Procurement Contracts, since the Parties and
         the arbitration clauses are identical and the receivables are based on similar facts and involve the
         same arbitration clause in Article 29 of the same Special Administrative Terms and Conditions
         included in each Procurement Contract.47

141.     The Claimant alleged that it performed its obligations within the framework of the Procurement
         Contracts between it and the Respondent since it conducted the completion of the construction
         work involved in the 2 road projects involving “2x2-lane [Road] between Tombo and G bessia
         Airport” completely and in their entirety. The Claimant also reiterated the fact that this case
         involves an issue of collecting receivables that are due, acknowledged, liquid, and payable and not
         an issue with regard to the terms and conditions of the physical execution and completion of the
         works.48

142.     The Claimant claimed that the Respondent has not performed any of its commitments stipulated in
         the contracts and that since the completion of the construction work and its delivery in full
         compliance, the Republic of Guinea has not made payments and that, therefore, the Respondent
         has breached its contractual obligations.49

143.     The Claimant claimed, in short, for both the Procurement Contract for Lot No. 4 and the
         Procurement Contract for Lot No. 5, the payment of the following sums: the total principal amounts




44 Statement of Claim, para. 7, p. 4.
45 Statement of Claim, p. 4 para. 8 and p. 5; Exhibit no D4 (various payment request letters); Exhibit no D5 (summary of the arrears
and details by lot); Exhibit no D 6 (Special Administrative Terms and Conditions).
46 Statement of Claim, p. 5.
47 Statement of Claim, p. 6.
48 Statement of Claim, Section II-4, para. 1, p. 8.
49 Statement of Claim, Section II-4, para. 2, p. 8.




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         of the delinquent receivables of EUR 7,365,747.91 and GNF 699,665,661 as well as the penalties
         for late payment of the delinquencies for the two Procurement Contracts that the Claimant has
         valued at EUR 5,805,126.13 and GNF 506,725,585, besides the interest that continues to accrue
         until the arbitral award is made.50 CSE also asked that the Guinean Government be ordered to pay
         liquidated damages in the amount of EUR 2,000,00051 and asked the Arbitral Tribunal to order the
         Respondent to be fully liable for the final burden of the expenses of the arbitration.

144.     The Claimant concluded its Statement of Claim by requesting the following :52

           - To Declare the Request of Compagnie Sahélienne d’Entreprise admissible with regard to form,
         And, declaring that it has jurisdiction :
         With regard to the Merits,
           - To order the Republic of Guinea in Conakry to pay the principal amount of EUR 7,365,747.91
           and GNF 699,665,661 GNF to Compagnie Sahélienne d’Entreprise, known as “CSE”.
           - To order the Republic of Guinea in Conakry to pay the penalties for late payment in the
           amounts of EUR 5,805,126.13 and GNF 506,725,585 to Compagnie Sahélienne d’Entreprise,
           known as CSE, in addition to the interest that accrues until the arbitral award is rendered.
           - To order the Republic of Guinea in Conakry also to pay liquidated damages in the amount of
           EUR 2,000,000.
           - To order the Republic of Guinea in Conakry to pay all the expenses and expenditures caused
           by this arbitral proceeding.”

145.      Following the Final Hearing for Pleadings, the Claimant amended its claims with respect to the
          Procurement Contract for Lot 4 in the following manner:
          - The amount claimed denominated in Euros is a total of EUR 3,470,475.7353
          - The amount claimed denominated in Guinean Francs is a total of GNF 96,939,178 instead of
              GNF 586,885,339.54
          - The other claims made by the Claimant on the basis of its Request for Arbitration and its
              Statement of Claim have remained unchanged.




50 Statement of Claim, p. 7.
51 Statement of Claim, Section II-5, p. 9.
52 Statement of Claim, pp 10 and 11
53 Transcript of the Hearing held on February 20, 2018, p. 31, paras. 22 through 31: “Mr. Gueye – the sum is 3,470,475.73”.
54 Transcript of the Hearing held on February 19, 2018, p. 51, paras. 9 through 18.




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VI.         MISSION OF THE ARBITRAL TRIBUNAL

A.          THE QUESTIONS RAISED BY THE ARBITRAL TRIBUNAL AND THE REQUEST FOR PRODUCTION
            OF DOCUMENTS

146.       The Arbitral Tribunal, in light of the statement and briefs submitted by the Claimant, and
           considering the lack of participation on the part of the Respondent in the arbitral proceeding, sent a
           list of questions to the Claimant regarding the amounts paid pursuant to the procurement contracts,
           the amendments to the contracts, the amounts of the claims, the calculation of the penalties for late
           payment, and finally the calculation of the liquidated damages.55

147.       The list of questions sent by the Arbitral Tribunal to the Claimant is as follows:

           1) The Amount paid by the Defendant on the basis of Procurement Contracts

                  a. In paragraph 2 of Question II-4 in the Statement of Claim dated July 22, 2017 with regard
                    to the performance of the obligations of the parties, the Claimant asserted that “since the
                    completion of its works and the delivery thereof in full compliance, the Republic has not paid
                    a single Euro or a single Guinean Franc to CSE.” The Arbitral Tribunal asks the Claimant to
                    clarify: Does that mean that no amounts have ever been paid to CSE since the conclusion of
                    the procurement contracts? Or, does it mean that no amounts have been paid since the final
                    acceptance of the works?

                  b. What amounts have been paid by the Respondent on the basis of the execution of the
                    Procurement Contract with regard to Lot No. 4? On the basis of the execution of the
                    Procurement Contract with regard to Lot. No. 5?


             c.     With regard to the counts and the payments on account:

                   1- Did the Claimant provide to the Respondent, in compliance with Article 13.11 of the
                   General Administrative Terms and Conditions and Article 19 of the Special Administrative
                   Terms and Conditions, its “draft monthly counts”? What were their amounts?

                    2- Did the Claimant provide to the Respondent, after the completion of the works in
                   compliance with Article 13.31 of the General Administrative Terms and Conditions its “draft
                   final count” establishing the total amount of the sums that it could claim? What was the amount
                   of the final count?

                   3- Did the Republic of Guinea make payments on account following the various counts? In
                   what amounts, if any?

             d. Were one-half of the holdbacks (5% of each amount payable) paid at the time of the provisional
                acceptance (2.5%) as well as at the time of the final acceptance (2.5%), in compliance with
                Article 6.22 of the General Administrative Terms and Conditions?




55   Correspondence from the Arbitral Tribunal dated October 3, 2017.


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2) Amendments to the Contracts

  a. The Arbitral Tribunal would like the Claimant to explain the circumstances that led to the
     signing of the amendments.

  b. What is the meaning of the “funding gap” mentioned by the Claimant in paragraph 5 of its
     Statement of Claim?

  c. The Claimant claims that it agreed, by means of said amendments, to “assume responsibility
     for paying for the costs related to the factors that generated said funding gap”. The Claimant
     is asked to please explain that assertion.

  d. Can the Claimant explain what the factors indicated in Article 1 of each of the amendments
     mean?

  e. Were the amounts stipulated in the amendments with regard to Lots 4 and 5 intended to be
     substituted for the amounts stipulated in the procurement contracts with regard to Lots 4 and
     5?

  f. Did the Guinean Minister of Public Works make payments with regard to those amendments?
     What is the amount of the delinquent receivables?

  g. In paragraph 6 of its Statement of Claim, can the Claimant explain why it mentions the sum
     of EUR 3,074,933.09 pursuant to the amendment with regard to Lot No. 4 while the amount
     stipulated in that amendment is EUR 3,656,923.71? In the same paragraph, can the Claimant
     explain why it mentions the sum of EUR 3,409,629.06 with regard to Lot No. 5 while the
     amount stipulated in that amendment is EUR 3,897,891.11?

3) Amount of the claims

  a. Is the principal amount of the claims, as indicated on page 7 of the Statement of Claim, related
     to the principal contract or the amendments?

  b.   With regard to the principal amounts of the sums claimed:

       1- To what does the sum of EUR 3,467,856.80, claimed by the Claimant, on page 7 of its
          Statement of Claim, as the principal amount of delinquent receivables/portion in foreign
          currency for Lot No. 4 correspond?

       2- To what does the sum of GNF 586,885,339, claimed by the Claimant on page 7 of its
          Statement of Claim, as the principal amount of delinquent receivables/portion
          denominated in GNF for Lot No. 4 correspond?

       3- To what does the sum of EUR 3,897,891.11, claimed by the Claimant on page 7 of its
          Statement of Claim, as the principal amount of delinquent receivables/portion
          denominated in foreign currency for Lot No. 5 correspond?

       4- To what does the sum of [GNF] 112,780,322, claimed by the Claimant on page 7 of its
          Statement of Claim, as the principal amount of delinquent receivables/portion
          denominated in GNF for Lot No. 5 correspond?




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          4) Calculation of the penalties for late payment: On what basis did the Claimant calculate the
          penalties for late payment for cases of late payment?

          5) Calculation of liquidated damages: On what basis does the Claimant claim the sum of EUR
             2,000,000 Euros as liquidated damages?”

148.       The Arbitral Tribunal, moreover, made a request to the Claimant for the production of documents,
           a request regarding which the Respondent was asked to submit its comments.56 The list of exhibits
           prepared by the Tribunal was the following:

                1. The Arbitral Tribunal orders the Claimant to submit all documents establishing the amounts
                   already paid by the Government of the Republic of Guinea within the context of the
                   execution of the procurement contracts for construction work with regard to Lot No. 4 and
                   Lot No. 5.
                2. The Arbitral Tribunal orders the Claimant to submit the copies of the draft counts (monthly
                   and final) sent to the Respondent and, as applicable, the proof of the acceptance of said
                   draft counts by the Project Owner.
                3. The Arbitral Tribunal orders the Claimant to submit any and all proof regarding the
                   holdbacks of 5% of each amount payable as well as the release of 2.5% of said amounts on
                   the date of the provisional acceptance and the release of 2.5% of said amounts on the date
                   of the final acceptance.
                4. The Arbitral Tribunal orders the Claimant to submit all documents, correspondence, and
                   communications exchanged with the Respondent within the framework of the conclusion of
                   the two amendments to the contracts.
                5. The Arbitral Tribunal orders the Claimant to submit all documents, correspondence, and
                   communications regarding the payment stipulated in the Amendments, made during the
                   period between the date on which the Amendments were signed (02/19/2010) and the date
                   on which the Request for Arbitration was filed (06/20/2016).”
                6. The Arbitral Tribunal orders the Claimant to submit all documents that might justify the
                   sum of EUR 2,000,000 claimed as liquidated damages.
                7. The Arbitral Tribunal orders the Claimant to submit all documents, communications, and
                   correspondence regarding the letters demanding reimbursement for the arrears as well as
                   the responses regarding them, between 12/23/2011 (the date of the first demand letter
                   produced) and 06/20/2016 (the day of the Request for Arbitration).
                8. The Arbitral Tribunal orders the Claimant to submit any and all proof attesting to the offer
                   of the Guinean Minister of the Economy to make a payment on account of EUR 1,500,000
                   and to complete the payment of the balance over a 2-year moratorium as alleged in its
                   letter dated April 13, 2012.
                9. The Arbitral Tribunal orders the Claimant to submit any and all proof regarding the
                   allegation contained at the end of paragraph 1 of Section II-4 of its Statement of Claim to
                   the effect that the receivable claimed is “acknowledged”.




56   Correspondence from the Arbitral Tribunal dated October 3, 2017.


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                10. The Arbitral Tribunal orders the Claimant to submit a legible version of Exhibit No. 6
                    (“Summary of the Arrears”) as well as all documents (invoices, proofs of payment, and
                    others) that might justify the amounts written in that document.”

149.       The Claimant, in its correspondence dated October 25, 2017, provided answers to the questions
           asked by the Arbitral Tribunal and submitted the following requested documents:

              Exhibit No. 1: Table summarizing for the Arbitral Tribunal the arrears and determination of the
               penalties for late payment in Euros as of February 11, 2016 for the Tombo-Gbessia Roadworks,
               LOT 4.
              Exhibit No. 2: Bank statements of Compagnie Sahélienne d’Entreprises proving the bank wire
               transfers made by BADEA for the Tombo-Gbessia Roadworks, LOT 4.
              Exhibit No. 3: Bank statements of Compagnie Sahélienne d’Entreprises proving the bank wire
               transfers made by the KFAED for the Tombo-Gbessia Roadworks, LOT 4.
              Exhibit No. 4: Bank statements of Compagnie Sahélienne d’Entreprises proving the bank wire
               transfers made by OPEC for the Tombo-Gbessia Roadworks, LOT 4.
              Exhibit No. 5: Table regarding the situation of the G uinean G overnment local portion
               denominated in G uinean Francs of the Tombo G bessia 2 times 2-lane [Road] procurement
               contract, LOT 4.
              Exhibit No. 6: Table summarizing the arrears and determination of the penalties for late payment
               denominated in Euros as of February 11, 2016 for the Tombo-Gbessia Roadworks, LOT 5.
              Exhibit No. 7: Bank statements of Compagnie Sahélienne d’Entreprises proving the bank wire
               transfers made by the Arab Bank for Economic Development in Africa (BADEA) for the Tombo-
               Gbessia Roadworks, LOT 5.
              Exhibit No. 8: Bank statements of Compagnie Sahélienne d’Entreprises proving the bank wire
               transfers made by the KFAED for the Tombo-Gbessia Roadworks, LOT 5.
              Exhibit No. 9: Bank statements of Compagnie Sahélienne d’Entreprises proving the bank wire
               transfers made by the FSAOUD for the Tombo-Gbessia Roadworks, LOT 5.
              Exhibit No. 10: Bank statements of Compagnie Sahélienne d’Entreprises proving the bank wire
               transfers made by OPEC for the Tombo-Gbessia Roadworks, LOT 5.
              Exhibit No. 11: Table regarding the situation of the G uinean G overnment local portion
               denominated in G uinean Francs of the Tombo G bessia 2 times 2-lane [Road] procurement
               contract, LOT 5.

B.          ISSUES TO BE SETTLED BY THE ARBITRAL TRIBUNAL

150.       In compliance with the terms of the Terms of Reference dated June 23, 2017, which was approved
            by the Court of the ICC on July 11, 2017, the Arbitral Tribunal would settle, as applicable, any
            pertinent issues resulting from the written submissions of the Parties, whether with regard to the
            merits or with regard to procedural matters.57

151.       The Arbitral Tribunal will address the following points in dispute as stipulated in the Terms of
            Reference:58


57   Terms of Reference dated June 23, 2017, para. 8.1.
58   Terms of Reference dated June 23, 2017, para. 8.3.


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                   (i)      “Does the Tribunal have jurisdiction to resolve the dispute between the Parties in
                            this arbitration?
                   (ii)     To the extent that the Tribunal does have jurisdiction:
                            a.       What were the obligations of the Parties in connection with the
                                     Procurement Contracts?
                            b.       Did the Claimant and the Respondent perform their respective obligations
                                     in connection with the Procurement Contracts?
                            c.       Is the Claimant entitled to a sum of compensation for the damages claimed?
                            d.       On the basis of the responses to the aforementioned points in dispute, which
                                     Party is liable to whom, and for what amount?
                            e.       What are the costs of this arbitration, and what Party should incur them,
                                     and in what proportion?”

152.      During the Final Hearing for Pleadings dated February 20, 2018, the Claimant made an additional
          supplementary request to the Arbitral Tribunal, i.e., that the final award be accompanied by
          provisional enforcement.59 The Arbitral Tribunal informed the Claimant during the Hearing that
          said request would be considered by the Tribunal, which would deliberate and render its decision
          on said request along with the Final Award.60


C.        DEADLINE FOR RENDERING THE FINAL ARBITRAL AWARD

153.      In correspondence dated July 12, 2017, the Secretariat of the ICC indicated that the Court would
          examine the question of whether it was necessary to establish a deadline for rendering the final
          award that would be different from what was indicated in the Procedural Timetable (Article 30(1)).
          If not, the deadline would be six months from the date of the notification to the Arbitral Tribunal
          of the approval of the Terms of Reference by the Court, pursuant to Article 30(1)).

154.      In correspondence dated July 24, 2017, the Secretariat of the ICC informed the Parties and the
          Tribunal that the International Court of the ICC had designated March 30, 2018 as the deadline for
          the final award on the basis of the Procedural Timetable (Article 30(1)).

155.      In correspondence dated March 30, 2018, the International Court of the ICC extended the deadline
          for rendering the final award until June 29, 2018.




59 Transcript of the Hearing held on February 20, 2018, p. 41 paras. 46–47: “We solemnly ask you to accompany your decision with
provisional enforcement.”
60 Transcript of the Hearing held on February 20, 2018, p. 42 paras. 12 through 14: “the Tribunal has considered what you have

requested with regard to the application for provisional enforcement; and the Tribunal will deliberate and will render its decision
in a timely manner, along with the Final Award.”


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156.       In correspondence dated June 29, 2018, the International Court of the ICC extended the deadline
            for rendering the final award until July 31, 2018.

157.        In correspondence dated August 1, 2018, the International Court of the ICC, during its session held
            on July 19, 2018, extended the deadline for rendering the final award until August 31, 2018.


VII.        THE ARBITRAL TRIBUNAL

A.          INTRODUCTION

158.       The Arbitral Tribunal has reviewed and examined all the exhibits and documents submitted for the
            case file. It will perform its mission by responding to the issues in dispute as articulated in the
            Terms of Reference and in the claims of the Claimant.

159.       The Arbitral Tribunal also notes that in the absence of representation on behalf of the Respondent,
            it has ensured that the rights of the defense and the principle of equal treatment of the Parties are
            protected, by ensuring that the Respondent had been served with confirmation of delivery receipts
            all the statements, requests, correspondence, and exhibits submitted for the case file.61 The Arbitral
            Tribunal also asked the Claimant questions and asked it to produce all the documents that it deemed
            necessary in order to ensure equal treatment of the Parties and respect for the rights of the defense
            in the absence of participation of one of said Parties.62

160.        The Arbitral Tribunal has also meticulously analyzed, examined, and assessed the Claimant’s
            statements as well as the documents submitted within the framework of these proceedings in light
            of the applicable legal rules, in order to determine whether the Claimant was entitled to the
            reparation that it is requesting or not.



B.          THE ISSUES TO BE SETTLED BY THE ARBITRAL TRIBUNAL

         B.1. THE JURISDICTION OF THE ARBITRAL TRIBUNAL TO RESOLVE THE DISPUTE
         BETWEEN THE PARTIES IN THIS ARBITRATION

161.       The Arbitral Tribunal will answer the following question: “Does the Tribunal have jurisdiction to
            resolve the dispute between the Parties in this arbitration?




61   The delivery confirmations for receipt by the Respondent are appended to this Award.
62   Cf., section VI.B. of this Award.


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                  a. Positions of the Parties

           1- Position of the Claimant

162.       In its Request for Arbitration, the Claimant maintained that the Arbitral Tribunal had jurisdiction to
           hear this dispute pursuant to Article 29 of the Special Administrative Terms and Conditions of the
           Procurement Contracts, which stipulates the following: “[A]ll disputes resulting from this
           Procurement Contract shall be settled definitively in accordance with the Rules of Mediation and
           Arbitration of the International Chamber of Commerce in Paris, France, by one or more arbitrators
           appointed in accordance with said Rules.”63

163.       In addition, the Claimant asked the Arbitral Tribunal to handle its claims, which were based on two
           different procurement contracts, in one and the same arbitral proceeding, since the Parties and the
           arbitration clauses were identical in both Procurement Contracts and the receivables were based on
           similar facts.64

164.       In its Statement of Claim, the Claimant reiterated its position while indicating that the Parties
           intended, unambiguously, to give jurisdiction to the tribunal to which the matter has been referred,
           to settle definitively, without appeal, any disputes that might arise in their relationship.65

165.       With regard to the search for a conciliatory solution by the Claimant prior to the matter being
           referred to the Arbitral Tribunal, the Claimant maintained that it asked, unsuccessfully, the Guinean
           authorities to reach a conciliatory solution to the dispute when it had its various meetings with said
           authorities. The Claimant also indicated that it was customary practice in public procurement
           contracts for amicable settlement by a mediator to be subject to the condition that there be a
           mediation clause prior to the occurrence of any dispute, with said clause stipulating the procedures
           for appointment of a mediator to be accepted explicitly by the parties. However, no such clause was
           stipulated in the Procurement Contracts that are the object of this dispute. The Claimant added that
           CSE had made every effort, both formally and informally, to arrange for a mediation to occur,
           unsuccessfully, and that the prior mediation, even if stipulated contractually, could be raised as an
           objection only by the parties to the contract since that supplementary procedure could not be a matter
           of public policy.66 Given the silence and lack of reaction on the part of the Respondent, CSE then
           brought the dispute to arbitration in compliance with Article 29 of Special Administrative Terms
           and Conditions.67




63   Request for Arbitration, Section II, p. 4.
64   Request for Arbitration, Section II, p. 4.
65   Statement of Claim, Section II-2, p. 6.
66   Statement of Claim, para. 7, p. 4.
67   Statement of Claim of the Plaintiff, p. 5.


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           1- Position of the Respondent

166.       The Respondent has not participated in the arbitral proceeding and has not submitted any response
           to the question raised by the Arbitral Tribunal regarding its jurisdiction to hear this dispute, although
           all the procedural documents and correspondence have been served upon it at its various addresses
           via DHL express courier. The Arbitral Tribunal has prepared a table summarizing the pieces of
           correspondence served upon the Respondent and the dates on which they were received by the
           Respondent at its various addresses proving that the Respondent was indeed aware of the entirety
           of the progress of the arbitral proceeding and the Claimant’s position.68



                    b. The Arbitral Tribunal

167.       The Arbitral Tribunal will address and settle the following two questions regarding its jurisdiction:

                    First: the jurisdiction of the Arbitral Tribunal to hear the dispute pursuant to the provisions
                     of the General Administrative Terms and Conditions or of the Special Administrative Terms
                     and Conditions of the two Procurement Contracts.
                    Second: the jurisdiction of the Arbitral Tribunal to hear the dispute regarding two Public
                     Procurement Contracts (Lot 4 and Lot 5) in one and the same arbitral proceeding.


           With regard to the first issue regarding the jurisdiction of the Arbitral Tribunal to hear the
           dispute pursuant to the provisions of the General Administrative Terms and Conditions and
           of the Special Administrative Terms and Conditions of the two Procurement Contracts.

168.       The Arbitral Tribunal notes that the Procurement Contracts involved in this arbitration are governed
           by the General and Special Administrative Terms and Conditions, each of which contains a clause
           regarding the settlement of disputes.

169. Article 50 of the [General] Administrative Terms and Conditions for both Procurement Contracts
stipulates that:

           “50. Settlement of Disputes
           50.1 Intervention of the Project Owner




68   Cf., Section I.B.2 of the Award.


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             If a dispute arises between the Project Owner and the Contractor, in the form of reservations made
            with respect to a service order or in any other form, the Contractor shall submit to the Project
            Owner, for transmission to the Project Owner through the Project Head, a memorandum setting
            forth the grounds and indicating the amounts of its claims.

             In the absence of a satisfactory response received within a time limit of fifteen (15) days from the
            date of receipt, by the Project Owner, of the letter or of the memorandum from the Contractor, the
            Contractor shall have fifteen (15) days to submit to the Mediator the dispute regarding its claim or
            the response that is made to it by the Project Owner.”

170.       The introduction to the Special Administrative Terms and Conditions stipulates: “The Special
           Administrative Terms and Conditions [...] follow and supplement the General Administrative Terms
           and Conditions. In all cases in which the provisions contradict each other, the following provisions
           shall take precedence over those in the General Administrative Terms and Conditions. The number
           of the clause in the General Administrative Terms and Conditions to which a clause in the Special
           Administrative Terms and Conditions refers is indicated in parentheses.”69

171.       The Special Administrative Terms and Conditions also stipulate in Article 29 thereof a provision
           regarding the settlement of disputes:

            “Article 29. Settlement of Disputes (General Administrative Terms and Conditions, Article 50)
              50.31 All disputes arising out of this Procurement Contract shall be settled definitively in
            accordance with the Arbitration and Mediation Rules of the International Chamber of Commerce
            in Paris, France, by one or more arbitrators designated in compliance with said Rules.”

172.       The Arbitral Tribunal asked the Claimant during the Procedural Hearing held on June 23, 2017 to
           indicate the steps that were followed with respect to Article 50.2 of the [General] Administrative
           Terms and Conditions regarding the appointment of a mediator, and whether there were stages prior
           to the appointment of a mediator, and if there were steps prior to the resort to arbitration.70 The
           Claimant indicated that it had contacted the Respondent in an effort to attempt to reach an amicable
           solution to the dispute. A Correspondence No. 076 dated April 29, 2016 was sent to the Respondent
           to said effect, but the latter has remained without a response. The Claimant has also indicated that
           there was no mediation authority,71 and that the appointment of a mediator could not have taken




69   Exhibit No. 8, “Special Administrative Terms and Conditions”, p. 1 appended to the Request for Arbitration.
70   Cf., Transcript of the Procedural Hearing held on June 23, 2017, p. 12, paras. 23–25.
71   Cf., Transcript of the Procedural Hearing held on June 23, 2017, p. 15, paras. 47–48: “the mediation authority does not exist.”


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        place, and such an appointment would have to be made by mutual agreement and not unilaterally by
        one of the Parties.72

173.    The Claimant, subsequently, prepared in its Statement of Claim dated July 21, 2017, a section
        reiterating its position regarding the endeavor to reach an amicable solution to the dispute.73 The
        Claimant indicated that it had sent reminder letters to the Guinean Ministry of Public Works and the
        Guinean Ministry of Finance, and that CSE had met with said authorities several times to ask for the
        payment of its receivable, in vain. The Claimant also maintained that at said meetings, CSE had
        proposed an effort to reach a conciliatory solution. The Claimant added that it is customary practice
        in Public Procurement Contracts that amicable settlement by a mediator presumes that the Parties,
        prior to any dispute, stipulate the mediation procedure and the procedures for appointment of the
        mediator, but such a clause is not stipulated in the Public Procurement Contracts that are involved
        in this dispute. The Claimant added that CSE had made every attempt, both formally and informally,
        to arrange for a mediation to occur, unsuccessfully. As proof, the Claimant submitted the
        correspondence from CSE sent to the Guinean Ministry of Public Works dated April 11, 2015.74 The
        Claimant also alleged that the “prior mediation, even if it is stipulated contractually, could be raised
        as an objection only by the parties to the contract since that supplementary procedure could not be
        a matter of public policy.”75 Finally, the Claimant alleged that given the silence and lack of reaction
        on the part of the Respondent, CSE then brought the case to arbitration in compliance with Article
        29 of the Special Administrative Terms and Conditions.76

174.    In light of the express desire of the Parties as stipulated in the introduction to the Special
        Administrative Terms and Conditions, if there is a contradiction between the provisions of the
        General Administrative Terms and Conditions and those of the Special Administrative Terms and
        Conditions, the provisions of the latter shall take precedence.

175.    In this particular case, Article 29 of the Special Administrative Terms and Conditions does not
        stipulate a mediation process prior to the arbitral proceeding, but stipulates only that all disputes
        arising out of this Procurement Contract shall be settled definitively in accordance with the
        Mediation and Arbitration Rules of the International Chamber of Commerce in Paris, France.

176.    It is evident from the exhibits in the case file that an attempt to settle the dispute amicably took place
        but was unsuccessful 77 and that subsequently the Claimant initiated an arbitral proceeding in
        compliance with the 2012 ICC Rules and that an Arbitral Tribunal was formed to settle any disputes




72 Cf., Transcript of the Procedural Hearing held on June 23, 2017, p. 12, paras. 26 through 37, p. 3, paras. 10 through 14, 22

through 28, and 38 through 47, p. 14, paras. 1 through 4, p. 15, paras. 8 through 16, 38 through 50, and p. 16, paras. 1 through 20.
73 Claimant’s Statement of Claim, p. 4, para. 7.
74 Exhibit No. D5 attached to the Statement of Claim; Claimant’s Statement of Claim, p. 4 para. 8 and p. 5.
75 Claimant’s Statement of Claim, p. 4, para. 7.
76 Claimant’s Statement of Claim, p. 5.
77 Exhibit No. 5 appended to the Request for Arbitration.




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        between the Parties to the arbitration pursuant to the two Procurement Contracts.

177.    In light of the primacy of the provisions stipulated in the Special Administrative Terms and
        Conditions over the provisions in the General Administrative Terms and Conditions, the arbitral
        proceeding initiated in this ICC Case No. 22056 is in compliance with the will of the Parties, and
        the validly formed Arbitral Tribunal, therefore, has jurisdiction to settle any dispute related to the
        aforementioned Procurement Contracts.

178.    Therefore, the Arbitral Tribunal declares that it has jurisdiction to settle the disputes related to the
        two Procurement Contracts for Public Works for Lot 4 and Lot 5, in a single arbitral proceeding on
        the basis of the arbitration clause stipulated in Article 29 of the Special Administrative Terms and
        Conditions of the two Procurement Contracts.

         With regard to the second question regarding the jurisdiction of the Arbitral Tribunal to hear
        the dispute regarding two Public Procurement Contracts (Lot 4 and Lot 5) in one and the
        same arbitral proceeding:

179.    The Arbitral Tribunal notes that it is clear from a reading of the two Procurement Contracts, Lot 4
        and Lot 5, that they are (i) contracts regarding the execution of the same project, “the upgrading of
        the 2x2-lane [Road] between Tombo and Gbessia Airport (Conakry)” divided into two Lots78 and
        (ii) contracts concluded between the same Parties: the G overnment of the Republic of G uinea,
        represented by the Minister of Public Works and Transportation, in its capacity as the Project Owner
        and CSE, in its capacity as the Contractor awarded the contracts.79

180.    In addition, both Procurement Contracts are governed by the G eneral Administrative Terms and
        Conditions and Special Administrative Terms and Conditions, which are similar and contain
        identical arbitration clauses.80

181.    Moreover, the receivables claimed by the Claimant are based on similar facts: the conclusion of two
        Amendments to the two Procurement Contracts with identical subject matter, which was the
        coverage of the costs related to the factors that generated the funding gap in Lots 4 and 5 of the
        Tombo-Gbessia project (revision of the prices, exceeding of the contractually stipulated time limit,
        and depreciation of the US dollar with respect to the Euro)81 leading to a revision of the price of




78 Exhibit no 2 submitted with the Request for Arbitration: The Procurement Contract for Construction Work entitled “Upgrading
of the 2x2-lane [Road] between Tombo and Gbessia Airport (Conakry), Lot 4: Kenien Section - T1, Procurement Contract for
Construction Work No. 2003/0325/1/2/1/2/N, dated June 25, 200[3]; The Procurement Contract for Construction Work entitled
“Upgrading of the 2x2-lane [Road] between Tombo and G bessia Airport (Conakry), Lot 5: Section T1-T2” including the two
interchanges at the intersections of the T1 and the T2”, Procurement Contract for Construction Work No. 2003/0324/1/2/1/2/N
dated June 25, 2003”.
79 Exhibit No. 2 submitted with the Request for Arbitration: The Procurement Contract for Lot 4, p. l; Procurement Contract for

Lot 5, p. l.
80 Exhibit No. 7 submitted with the Request for Arbitration: Article 50 of the General Administrative Terms and Conditions and

Exhibit No. 8 submitted with the Request for Arbitration: Article 29 of the Special Administrative Terms and Conditions.
81 Exhibit No. 4 submitted with the Request for Arbitration: Articles 1 of the two Amendments.




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           both Procurement Contracts. In addition, it is evident from the various letters requesting payment
           and reminder letters submitted by the Claimant that the two Procurement Contracts were handled
           together and the demands for payment of the arrears related to the Amendments were made together
           for both the road projects that constitute Lots 4 and 5 of the 2 x 2-lane [Road] between Tombo and
           Gbessia Airport.82

182.       Furthermore, the ICC accepted the Claimant’s request for arbitration based on the two Procurement
           Contracts and Article 9 of the ICC Rules regarding “Multiple Contracts”, which stipulates the
           following: “Subject to the provisions of Articles 6(3)–6(7) and 23(4), claims arising out of or in
           connection with more than one contract may be made in a single arbitration, irrespective of whether
           such claims are made under one or more than one arbitration agreement under the Rules.”

183.       Therefore, in light of the close relationship between the two Procurement Contracts concluded and
           signed between the same Parties—the Claimant “Compagnie Sahélienne d’Entreprises” and the
           Respondent “The Republic of G uinea, represented by the Minister of Public Works and
           Transportation”—involving the same subject matter, and based on the same arbitration clause and
           pursuant to the aforementioned Article 9 of the ICC Rules, the Arbitral Tribunal deems that it has
           jurisdiction to hear the dispute resulting from the two Procurement Contracts within one and the
           same arbitral proceeding.

         B.2. THE PERFORMANCE OF THE RESPECTIVE CONTRACTUAL OBLIGATIONS OF THE PARTIES

184.        The Arbitral Tribunal will answer the following two questions:
             1 - What were the obligations of the Parties in connection with the Procurement Contracts?
             2 - Did the Claimant and the Respondent perform their respective obligations in connection with
                 the Procurement Contracts?

                    a. Positions of the Parties

             1- Position of the Claimant

185.        The Claimant claims that Compagnie Sahélienne d’Entreprise concluded with the G uinean
             Government contracts dated June 25, 2003, regarding the execution, in the capital Conakry, of
             construction work for the completion of two road projects, Lots 4 and 5, called “the 2x2-lane
             [Road] between Tombo and Gbessia Airport”. They are Procurement Contract for Lot 4” and the
             “Procurement Contract for Lot 5”.83




82   Exhibit No. 5 submitted with the Request for Arbitration.
83   Request for Arbitration, p. 2; Statement of Claim, para. l, p. 2.


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186.     With regard to the proof of the signing of the two Procurement Contracts, the Claimant submitted
          Exhibit No. D1 and alleges that, in compliance with Article 4 of the contract, the financial
          consideration for the execution of the construction work would be released in the following manner:
         - The Project Owner would release the sums due to the contractor for the portion denominated in
             foreign currency, i.e., 86.82% of the amount excluding taxes of the procurement contract by
             bank wire transfer in Euros to the contractor’s bank account at Crédit Commercial de France
             (CCF).
         - With regard to the portion denominated in Guinean Francs, i.e., 13.18% of the amount of the
             procurement contract, it would be released by bank wire transfer to the company’s account at
             Union Internationale de Banque en Guinea Conakry (UIBG). 84

187.     The Claimant asserts that it has fully performed its contractual obligations and delivered to the
         G uinean G overnment all the construction works stipulated in the contracts and that said
         performance is attested by the certificates of final acceptance prepared without any reservations,
         dated June 24, 2009 for each Lot, by the Project Owner.85

188.     The Claimant also claims that despite the delivery of said works to the Guinean Government more
         than eight years ago and the conclusion of the Amendments duly signed by the Parties, CSE has
         proven to be cooperative and patient and has attempted to collect the payment of the sums that are
         due to it pursuant to the Amendments to the two Procurement Contracts.86

189.     With regard to the Amendments, the Claimant claims that the G uinean G overnment, in its
          mobilization of the resources dedicated to the payment for the services rendered by CSE, found
          that there was a funding gap resulting from the fluctuations in the currency exchange rates.
          Therefore, CSE agreed to revise the amount of its receivable by means of two Amendments No. 1
          related to each Procurement Contract (for Lots 4 and 5), both concluded on February 19, 2010 to
          assume responsibility for the payment of the cost related to the factors that generated the funding
          gap. 87 With regard to the proof of the existence of said amendments, on the basis of their content,
          the Claimant alleges that said amendments were approved by the Guinean Minister of the Economy
          and Finance. Said amendments with regard to Lots 4 and 5 stipulated the following:
         - With regard to Lot No. 4: an amount of EUR 3,074,933.09 payable in four monthly installments
              in the year 2010, that is, EUR 768,733.31 per quarter.
         - With regard to Lot No. 5: an amount of EUR 3,409,629.06 payable in four monthly installments
             in the year 2010, that is, EUR 852,407.26 per quarter. 88




84 Statement of Claim, para. 2, p. 2.
85 Request for Arbitration, p. 2; Statement of Claim, para. 3, pp. 2 and 3; Exhibit No. D2 (the certificates of final acceptance of the
works).
86 Statement of Claim, para. 6, p. 4.
87 Statement of Claim, para. 5, p. 3; Exhibit No. D3 (Amendment No. 1 of the procurement contracts).
88 Request for Arbitration, p. 3; Statement of Claim, para. 6, p. 3.




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190.        The Claimant maintains that despite the many reminder letters sent to the various government
            ministries involved, i.e., the Minister of Public Works and the Minister of Finance, and after meeting
            with said authorities many times, the payment of the receivable due to CSE in connection with the
            Amendments did not occur. The Claimant refers, in particular, to its last correspondence dated April
            11, 2015 sent to the Ministry of Public Works, in which CSE indicated delinquent receivables in
            the amount of EUR 13,170,874.04 and GNF 1,206,391,24, distributed between Lot No. 4 and Lot
            No. 5 in the following manner: 89
             - For Lot No. 4:
                  An amount of EUR 6,104,066.28 including EUR 2.6 million in penalties for late payment;
                     and
                  An amount of GNF 760,280,149, including GNF 173 million in penalties for late payment.
             - For Lot No. 5:
                  An amount of EUR 7,066,807.76, including EUR 3.2 million in penalties for late payment;
                     and
                  An amount of GNF 446,111,098, including GNF 333 million in penalties for late payment.

191.        With regard to the Respondent’s obligations, the Claimant claims that the Respondent did not
            perform any of its commitments stipulated in the contracts and that since the completion of the
            works and their delivery in full compliance, the Republic of Guinea has not paid a single Euro or a
            Single G uinean Franc to CSE and that, therefore, the Respondent breached its contractual
            obligations. 90 In fact, the Claimant alleges that the Respondent was required to pay, for each
            Procurement Contract, the following sums in four monthly installments:

           A- For Procurement Contract No. 2003/0325/l/2/l/2/N (Lot No. 4)
              - Principal amounts of delinquent receivables/portion denominated in foreign currency: EUR
                  3,467,856.80
              - Penalties for late payment related thereto: EUR 2,636,209.48
                  Total due in foreign currency: EUR 6,104,066.28
              - Principal amounts of delinquent receivables/portion in GNF: GNF 586.885.339
              - Penalties for late payment related thereto : GNF 173.394.810
                  Total due in local currency : GNF 760,280,149

            B- Pursuant to Procurement Contract No. 2003/0324/1/2/1/2/N (Lot No. 5)
              - Principal amounts of delinquent receivables/portion denominated in foreign currency: EUR
                  3,897,891.11
              - Penalties for late payment related thereto: EUR 3,168,916.65
                  Total due in foreign currency: EUR 7,066,807.76
              - Principal amounts of delinquent receivables/portion in GNF: GNF 112.780.322
              - Penalties for late payment related thereto : GNF 333.330.776
                  Total due in local currency : GNF 446,111,098


89   Request for Arbitration, pp. 3 and 4.
90   Statement of Claim, Section II-4, para. 2, p. 8.


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           2 - Position of the Respondent

192.       The Respondent has not participated in the arbitral proceeding and has not submitted any responses
           to the questions asked by the Arbitral Tribunal regarding the performance of the respective
           contractual obligations of the Parties pursuant to the Procurement Contracts, although all the
           procedural documents and correspondence were served upon it at its various addresses via DHL
           express courier. 91 The Arbitral Tribunal has prepared a table summarizing the pieces of
           correspondence served upon the Respondent and the dates of receipt thereof by the Respondent at
           its various addresses proving that the Respondent was indeed aware of the entirety of the progress
           of the arbitral proceeding and of the position of the Claimant.

                  b. The Arbitral Tribunal

193.       The Tribunal notes that the Claimant as the “Contract Holder” or Contractor, and the Respondent
           as the “Project Owner”, concluded two Procurement Contracts dated June 25, 2003.

194.       The subject matter of the first Procurement Contract was “the execution of the project for Upgrading
           of the 2x2-lane [Road] between Tombo and Gbessia Airport (Conakry), Lot 4: Kenien Section - T1”
           92
              (Procurement Contract for Lot 4), and the subject matter of the second Procurement Contract was
           “the execution of the project for Upgrading of the 2x2-lane [Road] between Tombo and Gbessia
           Airport (Conakry), Lot 5: Section T1-T2, including the two interchanges at the intersections of the
           T1 and the T2”.93

195.       Article[s] 4 of the Procurement Contracts for Lot 4 and Lot 594 stipulate, in the same terms, the
           following: “The Project Owner shall release the sums due to the Contractor with respect to the
           portion denominated in foreign currency, i.e., 86.82% of the amount excluding taxes of the
           Procurement Contract by bank wire transfer in Euros (EUR) to Account No. 17722-00001 at Crédit
           Commercial de France (CCF) bank in Paris, 115–117 Avenue ds Champs Elysées, 75419 Paris
           Cedex 08, France. And with regard to the portion denominated in Guinean Francs, i.e., 13.18% of
           the amount of the procurement contract by bank wire transfer to Account No. 05000560170/11 at
           Union Internationale de Banque en Guinée (UIBG) Conakry. The exchange rate applicable to this
           procurement contract shall be EUR 1 = GNF 1965.5267 (Central Bank of the Republic of Guinea
           fixing).”




91   Cf., section I.B.2. de this Award.
92   Article 1 of the Procurement Contract for Lot 4; Exhibit No. 2, Request for Arbitration.
93   Article 1 of the Procurement Contract for Lot 5; Exhibit No. 2, Request for Arbitration.
94   Exhibit No. 2, Request for Arbitration.


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196.    In compliance with Article 4 of the two aforementioned Procurement Contracts, the Respondent
         was to execute its obligation to make payment in foreign currency (Euros) in the proportion of
         86.82% of the amount of each of the two Procurement Contracts and in Guinean Francs for the
         remaining 13.18%. With regard to the payment in foreign currency (Euros), the latter was to be
         covered by the following funders: the KFAED, BADEA (Arab Bank for Economic Development
         in Africa), the SFD, and OPEC. With regard to the payment in Guinean Francs, the latter was to be
         covered by the Republic of Guinea.

197.    Furthermore, it is evident from said two Procurement Contracts that the Claimant’s obligation was
        “the execution of the project for Upgrading of the 2x2-lane [Road] between Tombo and Gbessia
        Airport (Conakry), Lot 4: Kenien Section - T1” for the Procurement Contract for Lot 4, and “the
        execution of the project for Upgrading of the 2x2-lane [Road] between Tombo and Gbessia Airport
        (Conakry), Lot 5: Section T1-T2, including the two interchanges at the intersections of the T1 and
        the T2” for the Procurement Contract for Lot 5. The Respondent’s obligation was the payment of
        the price of the construction work executed as is evident from Article 4 of the two aforementioned
        Procurement Contracts.

198.    It is clear from the exhibits in the case file that Guinean Government Secretary for Public Works
         Arch Mamady Kallo, acting in his capacity as Project Owner for the two Procurement Contracts
         for the upgrading of the 2x2-lane [Road] between Tombo and Gbessia Airport: Lot 4 and Lot 5,
         issued two certificates of final acceptance for each of the two Procurement Contracts: A certificate
         of final acceptance dated July 24, 2009 No. 0286/SETP/CAB/09 for the Procurement Contract for
         Lot 4 and a certificate of final acceptance dated July 24, 2009 No. 0285/SETP/CAB/09 for the
         Procurement Contract for Lot 5.95

199.    Therefore, the Claimant has provided proof of the proper performance of its contractual obligations,
        that is, the completion of the construction work for the Procurement Contracts for Lot 4 and Lot 5
        and the final acceptance thereof by the Respondent. Pursuant to Article 42.3 of the G eneral
        Administrative Terms and Conditions, “the final acceptance shall mark the end of execution of this
        Procurement Contract and shall release the co-contracting parties from their obligations.” The
        Arbitral Tribunal notes that in the express terms of the two Procurement Contracts, there is no
        obstacle that is a condition for the implementation of the Respondent’s payment obligation. It was,
        then, incumbent upon the Respondent to pay the price of the construction work performed in
        compliance with Articles 4 of the two Public Procurement Contracts related to Lot 4 and Lot 5. The
        Arbitral Tribunal notes, moreover, from the exhibits in the case file, that because of a funding gap,
        the two Parties to the contract revised the contractual price initially stipulated in the Procurement
        Contracts by means of the conclusion of two Amendments to the two Procurement Contracts. They
        were Amendment No. 1 to Contract No. 2003/0324/1/2/1/2/N for upgrading of




95 Exhibit no. 3, Request for Arbitration: Certificate of Final Acceptance dated July 24, 2009 No. 0286/SETP/CAB/09 for the
Procurement Contract for Lot 4 and Certificate of Final Acceptance dated July 24, 2009 No. 0285/SETP/CAB/09 for the
Procurement Contract for Lot 5.


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         the road involving the 2x2-lane Tombo - G bessia, Lot 5: T1-T2 dated February 19, 2010, and
         Amendment No. 1 to Contract No. 2003/0325/1/2/1/2/N for upgrading of the road involving the
         2x2-lane Tombo - Gbessia, Lot 4: Kenien Section—T1 dated February 19, 2010.

200.     Article 3 of the two Amendments stipulates the following: “the basic procurement contract
         documents shall be considered and interpreted to form an integral part of this Amendment, in the
         order of priority stipulated in the same basic procurement contract.”

201.     The Claimant confirmed in its pleadings, in its reminder letters submitted for the case file,96 and
         during the Final Hearing that the amounts claimed are related to the amounts stipulated in the
         Amendments that have remained unpaid, despite the series of reminder letters sent to the Republic
         of Guinea set forth below:97

                Letter dated December 23, 2011 sent by the Chief Executive Officer of CSE Mr.
                 Oumar Sow to the Government Minister of the Economy and Finance of the Republic
                 of Guinea in Conakry,98 which contains the following:

                   “Dear Mr. Minister:
                   Regarding our various reminder letters that have remained ineffective with respect to the
                   arrears due to us in a total of EUR 7,554,814.82 (seven million five hundred fifty-four
                   thousand eight hundred fourteen Euros and eighty-two cents), we are hereby reiterating
                   to you our request for payment, the tardiness of which has already caused enormous harm
                   to us. We would like to remind you, Mr. Minister, that these amounts have been established
                   pursuant to the provisions of Amendments 2010/094/2/2/1/2/n (Lot 4) and
                   2010/093/2/2/1/2/n (Lot 5), both approved on 01/20/2010 by the Minister of the Economy
                   and Finance [...].”

                Letter dated February 8, 2012 sent by the Chief Executive Officer of CSE Mr. Oumar
                 Sow to the Minister of Public Works and Transportation, Republic of Guinea,
                 Conakry99 requesting once again the payment of the debt for the two road projects in the
                 Procurement Contracts for Lot 4 and Lot 5, emphasizing to the Minister “the difficult
                 situation that our company is experiencing because of the delinquent receivables that are
                 due by the Guinean Administration, following the completion on its behalf, since the end




96 Letter dated December 23, 2011 sent by the Chief Executive Officer of CSE Mr. Oumar Sow to the Minister of the Economy
and Finance of the Republic of Guinea, in Conakry: “We would like to remind you, Mr. Minister, that these amounts have been
established pursuant to the provisions of Amendments No. 2010/094/2/2/1/2/n (for Lot 4) and No. 2010/093/2/2/1/2/n (for Lot 5)
both approved on 01/20/2010 by the Minister of the Economy and Finance [...]». (Exhibit No. 5, Request for Arbitration).
97 Responses by the Claimant to the questions asked by the Arbitral Tribunal in its correspondence dated October 3, 2017;

Transcript of the Hearing held on February 19, 2018, p. 22, paras. 45 through 51, and p. 23, paras. 1 through 21.
98 Exhibit no 5, Request for Arbitration.
99 Exhibit no 5, Request for Arbitration.




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                     of May 2008, of the 2 road projects that constitute Lots 4 and 5 of the 2x2-lane [Road]
                     between Tomba and Gbessia Airport. In fact, with regard to those 2 projects, our company
                     has posted, for more than 3 years now, arrears that amount to EUR 10,304,153.33 and
                     GNF 1,122,657,733 [...].

                     In our previous reminder letters dated 05/29/2011 and 12/23/2011 sent to your Ministry
                    and to the Ministry of the Economy and Finance, respectively, we requested the payment
                    of said debt to us, which has caused enormous harm to us, especially insofar as it is for
                    projects that have already been accepted by the administration for more than 3 years and
                    for the completion of which we incurred a great deal of debt.
                     I n addition, during our last stay in Conakry, our many attempts to meet with the
                    Government Minister of the Economy and Finance to examine with him the measures taken
                    by the Administration to pay us were unsuccessful. Thus, we find ourselves required to
                    refer the matter to you officially, in your capacity as a supervisory Minister responsible
                    for the payment of these unsettled debts in order to reach a resolution to this situation,
                    which has lasted more than 3 years [...].”

                 Letter dated December 10, 2012 sent by the Chief Executive Officer of CSE Mr.
                  Oumar Sow to the Minister of Public Works and Transportation of the Republic of
                  Guinea in Conakry, 100 which once again requested the payment of the debt for the
                  Procurement Contracts for Lots 4 and 5 to the same effect as the aforementioned letter
                  dated February 8, 2012.

                 Letter dated April 13, 2012 sent by the Chief Executive Officer of CSE Mr. Oumar
                  Sow to the Government Minister of the Economy and Finance of the Republic of
                  Guinea in Conakry,101 which refers to a working meeting with the Guinean administration
                  with regard to the situation of the delinquent receivables after which the ministerial
                  department made the following proposals:
                  “ Payment of a payment on account of EUR 1,500,000 (one million five hundred thousand
                  Euros) at the end of June 2012
                  - Payment of the balance over a moratorium of 2 (two) years.”.

                   Letter dated April 11, 2015 sent by the Chief Executive Officer of CSE Mr. Oumar
                    Sow to the Guinean Minister of Public Works and Transportation in Conakry
                    - The Republic of Guinea, 102 which once again draws the attention of the G uinean
                    Administration to the difficult situation of CSE because of the unpaid receivables “that are
                    due by the Guinean Administration, following the completion on its behalf since the end of
                    May 2008,




100 Exhibit no 5, Request for Arbitration.
101 Exhibit no 5, Request for Arbitration.
102 Exhibit no 5, Request for Arbitration.




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                    of the 2 road projects that constitute Lots 4 and 5 of the 2 x 2-lane [Road] between Tombo
                   and Gbessia Airport. In fact, with regard to the 2 projects, our company has posted, for
                   more than 7 years now, arrears in the amounts of EUR 7,365,747.91 and GNF 99,665,661
                   in principal and EUR 5,805,126.13 and GNF [...] in interest. In sum, the total amounts of
                   our delinquent receivables are EUR 13,170,874.04 and GNF 1,206,391,246 GNF[...].

202.      The Arbitral Tribunal, finds, after examination of the correspondence mentioned above, that the
          Claimant demanded from the ministries involved, several times, the payment of the amounts of the
          delinquent receivables related to the two Amendments. Said correspondence demonstrates that
          until April 11, 2015, the Claimant demanded the payment of the arrears in Euros and in Guinean
          Francs.

203.      In addition, the Arbitral Tribunal notes the principal contractual provisions of the two Amendments,
           which stipulate the following:

               Amendment No. l of the Procurement Contract for Lot 4103

         Article 1: “[T]he purpose of this Amendment is to assume responsibility for the costs related to the
          factors that have generated the [funding] gap with regard to Lot 4 of the Tombo-Gbessia project
          (revision of the prices, exceeding of the contractually stipulated time limit, and depreciation of the
          US dollar with respect to the Euro).”

         Article 2: ”[T]he General Terms and Conditions of the Procurement Contract shall remain fully
          applicable except the modifications stipulated in the Special Terms and Conditions related to this
          amendment.”

         Article 4: “[T]he total amount of Amendment No. 1 resulting from the analysis of the gap shall be:
          Three Million Six Hundred Fifty-Six Thousand Nine Hundred Twenty-Three Euros and Seventy -
          One Cents (EUR 3,656,923.71).”

         Article 5: “[T]he terms and conditions of payment shall be as follows:
          - KFAED: EUR 206,356.09
          - SFD: EUR 194,356.04
          - OPEC: EUR 181,278.34
               Guinean NDB: EUR 3,074,933.34, in accordance with the following payment schedule:
                   • First quarter of 2010: EUR 768,733.31
                   • Second quarter of 2010: EUR 768,733.31
                   • Third quarter of 2010: EUR 768,733.31
                   • Fourth quarter of 2010: EUR 768,733.31.”



103
  Exhibit No. 14 submitted in the correspondence from the Claimant dated October 25, 2017; it is also Exhibit No. 4 of the
Request for Arbitration and Exhibit No. D4 of the Statement of Claim.


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         Article 6: “[T]he prices shall be firm and not subject to revision.”

               Amendment No. 1 of the Procurement contract for Lot 5104

                 Article 1: “[T]he purpose of this Amendment is to assume responsibility for the costs
                  related to the factors that have generated the [funding] gap with regard to Lot 5 of the
                  Tombo-Gbessia project (Revision of the prices, exceeding of the contractually stipulated
                  time limit, and depreciation of the US dollar with respect to the Euro).”

                 Article 2: “[T]he General Terms and Conditions of the Procurement Contract shall remain
                  fully applicable except the modifications stipulated in the Special Terms and Conditions of
                  the Contract.”

                 Article 4: “[T]he total amount stipulated in Amendment No. 1 resulting from the analysis
                  of the gap shall be: Three Million Eight Hundred Ninety-Seven Thousand Eight Hundred
                  Ninety-One Euros and Eleven Cents (EUR 3,897,891.11).”

                    Article 5: “[T]he terms and conditions of payment shall be as follows:
                     -    SFD: EUR 383,854.57
                     -    OPEC: EUR 104,407.49
                     -    Guinean NDB: EUR 3,409,629.06, in accordance with the following payment
                           schedule:
                       • First quarter of 2010: EUR 852,407.26
                       • Second quarter of 2010: EUR 852,407.26
                       • Third quarter of 2010: EUR 852,407.26
                       • Fourth quarter of 2010: EUR 852,407.26.”

                    Article 6: “[T]he prices shall be firm and not subject to revision.”

204.      In addition, Article 10 of the two Amendments stipulates, in the same terms, that “[T]his
           Amendment shall be valid and enforceable only after it has been signed by the parties involved and
           has been approved by the Minister of the Economy and Finance.”

205.      The Arbitral Tribunal, upon reading the two Amendments, notes in this regard the word “approved”
          by the Guinean Minister of the Economy and Finance with the stamp of the Ministry and a signature
          on those two Amendments.105 Therefore, the Arbitral Tribunal finds that said Amendments are



104 Exhibit no. 14 submitted in the correspondence from the Claimant dated October 25, 2017; it is also Exhibit No. 4 of the Request
for Arbitration and Exhibit No. D4 of the Statement of Claim.
105 Exhibit no. 4, Request for Arbitration. Article 10 of Amendment No. 1 of the Procurement Contract for Lot 4: “this amendment

shall be valid and enforceable only after it has been signed by the parties involved and has been approved by the Guinean Minister
of the Economy and Finance”; Article 10 of Amendment No. 1 of the Procurement Contract for Lot 5: “ this amendment shall be
valid and enforceable only after it has been signed by the parties involved and has been approved by the Guinean Minister of the


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         valid and enforceable, and that they corroborate the existence of a receivable of the Claimant that
         is liquid, certain and due.

206.     The Tribunal refers here to Article 801 of the Guinean Civil Code, which stipulates the following:
         “As a general rule, it is the plaintiff, that is, the person who institutes a legal proceeding, who has
         the burden of proof.
         However, if the defendant (or respondent), that is, the person against whom the action is directed,
         has to assert a defense argument against his adversary, it is then to him that the burden of proof
         shall pass.”106

207.     It is clear from these provisions that the burden of proof is incumbent upon the Plaintiff (or
         Claimant) in Guinean law. Thus, any person who deems that he is the creditor of an obligation must
         provide proof thereof, and any person who deems that he has discharged an obligation must provide
         the proof thereof.

208.     In this particular case, the Claimant is claiming the payment of the amount stipulated in the
         Amendments with respect to the amounts denominated in Euros and is also claiming payment of
         the amounts denominated in Guinean Francs with respect to the amounts of the counts that have
         remained unpaid by the Republic of Guinea.

209.     The Tribunal finds that the Claimant has provided proof that it has performed its contractual
         obligations pursuant to the two Procurement Contracts in light of the Certificates of Final
         Acceptance of the Works issued by the Respondent and is demanding payment by the Respondent
         of the amounts stipulated in the Amendments. The Arbitral Tribunal finds that the monetary debt
         claim pursuant to the Amendments is liquid, certain, and due and that the Respondent agreed to pay
         the amount stipulated in the Amendments in accordance with a pre-established payment schedule.
         It is thus the responsibility of the Respondent to prove that it has discharged its contractual
         obligations to pay the amount of the arrears related to the Amendments. However, the Respondent
         has not provided proof to the contrary attesting to the performance of its payment obligations on
         the basis of the two Amendments. The Respondent has, in fact, decided not to participate in the
         arbitral proceeding despite its receipt and service of all the correspondence, documents, procedural
         documents, and other items related to this arbitral proceeding.

210.     Therefore, the Arbitral Tribunal determines that the Claimant’s obligations with respect to
         the Procurement Contracts, in its capacity as the contractor, was the completion of two
         roadwork projects that constitute Lots 4 and 5 of the 2 x 2-lane [Road] between Tombo and
         Gbessia Airport and that the Claimant executed its obligations pursuant to the Procurement
         Contracts. As for the Respondent, it had the obligation, as the Project Owner, to make the
         payment of the price stipulated in the Amendments for the construction work executed by the



Economy and Finance.”
106 Correspondence from the Claimant dated March 20, 2018 with copies of the Civil Code and of Code of Civil Procedure of

Guinea appended thereto.


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         Claimant. The Arbitral Tribunal will determine the legitimacy of the amount of the
         Claimant’s claims on the basis of the delinquent receivables for the amounts stipulated in the
         Amendments in Section B.3 below.

      B.3. THE CLAIMANT’S RIGHT TO COMPENSATION FOR THE DAMAGES CLAIMED

211.     The Arbitral Tribunal will answer the following questions:
         1- Which Party is liable and to whom?
         2- Which Party is liable for what amount?
         3- Is the Claimant entitled to compensation for the damages claimed?

                a. Positions of the Parties

         1- Position of the Claimant

212.      The Claimant claims that after the conclusion of the Procurement Contracts with the Respondent,
          the latter was required to release the following sums in compliance with Article 4 of the
          Procurement Contracts:
         - With respect to the portion denominated in foreign currency: 86.82% of the amount excluding
             taxes of the procurement contract by bank wire transfer in Euros to the contractor’s bank account
             at Crédit Commercial de France (CCF).
         - With respect to the portion denominated in G uinean Francs: 13.18% of the amount of the
             procurement contract by bank wire transfer to the company’s account at Union Internationale
             de Banque en Guinée Conakry (UIBG). 107

213.     The Claimant claims, furthermore, that in light of the funding gap resulting from the fluctuations
         in exchange rates, CSE agreed to revise the amount of its receivable by means of an Amendment
         No. 1 to each Procurement Contract (for Lots 4 and 5), both concluded on February 19, 2010 to
         assume responsibility for the payment of the costs related to the factors that generated the funding
         gap. 108 The Claimant submits that said amendments were approved by the Guinean Minister of the
         Economy and Finance and stipulate the following:
          For Lot No. 4: an amount of EUR 3,074,933.09 payable in four quarterly installments in the
             year 2010, that is, EUR 768,733.31 per quarter.
          For Lot No. 5: an amount of EUR 3,409.629.06 payable in four quarterly installments in the
             year 2010, that is, EUR 852,407.26 per quarter.109




107 Statement of Claim, para. 2, p. 2
108 Statement of Claim, para. 5, p. 3; Exhibit no. D3 (amendment no 1 of the procurement contracts).
109 Statement of Claim, para. 6, p. 3.




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214.     The Claimant claims that despite the delivery of said works to the Guinean Government more than
         eight years ago and the intervention of amendments duly signed by the Parties, the Respondent has
         not paid the sums due for each of the Procurement Contracts, which the Claimant summarizes in
         the following manner:110

          A - Pursuant to Procurement Contract No. 2003/0325/l/2/l/2/N (Lot no. 4)
               Principal amounts of delinquent receivables/portion denominated in foreign currency:
                  EUR 3,467,856.80
               Penalties for late payment related thereto: EUR 2,636,209.48
                  Total due in foreign currency: EUR 6,104,066.28
               Principal amounts of delinquent receivables/portion denominated in Guinean Francs: GNF
                  586,885,339
               Penalties for late payment related thereto: GNF 173,394,810
                  Total due in local currency: GNF 760,280,149

          B - Pursuant to Procurement Contract No. 2003/0324/1/2/1/2/N (Lot No. 5)
               Principal amounts of delinquent receivables/portion denominated in foreign currency:
                  EUR 3,897,891.11
               Penalties for late payment related thereto: EUR 3,168,916.65
                  Total due in foreign currency: EUR 7,066,807.76
               Principal amounts of delinquent receivables/portion denominated in Guinean Francs: GNF
                  112,780,322
               Penalties for late payment related thereto: GNF 333,330,776
                  Total due in local currency: GNF 446,111,098

215.     The Claimant has thus confirmed that the amounts claimed from the Respondent are only those
         related to the amounts stipulated in the Amendments.111

216.     In addition, the Claimant, following the Request for Production of Documents requested by the
          Arbitral Tribunal112, submitted the following exhibits:
          Exhibits No. 1, 6, and 19: 113 table summarizing the arrears and determination of the penalties
             for late payment in Euros as of February 11, 2016 for the Procurement Contracts for Lot 4 and
             Lot 5.
          Exhibits N os. 5, 11, and 12:114 the counts sent by the Claimant to the Respondent and the
             payment thereof for the two Procurement Contracts for Lot 4 and Lot 5.

110 Statement of Claim, para. 6, p. 4.
111 Correspondence from the Claimant dated October 25, 2017 in which it provided responses to the questions asked by the Arbitral
Tribunal and submitted the documents requested by the Tribunal in the Request for Production of Documents.
112 Correspondence of the Arbitral Tribunal dated October 3, 2017; correspondence from the Claimant dated October 25, 2017 in

which it provided responses to the questions of the Arbitral Tribunal and submitted the documents requested by the Tribunal in the
Request for the Production of Documents.
113 Exhibit No. 19 is a combination of two Exhibits, Nos. 1 and 6, exhibits submitted in the correspondence from the Claimant dated

October 25, 2017.
114 Exhibit No. 12 is a combination of two Exhibits, Nos. 5 and 11, exhibits submitted in the correspondence from the Claimant

dated October 25, 2017.


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             Exhibits N os. 2, 3, 4, 7, 8, 9 and 10: the bank statements of CSE proving the bank wire
              transfers made by the Arab Bank for Economic Development in Africa (BADEA), OPEC, the
              KFAED, and the FSAOUD to CSE Account No. 17722–00001 at the Crédit Commercial de
              France bank (CCF) in Paris for the two Procurement Contracts for Lot 4 and Lot 5.

      217.       The Claimant has also submitted testimony from the Chief Executive Officer and Chief
          Financial Officer of CSE, Mr. Massamba Gueye, who indicated that the amount of the arrears with
          respect to the two Procurement Contracts has been calculated to amount to “a principal amount
          of EUR 7,365,747.91 and GNF 699,665,661 and interest of EUR 5,805,126.13 and GNF
          56,725,585, detailed as follows:

         -   With respect to Lot 4
             • Principal amount of the unpaid amount of the portion payable in foreign currency: EUR
                 3,467,856.80
             • Penalties for late payment related thereto: EUR 2,636,209.48
                 Subtotal due in foreign currency: EUR 6,104,066.28

              •    Principal amount of the unpaid amount of the portion payable in GNF: GNF 586,885,339
              •    Penalties for late payment due: GNF 173,394,810
                   Subtotal due for the portion denominated in local currency: GNF 760,280,149

         -   With respect to Lot 5
             • Principal amount of the unpaid amount of the portion payable in foreign currency: EUR
                 3,897,891.11
             • Penalties for late payment related thereto: EUR 3,168,916.65
                 Subtotal due in foreign currency: EUR 7,066,807.76

              •    Principal amount of the unpaid amount of the portion payable in GNF: GNF 112,780,322
              •    Penalties for late payment related thereto: GNF 333,330,776
                   Subtotal due for the portion denominated in local currency: GNF 446,111,098”

      218.        The Chief Executive Officer and Chief Financial Officer furthermore indicated in his
          testimony that “the difference between the sum of EUR 3,467,856.80 claimed by the Claimant in
          its Request for Arbitration and the sum of EUR 3,656,923.71 written in the amendment is justified
          by the sum of EUR 10,991.11 received from the KFAED”. 115

      219.      In addition, the Chief Executive Officer and Chief Financial Officer, during his hearing at
        the Final Hearing confirmed a calculation error in his report, an error noted by the Arbitral Tribunal
        during the Hearing related to the total amount of the delinquent receivables denominated in
        Guinean Francs, which is GNF 96,939,178 and not GNF 586,885,339.116


115 Testimony of the Chief Executive Officer and Chief Financial Officer of CSE, Mr. Massamba Gueye, submitted by the Claimant
in its correspondence dated January 30, 2018.
116 Transcript of the Hearing held on February 19, 2018, p. 51 paras. 5 through 33.




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      220.     The Claimant is also requesting that the Guinean Government be ordered to pay liquidated
          damages in the amount of EUR 2,000,000.117



          2 - Position of the Respondent

      221.       The Respondent has not participated in the arbitral proceeding and has not submitted any
          responses to the questions asked by the Arbitral Tribunal, i.e., “Which Party is liable and to
          whom?”, “Which Party is liable for what amount?”, and “I s the Claimant entitled to
          compensation for the damages claimed?”, although all the procedural documents and the
          correspondence was served upon it at its various addresses via DHL express courier. The Arbitral
          Tribunal has prepared a summary table of the pieces of correspondence served upon the
          Respondent and the dates on which they were received by the Respondent at its various addresses
          proving that the Respondent was indeed aware of the entire progress of the arbitral proceeding
          and of the Claimant’s position.

                b. The Arbitral Tribunal

      222.        The Arbitral Tribunal has reviewed and analyzed the exhibits transmitted by the Claimant,
          and, in particular, the following exhibits:

          ■ Exhibits N os. 1, 6 and 19: 118 a table summarizing the arrears and determination of the
            penalties for late payment in Euros as of February 11, 2016 for the Procurement Contracts for
            Lot 4 and Lot 5.
          ■ Exhibit N os. 5, 11, and 12:119 the counts sent by the Claimant to the Respondent and the
            payment thereof for the two Procurement Contracts for Lot 4 and Lot 5.
          ■ Exhibits Nos. 2, 3, 4, 7, 8, 9, and 10: 120 the bank statements of CSE proving the bank wire
            transfers made by BADEA, OPEC, the KFAED, and the FSAOUD to CSE Account No.
            17722–00001 at Crédit Commercial de France (CCF) in Paris for the two Procurement
            Contracts for Lot 4 and Lot 5.
          ■ Exhibit No. l4: 121 Amendments to the contracts for Lots 4 and 5




117 Request for Arbitration, p. 8; Statement of Claim, p. 11; Transcript of the Hearing held on February 19, 2018, p. 21, para. 49.
118 Exhibit No. 19 is a combination of two Exhibits, Nos. 1 and 6, exhibits submitted in the correspondence from the Claimant
dated October 25, 2017.
119 Exhibit No. 12 is a combination of two Exhibits, Nos. 5 and 11, exhibits submitted in the correspondence from the Claimant

dated October 25, 2017.
120 Exhibits submitted in the correspondence from the Claimant dated October 25, 2017.
121 Exhibit submitted in the correspondence from the Claimant dated October 25, 2017; it is also Exhibit No. 4 in the Request for

Arbitration and Exhibit D4 in the Statement of Claim.


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            ■ Exhibit N o. 2: 122 Procurement Contract for Construction Work No. 2003/0325/1/2/1/2/N
              dated June 25, 2003 entitled « Lot 4 : Tronçon Kenien – T1” and Procurement Contract for
              Construction Work No. 2003/0324/1/2/1/2/N dated June 25, 2003 entitled “Lot 5 -. Section T1
              - T2” including the two interchanges at the intersections of the T1 and the T2”.
            ■ Exhibit No. 7: General Administrative Terms and Conditions.
            ■ Exhibit No. 8: Special Administrative Terms and Conditions
            ■ The testimony of Mr. Massamba G ueye, the Chief Executive Officer and Chief Financial
              Officer of CSE and his examination during the Final Hearing.

223.       The Arbitral Tribunal, after the questions asked of the Claimant in its correspondence dated October
           3, 2017, noted the following response from the Claimant123 with regard to the principal amount of
           the claims on the basis of the two Procurement Contracts, amounts that are reflected in the Request
           for Arbitration and in the Statement of Claim:

            With regard to the Procurement Contract for Lot No. 4:

            -    The sum of EUR 3,467,856.80 claimed by the Claimant, on page 7 of its Statement of Claim,
                 as the principal amount of delinquent receivables with respect to the portion denominated in
                 foreign currency for Lot No. 4 corresponds to the amendments.
            -    The sum of GNF 586,885,339 claimed by the Claimant, on page 7 of its Statement of Claim,
                 as the principal amount of delinquent receivables with respect to the portion denominated in
                 Guinean Francs for Lot No. 4 corresponds to the details of the delinquent receivables.

            With regard to the Procurement Contract for Lot No. 5:

            -    The sum of EUR 3,897,891.11 claimed by the Claimant, on page 7 of its Statement of Claim,
                 as the principal amount of delinquent receivables with respect to the portion denominated in
                 foreign currency for Lot No. 5 corresponds to the amendments.
            -    The sum of GNF 112,780,322 claimed by the Claimant, on page 7 of its Statement of Claim,
                 as the principal amount of delinquent receivables with respect to the portion denominated in
                 Guinean Francs for Lot No. 5 corresponds to the details of the delinquent receivables.

224.       The Arbitral Tribunal will provide its analysis below and will make a ruling regarding the amount
           of the Claimant’s claims with regard to the Procurement Contract for Lot 4 first (1), then with
           regard to the Procurement Contract for Lot 5 second (2), and finally will make a ruling on the
           request for liquidated damages in the amount of EUR 2,000,000 (3).




122   Exhibit No. 2 submitted with the Request for Arbitration.
123   Correspondence from the Claimant dated October 25, 2017 in which it provided responses to the questions asked by the Arbitral
      Tribunal and submitted the documents requested by the Tribunal in the Request for Production of Documents.


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                                                         Procurement Contract for LOT No. 4

  Amount of the Procurement Contract with             Amount stipulated in     Sums Claimed with respect to      Table Summarizing the Arrears
            respect to Lot No. 4                     Amendment No. 1 with         Lot No. 4 (interest not                                   124
                                                                                                                  (Exhibits Nos. 1, 6, and 19      )
                                                       respect to Lot No. 4             included)                    (interest not included)
Amount of the         GNF 16,822,442,035
procurement
contract excluding
taxes
Amount in foreign     14,605,244,174.80 (i.e.,
currency (86.82%)     approximately
                      7,430,702.56 according to
                      the contractual exchange
                      rate EUR 1 = GNF
                      1,965.5267)
Amount in GNF         GNF 2,217,197,860.21
(13.18%)
Amount of the         GNF 4,082,607,164
Taxes
Total Amount Incl.    GNF 20,905,049,199          EUR 3,656,923.71
Taxes
Portion in foreign    GNF 18,149,763,714.60                                   Principal    EUR 3,467,856.80 Principal       EUR 3,470,475.73
currency (86.82%)     (i.e., approximately EUR                                amount of                     amounts of      (Amounts of
                      9,234,045.80 according to                               delinquent                    delinquent      delinquencies
                      the contractual exchange                                receivables/                  receivables/por beginning June 30,
                      rate EUR 1 = GNF                                        portion in                    tion            2007)
                      1,965.5267)                                             foreign                       denominated
                                                                              currency                      in foreign
                                                                                                            currency
Portion in GNF        GNF 2,755,285,484.43                                    Principal    GNF 586,885,339    Principal       GNF 96,939,178
(13.18%)              (i.e., approximately EUR                                amounts of                      amounts of      (Amounts of
                      1,401,805.10 according to                               delinquent                      delinquent      delinquencies
                      the contractual exchange                                receivables/                    receivables/por beginning July 15,
                      rate EUR 1 = GNF                                        portion in                      tion in GNF     2008)
                      1,965.5267)                                             GNF
Total in foreign    EUR 10,635,851.04
currency (for
information
purposes and
according to the
contractual
exchange rate EUR 1
= GNF 1,965.5267)




                 1-   With regard to the claims related to the Procurement Contract for Lot 4:

   225.       The Arbitral Tribunal, after examining the exhibits in the case file prepared, with regard to the
              Procurement Contract for Lot 4, the following summary table:




     124  Exhibit No. 19 is a combination of two Exhibits, Nos. 1 and 6, exhibits submitted in the correspondence from the Claimant
     dated October 25, 2017.


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226.   The Arbitral Tribunal notes that Article 1 of the Amendment to the Procurement Contract for Lot
       4125 stipulates that “the purpose of this amendment is to assume responsibility for the payment of
       the costs related to the factors that generated the gap for Lot 4 of the Tombo-Gbessia project
       (revision of the prices, exceeding of the contractually stipulated time limit, depreciation of the US
       dollar with respect to the Euro)” and that Article 2 stipulates that “the General [Administrative]
       Terms and Conditions of the Procurement Contract shall remain fully applicable except the
       modifications stipulated in the Special Terms and Conditions of the Contract related to this
       amendment.”

227.   In addition, the amount specified in the Amendment to the Procurement Contract for Lot 4 is
        stipulated in Article 4 thereof, 126 which stipulates the following: “the total amount of Amendment
        No. 1 resulting from the analysis of the funding gap is: Three Million Six Hundred Fifty-Six
        Thousand Nine Hundred Twenty-Three Euros and Seventy-One Cents (EUR 3,656,923.71)”.

228.   Article 5 of the aforementioned Amendment stipulates that: “[T]he terms and conditions of payment
       shall be as follows:
       - KFAED: EUR 206,356.09
       - SFD: EUR 194,356.04
       - OPEC: EUR 181,278.34
       - Guinean NDB: EUR 3,074,933.34, in accordance with the following payment schedule:
                • First quarter of 2010: EUR 768,733.31
                • Second quarter of 2010: EUR 768,733.31
                • Third quarter of 2010: EUR 768,733.31
                • Fourth quarter of 2010: EUR 768,733.31”

229.   Article 6 of said Amendment also stipulates that “[T]he prices shall be firm and not subject to
       revision.”

230.   This Amendment No. l to the Procurement Contract for Lot No. 4 is valid and enforceable since it
       was signed by the Parties involved and approved by the Minister of the Economy and Finance as
       is clear from the signatures on the Amendment and the appearance of the word “approved”.127

231.   The Arbitral Tribunal has also noted that the amount claimed in Euros by the Claimant pursuant to
       the Procurement Contract for Lot No. 4 was reconsidered by the latter at the Final Hearing for




       125 Exhibit no. 14 submitted in the correspondence from the Claimant dated October 25, 2017; it is also Exhibit No. 4 of
       the Request for Arbitration and Exhibit No. D4 of the Statement of Claim.
       126 Exhibit no. 14 submitted in the correspondence from the Claimant dated October 25, 2017; it is also Exhibit No. 4 of

       the Request for Arbitration and Exhibit No. D4 of the Statement of Claim.
       127 Article 10 amendment no. l of the Procurement Contract for Lot 4 : “This amendment shall be valid and enforceable

       only after it has been signed by the parties involved and has been approved by the Minister of the Economy and Finance.”


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          Pleadings and is now the sum of EUR 3,470,475.73 instead of EUR 3,897,891.11.128 In fact, the
          Claimant submitted during the Final Hearing for Pleadings the bank statement from LCL bank,
          proving the payment by the KFAED of the amount of EUR 190,991.11 on October 4, 2010 after
          the conclusion of Amendment No. l to the Procurement Contract for Lot No. 4, a sum that should
          be subtracted from the amount claimed on the basis of said Amendment. This document was
          accepted by the Tribunal and transmitted to the Respondent by priority mail.129

232.     Thus, the amount of the Claimant’s claims on the basis of the delinquent receivables for the
         Procurement Contract for Lot 4, as is clear from the Claimant’s pleadings, is the amount stipulated
         in the Amendment No. 1 to the Public Procurement Contract for Lot 4, which reiterates the amount
         of the delinquent counts, i.e., Counts Nos. 14, 15, 16 and 17130 after deduction of the amount paid
         by the KFAED after the conclusion of the Amendment on October 4, 2010.131

233.     Furthermore, the amount claimed in Guinean Francs by the Claimant pursuant to the Procurement
         Contract for Lot 4 was also reconsidered by the Claimant during the examination of its Chief
         Executive Officer and Chief Financial Officer during the Final Hearing for Pleadings and is now
         the amount of GNF 96,939,178 instead of GNF 586,885,339.132

234.     The Arbitral Tribunal, during the Final Hearing, deemed it necessary to conduct a verification of
         the amounts paid and not paid by the funders on the basis of Count Nos. 1 through 17. To said end,
         the Claimant and the Chief Executive Officer and Chief Financial Officer of CSE established, with
         respect to the Procurement Contract for Lot 4, the connection between each count (Exhibits Nos.
         5, 11, and 12) and the proof of the bank wire transfer received (Exhibits Nos. 2, 3, 4, 7, 8, 9, and
         10). It proved to be the case that the unpaid counts for Lot 4 are Counts Nos. 14, 15, 16, and 17 in
         the amount of EUR 3,470,475.73.133

235.     The Arbitral Tribunal verified each figure related to each count and verified the transfers that were
         made by the funders and received by the Claimant in its Account No. 17722–00001 at Crédit
         Commercial de France (CCF), the account stipulated in Article 4 of the Procurement Contract for
         Lot 4.134



128   Transcript of the Hearing held on February 20, 2018, p. 31 para. 22 through 31 : “Mr. Gueye -- the sum is 3,470,475.73.”
129   Bank statement from LCL bank dated 4/10/2010, justifying the payment by the KFAED of the amount of EUR 190,991.11
cf., correspondence from the Claimant dated October 25, 2017; Testimony of the Chief Executive Officer and the Chief Financial
Officer de la CSE, p. 2; transcript of the Hearing held on February 20, 2018, p. 30 para. 18 through 24.
130   Transcript of the Hearing held on February 19, 2018, p. 25 para. 7 through 9 “Mr. Gueye : the amount that you find in the
amendment is precisely the amount of the count of the delinquent receivables. They are the unpaid counts denominated in Euros
that are in the amendment, and we wanted to prove them.”
131   Bank statement from LCL bank dated 4/10/2010, proving the payment by the KFAED of the amount of EUR 190,991.11; cf.,
correspondence from the Claimant dated October 25, 2017; Testimony of the Chief Executive Officer and Chief Financial Officer
of CSE, p. 2; Transcript of the Hearing held on February 20, 2018, p. 30 paras. 18 through 24.
132   Transcript of the Hearing held on February 19, 2018, p. 51, paras. 9 through 18.
133   Transcript of the Hearing held on February 20, 2018, p. 31, paras. 22 through 31 : “Mr. Gueye -- the sum is 3,470,475.73.”
134   Transcript of the Hearing held on the February 20, 2018:
       Bank wire transfers made by the SFD with respect to Lot No. 4, page 22, paras. 31 et seq.
       Bank wire transfers made by the BADEA with respect to Lot No. 4, page 25, paras. 23 et seq.
       Bank wire transfers made by OPEC with respect to Lot No. 4, page 26, paras. 44 et seq.


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 236.       The Arbitral Tribunal established the result of this exercise in the tables below, reflecting the
            amounts paid and not paid by each of the Funders with respect to each of the counts.135

            The amounts paid by the KFAED to the Claimant on the basis of the Procurement Contract for Lot
            4:

                                                                                        WIRE TRANSFER
  LOT 4                 KFAED136         AMOUNT PAID             EVIDENCE137                DATE          VALUE DATE


                                                         Statement dated May 01‐31,                                      IA (Initial
Dep. No.   IA138   436,496.00         436,372.08         2005                         05/25/2005        25/5/2005        Advance) DEP.
                                                         Statement dated February                                        DEP. l
Dep. No.   1       261,642.11         261,542.11         01‐28, 2006                  2/1/2006          2/1/2006
                                                         Statement dated April 01‐30,                                    DEP. 2
Dep. No.   2       89,506.47          89,406.47          2006                         2/1/2006          2/1/2006

                                                         Statement dated January 01‐                                     DEPS. 3, 4, 5, 6,
Dep. No.   3       82,472.05          612,877.30         31, 2007                      01/24/2007       01/24/2007       and 7 for Lot 4
                                                         Statement dated January 01‐                                     DEPS. 3, 4, 5, 6,
Dep. No.   4       77,705.35          612,877.30         31, 2007                      01/24/2007       01/24/2007       and 7 for Lot 4
                                                         Statement dated January 01‐                                     DEPS. 3, 4, 5, 6,
Dep. No.   5       172,611.92         612,877.30         31, 2007                      01/24/2007       01/24/2007       and 7 for Lot 4
                                                         Statement dated January 01‐                                     DEPS. 3, 4, 5, 6,
Dep. No.   6       179,527.27         612,877.30         31, 2007                      01/24/2007       01/24/2007       and 7 for Lot 4
                                                         Statement dated January 01‐                                     DEPS. 3, 4, 5, 6,
Dep. No.   7       100,560.71         612,877.30         31, 2007                      01/24/2007       01/24/2007       and 7 for Lot 4
                                                                                                                         DEPS. 8 and 9
                                                         Statement dated January 01‐                                     for Lot 4 and 18
Dep. No.   8       90,710.66          331,132.18         31, 2007                    01/17/2007         01/17/2007       and 19 for Lot 5
                                                                                                                         DEPS. 8 and 9
                                                         Statement dated January 01‐                                     for Lot 4 and 18
Dep. No.   9       54,942.10          331,132.18         31, 2007                    01/17/2007         01/17/2007       and 19 for Lot 5
                                                         Statement dated October
Dep. No.   10      136,828.11         136,728.11         01‐31, 2007                 10/04/2007         10/04/2007       DEP. 10 for Lot 4
                                                                                                                         DEPS. 11, 12
                                                                                                                         and
                                                         Statement dated September                                       13 for Lot 4 and
Dep. No.   11      148,130.76         1,062,681.74       04‐29, 2007               09/20/2007           09/20/2007       DEPS.




       Bank wire transfers made by the KFAED with respect to Lot No. 4, page 20, paras. 41 et seq.
 135  It must be noted that the minimal difference between the amounts claimed and the transfers is explained by the bank fees
 caused by the bank wire transfers; cf., Transcript of the Hearing held on February 19, 2018, p. 34 para. 10 “it proves to be the case,
 on the other hand, that there are fees caused by the bank wire transfers, which have also been taken into account”; Transcript of
 the Hearing held on February 19, 2018, p. 34, paras. 32 through 43.
 136  Exhibit no. 12 attached to the correspondence from the Claimant dated October 25, 2017 entitled “Counts sent by the Claimant
 to the Respondent and the Payment Thereof”.
 137  Exhibit no. 3 attached to the correspondence from the Claimant dated October 25, 2017 entitled “Bank statements of
 Compagnie Sahélienne d’Entreprises proving the bank wire transfers made by the KFAED for the Tombo-Gbessia Roadwork, LOT
 4.”
 138  Initial Advance, cf., Abbreviations; Exhibit No. l and Exhibit No. 5 attached to the correspondence from the Claimant dated
 October 25, 2017: correspondence from CSE to the Minister of Public Works and Transportation of the Republic of Guinea dated
 February 22, 2005.


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                                                                                                                          21 22 and 23
                                                                                                                          For Lot 5
                                                                                                                          DEPS. 11, 12
                                                                                                                          and
                                                                                                                          13 for Lot 4 and
                                                                                                                          DEPS.
                                                                  Statement dated                                         21, 22 and 23
Dep. No.             12       191,903.31             1,062,681.74 September 04‐29, 2007   09/20/2007     09/20/2007       for Lot 5
                                                                                                                          DEPS. 11, 12,
                                                                                                                          and 13 for Lot 4
                                                                                                                          and DEPS. 21,
                                                                  Statement dated                                         22, and 23 for
Dep. No.             13        91,100.70             1,062,681.74 September 04‐29, 2007   09/20/2007     09/20/2007       Lot 5
Dep. No.             14      166,629.17        Not Paid
Dep. No.             15       528,568.63       Not Paid
Dep. No.             16      697,237.21        Not Paid
Dep. No.             17       74,049.24        Not Paid



  237.          It is evident from the table that the amounts not paid by the KFAED are the following counts:
                - Count No. 14 in the amount of EUR 166,629.17
                - Count No. 15 in the amount of EUR 528,568.63
                - Count No. 16 in the amount of EUR 697,237.21
                - Count No. 17 in the amount of EUR 74,049.24

  238.          Thus, the total amounts unpaid by the KFAED on the basis of Count Nos. 14, 15, 16, and 17 for
                Lot 4 is EUR 1,466,484.25.

                The amounts paid by the SFD to the Claimant on the basis of the Procurement Contract for Lot 4:

                                                                                            WIRE TRANSFER
        LOT 4                         FSD139     AMOUNT PAID            EVIDENCE140             DATE         VALUE DATE
                                                                 Statement dated May 01‐                                  IA DEP.
Dep. No.        SP        327,372.00           327,248.08        31, 2005                 05/12/2005      05/12/2005
                                                                 Statement dated February                                 DEP. 1 for Lot 4
Dep. No.             1    196,231.59           196,231.59        01‐28, 2006              2/2/2006        2/2/2006
                                                                                                                          DEPS. 2 and 3
                                                                 Statement dated June 01‐                                 for Lot 4
Dep. No.             2    67,129.85            128,983.89        30, 2006                 06/29/2006     06/29/2006
                                                                                                                          DEPS. 2 and 3
                                                                 Statement dated June 01‐                                 for Lot 4
Dep. No.             3    61,854.04            128,983.89        30, 2006                 06/29/2006     06/29/2006
                                                                 Statement dated July 01‐                                 DEP. 4 for Lot 4
Dep. No.             4    58,279.01            58,279.01         21, 2006                 07/20/2006     07/20/2006
                                                                                                                          DEPS. 5 and 7
                                                                 Statement dated                                          for Lot 4
Dep. No.             5    129,458.94           204,879.47        September 01‐30, 2006    09/20/2006     09/20/2006




  139  Exhibit no. 12 attached to the correspondence from the Claimant dated October 25, 2017, entitled “Counts sent by the Claimant
  to the Respondent and the Payment Thereof”.
  140  Exhibit No. 3 attached to the correspondence from the Claimant dated October 25, 2017, entitled “Bank statements of
  Compagnie Sahélienne d’Entreprises proving the bank wire transfers made by the KFAED for the Tombo-Gbessia Roadwork, LOT
  4”.


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                                                     Statement dated August 01‐                              DEP. 6 for Lot 4
Dep. No.     6          134,645.45   134,645.45      31, 2006                   08/31/2006      08/31/2006

                                                     Statement dated September
Dep. No.     7          75,420.53    204,879.47      01‐30, 2006               09/20/2006       09/20/2006   DEPS. 5 and 7 for Lot 4

                                                     Statement dated November
Dep. No.     8          68,033.00    109,239.57      01‐30, 2006                11/30/2006      11/30/2006   DEPS. 8 and 9 for Lot 4
                                                     Statement dated November
Dep. No.     9          41,206.57    109,239.57      01‐30, 2006                11/30/2006      11/30/2006   DEPS. 8 and 9 for Lot 4
                                                     Statement dated May 01‐31,                              DEP. 10 for Lot 4 and DEP.
Dep. No.     10         102,621.09   243,289.31      2007                       05/17/2007      05/17/2007   20 for Lot 5
                                                     Statement dated May 01‐31,                              DEP. 11, for Lot 4 and DEP.
Dep. No.     11         111,098.07   240,304.78      2007                        05/30/2007     05/30/2007   21 for Lot 5
                                                     Statement dated June 01‐30,                             DEP. 12 for Lot 4
Dep. No.     12         143,927.48   143,827.48      2007                        06/14/2007     06/14/2007

                                                     Statement dated September                               DEPS. 13 for Lot 4
Dep. No.     13         68,325.53    230,111.15      04‐28, 2007               09/13/2007       09/13/2007   and 23 for Lot 5
                                                     Statement dated November                                DEP. 14 for Lot 4
Dep. No.     14         124,971.88   124,871.88      01‐30, 2007                11/15/2007      11/15/2007

Dep. No.     15         396,426.47   Not Paid

Dep. No.     16         522,927.91   Not Paid

Dep. No.     17         55,536.93    Not Paid



   239.          It is evident from the table that the amounts not paid by the SFD are the following counts:
                  Count No. 15 in the amount of EUR 396,426.47
                  Count No. 16 in the amount of EUR 522,927.91
                  Count No. 17 in the amount of EUR 55,536.93

   240.          Thus, the total amounts not paid by the SFD on the basis of Count Nos. 15, 16, and 17 for Lot 4 is
                 EUR 974,891.31.

                 The amounts paid by BADEA to the Claimant on the basis of the Procurement Contract for Lot 4:

                                                                                   WIRE TRANSFER
LOT 4                  BADEA141         AMOUNT PAID       EVIDENCE142              DATE              PAYMENT DATE
                                                          Statement dated June 01‐
Dep. No.     SP        257,019.12       256,813.70        30, 2005                 01/06/2005        01/06/2005        IA DEP.

                                                          Statement dated February
Dep. No.     1         154,061.03       154,061.03        01‐28, 2006              02/23/2006        02/23/2006        DEP. 1 for Lot 4

                                                                                                                       DEP. 2 for Lot 4
                                                          Statement dated May 01‐                                      and DEPS. 11 and
Dep. No.     ?         52,703.51        262,083.98        31, 2006                05/05/2006         05/05/2006        12 for Lot 5




   141  Exhibit no. 12 attached to the correspondence from the Claimant dated October 25, 2017 entitled “Counts sent by the Claimant
   to the Respondent and the Payment Thereof”.
   142  Exhibit No. 2 attached to the correspondence from the Claimant dated October 25, 2017 entitled “Bank statements of
   Compagnie Sahélienne d’Entreprises proving the bank wire transfers made by BADEA for the Tombo-Gbessia Roadwork, LOT
   4.”


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                                                                                                      DEP. 3 for Lot 4
                                                   Statement dated June 01‐                           and DEP. 13 for
Dep. No.   3         48,561.48      101,353.73     30, 2006                 06/23/2006   06/23/2006   Lot 5

                                                   Statement dated June 01‐
Dep. No.   4         45,754.74      45,754.74      30, 2006                 06/23/2006   06/23/2006   DEP. 4 for Lot 4

                                                   Statement dated August
Dep. No.   5         101,637.96     101,637.96     01‐31, 2006            8/8/2006       8/8/2006     DEP. 5 for Lot 4

                                                                                                      DEPS. 6 for Lot
                                                   Statement dated                                    4 and 16 for Lot
Dep. No.   6         105,709.88     186,205.00     September 01‐30, 2006   09/11/2006    09/11/2006   5


                                                                                                      DEP. 7 for Lot 4
                                                   Statement dated                                    and DEP. 17 for
Dep. No.   7         59,212.51      122,399.44     September 01‐30, 2006   09/21/2006    09/21/2006   Lot 5

                                                                                                      DEPS. 8 and 9
                                                   Statement dated                                    Lot for 4 and 18
Dep. No.   8         53,412.57      195,037.30     December 01‐31, 2006    12/19/2006    12/19/2006   and 19 for Lot 5


                                                                                                      DEPS. 8 and 9
                                                   Statement dated                                    For Lot 4 and 18
Dep. No.   9         32,351.20      195,037.30     December 01‐31, 2006    12/19/2006    12/19/2006   and 19 for Lot 5


                                                                                                      DEP. 10 for Lot 4
                                                   Statement dated                                    and DEPS. 20 and
Dep. No.   10        80,567.61      292,445.88     September 04‐28, 2007   09/04/2007    09/04/2007   21 for Lot 5

                                                   Statement dated
Dep. No.   11        87,222.88      87,222.88      November 01‐30, 2007    11/09/2007    11/09/2007   DEP. 11 for Lot 4

                                                                                                      DEPS. 12 and
                                                                                                      13 for Lot 4 and
                                                   Statement dated                                    22, 23 for Lot
Dep. No.   12        112,997.18     437,069.19     September 04‐28, 2007   09/07/2007    09/07/2007   5



                                                                                                      DEPS. 12 and 13
                                                   Statement dated                                    for Lot 4 and DEPS.
Dep. No.   13        53,642.24      437,069.19     September 04‐28, 2007   09/07/2007    09/07/2007   22 and 23 for Lot 5
Dep. No.   14        98,115.18      Not Paid
Dep. No.   15        311,233.65     Not Paid
Dep. No.   16        410,549.67     Not Paid

Dep. No.   17        43,601.93      Not Paid



    241.       It is evident from the table that the amounts not paid by the BADEA are the following counts:
                Count No. 14 in the amount of EUR 98,115.18
                  Count No. 15 in the amount of EUR 311,233.65
                  Count No. 16 in the amount of EUR 410,549.67
                  Count No. 17 in the amount of EUR 43,601.93




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242.       Thus, the total amounts not paid by BADEA on the basis of Counts Nos. 14, 15, 16, and 17 for Lot
           4 is EUR 863,500.43.

          The amount paid by OPEC to the Claimant on the basis of the Procurement Contract for Lot 4:

LOT 4                 OPEC143 AMOUNT PAID                EVIDENCE144                WIRE TRANSFER VALUE DATE
                                                                                                               IA DEP. and DEPS. 3
Dep. No.     IA   93,718.26    220,871.81   Statement dated October 01‐31, 2005     10/04/2005   10/05/2005    and 4 for Lot 5
                                                                                                               DEP. 1 for Lot 4
                                                                                                               and DEP. 11 for Lot
Dep. No.     1    56,176.10    98,141.16    Statement dated March 01‐31, 2006       03/21/2006   03/24/2006    5
                                                                                                               DEP. 2 for Lot 4
                                                                                                               and DEP. 10 for Lot
Dep. No.     2    19,217.56    53,531.37    Statement dated April 01‐30, 2006       04/24/2006   04/25/2006    5
                                                                                                               DEP. 3 for Lot 4
                                                                                                               and DEP. 13 for Lot
Dep. No.     3    17,707.23    36,957.15    Statement dated June 01‐30, 2006        06/16/2006   06/16/2006    5
Dep. No.     4    16,683.80    16,683.80    Statement dated July 03‐22, 2006        07/04/2006   07/04/2006    DEP. 4 for Lot 4
                                                                                                               DEP. 5 for Lot 4
                                                                                                               and DEP. 14 for Lot
Dep. No.     5    37,060.79    65,627.08    Statement dated August 01‐31, 2006      08/04/2006   08/04/2006    5
                                                                                                               DEP. 6 for Lot 4
                                                                                                               and DEPS. 15 and
Dep. No.     6    38,545.56    101,334.47   Statement dated September 01‐30, 2006 09/25/2006     09/25/2006    16 for Lot 5
                                                                                                               DEP. 7 for Lot 4
                                            Statement dated September 01‐ 30,                                  and DEP. 17 for Lot
Dep. No.     7    21,590.98    44,631.17    2006                                    09/29/2006   09/29/2006    5
                                                                                                               DEPS. 8 and 9
                                                                                                               for Lot 4 and 18
Dep. No.     8    19,476.11    71,117.50    Statement dated January 01‐31, 2007     01/26/2007   01/26/2007    and 18 for Lot 5
                                                                                                               DEPS. 8 and 9 for
                                                                                                               Lot 4 and DEPS. 18
                                                                                                               and 18 [sic] for Lot
Dep. No.     9    11,796.39    71,117.50    Statement dated January 01‐31, 2007     01/26/2007   01/26/2007    5
                                                                                                               DEPS. 10 and 11 for
                                                                                                               Lot 4 and DEPS. 20
Dep. No.     10   29,377.80    138,440.66   Statement dated September 04‐28, 2007 09/13/2007     09/13/2007    and 21 for Lot 5
                                                                                                               DEPS 10 and 11
                                                                                    09/13/2007   09/13/2007    for Lot 4 and DEPS.
Dep. No.     11   31,804.55    138,440.66   Statement dated September 04‐28, 2007                              20 and 21 for Lot 5
                                                                                                               DEP. 12 for Lot 4
                                                                                                               and DEP. 22 for Lot
Dep. No.     12   41,202.77    93,467.30    Statement dated September 04‐28, 2007 09/24/2007     09/24/2007    T5
                                                                                                               DEPS. 13 and 14
                                                                                                               for Lot 4 and DEPS.
Dep. No.     13   19,559.86    190,401.57   Statement dated December 01‐31, 2007 12/10/2007      12/10/2007    23 and 24 for Lot 5
                                                                                                               DEPS. 13 and 14
                                                                                                               for Lot 4 and DEPS.
Dep. No.     14   35,776.26    190,401.57   Statement dated December 01‐31, 2007 12/10/2007      12/10/2007    23 and 24 for Lot 5
Dep. No.     15   113,486.79   113,486.79   Statement dated May 01‐31, 2008         05/08/2008   05/08/2008    DEP. 15 for Lot 4
Dep. No.     16   149,700.93   Not Paid




143 Exhibit No. 12 attached to the correspondence from the Claimant dated October 25, 2017 “Counts sent by the Claimant to the
Respondent and the Payment of Them”.
144 Exhibit No. 4 attached to the correspondence from the Claimant dated October 25, 2017 “Bank Statements of Compagnie
Sahélienne d’Entreprises proving the bank wire transfers made by BADEA for the Tombo-Gbessia Roadwork, Lot 4”.


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Dep. No.       17    15,898.81   Not Paid


243.        It is evident from the table that the amounts not paid by OPEC are the following:
            - Count No. 16 in the amount of EUR 149,700.93
            - Count No. 17 in the amount of EUR 15,898.81

244.        Thus, the total amounts not paid by OPEC on the basis of Counts Nos. 16 and 17 for Lot 4 is EUR
            165,599.74.

245.        Furthermore, it is clear from the tables above that Claimant has provided proof that Counts Nos. 1
            through 13 have been paid and that the amounts of the delinquent receivables denominated in Euros
            are as follows:

                LOT 4
                                            Funder                         Delinquent Receivables Denominated in Euros

                                            KFAED (Counts Nos.
                                            14, 15, 16, and 17)                     1,466,484.25
                                            SFD (Counts Nos. 15, 16, and
                                            17)
                                                                                     974,891.31

                                            BADEA (Counts Nos.
                                            14, 15, 16, and 17)
                                                                                     863,500.43

                                            OPEC (Counts Nos. 16 and
                                                                                     165,599.74
                                            17)



                Total Delinquent Receivables                                        EUR 3,470,475.73



246.        The Tribunal thus notes that the amount of the delinquent receivables claimed by the Claimant after
            verification of the counts and of the bank wire transfers is a sum of EUR 3,470,475.73. 145 That
            amount corresponds to the amount stipulated in the Amendment after deduction of the amount of
            EUR 190,991.11 received from the KFAED on October 14, 2010. In compliance with Article 5 of
            the Amendment, said amount stipulated in the Amendment was to be paid by the funders on specific
            due dates in four quarterly installments in 2010. The payments were not made by the Respondent.

247.        With regard to the amount of the delinquent receivables denominated in Guinean Francs claimed
            by the Claimant in the amount de GNF 96,939,178:146 the Claimant maintained during the Final
            Hearing for Pleadings that the unpaid amount claimed on the basis of Count No. 16 in the amount




145   Transcript of the Hearing held on February 20, 2018, p. 31, paras. 22 through 31: “Mr. Gueye -- the sum is 3,470,475.73.”
146   Transcript of the Hearing held on February 19, 2018, p. 51, paras. 9 through 17.


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          of GNF 40,518,793 is related to construction work that was performed,147 while the amount of the
          delinquent receivable on the basis of Count No. 17 of GNF 56,420,385 is related to the holdback.148

248.     The Claimant, however, has not submitted to the Tribunal the evidence proving the claim for these
         amounts denominated in G uinean Francs. The only documents submitted for the case file are
         Counts Nos. 16 and 17. In examining said counts, the Tribunal was not able, with respect to Count
         No. 16, to identify the nature of the construction work undertaken by the Claimant corresponding
         to the amount claimed of GNF 40,518,793 GNF. With regard to Count No. 17 in the amount of
         G NF 56,420,385 related to the holdback, the Arbitral Tribunal has not been able to verify the
         legitimacy of these amounts by examination of the exhibits submitted by the Claimant.

249.     In addition, the Tribunal refers to the confirmation by the Claimant during the Final Hearing for
          Pleadings reiterated in its written submissions of the fact that the amount of the claim for the
          delinquent receivables involves the amounts noted in the Amendments on the basis of Article 4 of
          Amendment No. 1 regarding Lot 4, which is denominated in Euros. No provisions in the
          Amendment refer to payments that were required to be made in Guinean Francs. Therefore, the
          Tribunal has determined that the Claimant has not proven the legitimacy of its claims denominated
          in Guinean Francs either contractually or by the submission of evidence.

250.     Moreover, the Tribunal refers here to Article 801 of the Guinean Civil Code, which stipulates the
         following:

         “As a general rule, it is the plaintiff, that is, the person who institutes a legal proceeding, who has
         the burden of proof.
         However, if the defendant (or respondent), that is, the person against whom the action is directed,
         has to assert a defense argument against his adversary, it is then to him that the burden of proof
         shall pass.”149

251.     Thus, it is clear from these provisions that the burden of proof is incumbent upon the Plaintiff (or
         Claimant) in Guinean law. Thus, any person who deems that he is the creditor of an obligation must
         provide proof thereof, and any person who deems that he has discharged an obligation must provide
         the proof thereof.




147  Transcript of the Hearing held on February 19, 2018, p. 52, paras. 9 through 10: “Mr. Gu[e]ye: This amount, in Count No. 16,
is construction work. There is construction work. That is construction work that was executed.”
148  Transcript of the Hearing held on February 19, 2018, p. 53, para. 31: “Mr. Gueye: Count No. 17 is mainly composed of the
holdback.”
149  Correspondence from the Claimant dated March 20, 2018 with copies of the Civil Code and Code of Civil Procedure of Guinea
attached.


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 252.       The Claimant contributed proof of the payment of Counts Nos. 1 through 13 for the Procurement
            Contract for Lot 4. It has, moreover, provided proof that the counts mentioned in the table in
            paragraph 238 above in a total amount of EUR 3,470,475.73 have remained unpaid.

 253.       The Claimant has not, however, provided proof of its right to the payment of the sums denominated
            in Guinean Francs claimed on the basis of Counts Nos. 16 and 17.

 254.       Therefore, the Arbitral Tribunal has determined, after verification of the counts and of the
            bank wire transfers, that the Claimant is entitled to receive the amount of the delinquent
            receivables denominated in Euros of a total of EUR 3,470,475.73, and is dismissing the
            Claimant’s claim for the payment of the sum of GNF 96,939,178 related to the amount of the
            delinquent receivables denominated in Guinean Francs on the basis of Counts Nos. 16 and 17
            because of lack of proof.

            2-        With respect to the claims related to the Procurement Contract for Lot 5:

 255.       The Arbitral Tribunal has prepared, with regard to the Procurement Contract for Lot 5, the following
            summary table:

                                                    Procurement Contract for LOT No. 5

 Amount of the Procurement Contract with respect to      Amount in       Sums Claimed with respect to Lot No. Table Summarizing the Arrears
                      Lot No. 5                      Amendment No. 1           5 (interest not included)       (Exhibit No. 6) (interest non
                                                     with respect to Lot                                                 included)
                                                            No. 5
Amount of the procurement GNF 31,396,026,926
contract excluding taxes
Amount in foreign currency GNF 27,258,030,577.20
(86.82%)                    (i.e., approximately EUR
                            13.868.054,083 according
                            to the contractual
                            exchange rate EUR 1 =
                            GNF 1,965.5267)
Amount in GNF (13.18%)     GNF 4,137,996,348.85
Amount of the Taxes        GNF 7,350,463,604
Total Amount Incl. Taxes    GNF 38,746,490,530       EUR 3,897,91.11
Portion in foreign currency GNF 33,639,703,078.10                      Principal amounts EUR 3,897,891.11    Principal amounts EUR
(86.82%)                    (i.e., approximately EUR                   of delinquent                         of delinquent      3,897,891
                            17,114.854.30 according                    receivables/portion                   receivables/portio
                            to the contractual                         denominated in                        n denominated in (amount of
                            exchange rate EUR 1 =                      foreign currency                      foreign currency delinquencie
                            GNF 1,965.5267)                                                                                     s beginning
                                                                                                                                May 31,
                                                                                                                                2007)




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Portion in GNF (13.18%)     GNF 5,106,787,451.85                  Principal amounts GNF 112,780,322   Principal amounts GNF
                            (i.e., approximately EUR              of delinquent                       of delinquent      112,780,617
                            2,598,177.60 according                receivables/portion                 receivables/portio (Amounts of
                            to the contractual                    in GNF                              n in GNF           delinquencie
                            exchange rate EUR 1 =                                                                        s beginning
                            GNF 1,965.5267)                                                                              July 31,
                                                                                                                         2005)
Total in foreign currency (for Approximately EUR
information purposes and 19,713,031.90
according to the contractual
exchange rate EUR 1 = GNF
1,965.5267)


 256.       The Arbitral Tribunal notes that the unpaid amount claimed in Euros by the Claimant on the basis
            of delinquent receivables for the Procurement Contract for Lot 5 is the amount stipulated in
            Amendment No. 1 to said Procurement Contract and is reflected in the unpaid Counts Nos. 24, 25,
            26, and 27 distributed among the Funders in the following manner: 150
             EUR 150,765.46 for OPEC.
             EUR 121,403.69 for BADEA.
             [EUR] 1,734,651.60 for the KFAED
             [EUR] 991,070.47 for the SFD.

 257.       Article 1 of the Amendment to the Procurement Contract for Lot 5 151 stipulates that “the purpose
            of this amendment is to assume responsibility for the payment of the costs related to the factors
            that generated the funding gap for Lot 5 for the Tombo-Gbessia project (revision of the prices,
            exceeding of the contractually stipulated time limit, depreciation of the US dollar with respect to
            the Euro)” and that Article 2 stipulates that “the General [Administrative] Terms and Conditions
            of the Procurement Contract shall remain fully applicable except the modification stipulated in the
            Special [Administrative] Terms and Conditions of the Contract”.

 258.       The amount indicated in the Amendment is stipulated in Article 4 of the Amendment to the
            Procurement Contract for Lot 5,152 which stipulates the following: “the total amount indicated in
            Amendment No. 1 resulting from the analysis of the funding gap is: Three Million Eight Hundred
            Ninety-Seven Thousand Eight Hundred Ninety-One Euros and Eleven Cents (EUR 3,897,891.11).”

 259.       Article 5 of the aforementioned Amendment stipulates that: “[T]he terms and conditions of payment
            shall be as follows:
             SFD: EUR 383,854.57
             OPEC: EUR 104,407.49




 150 Transcript of the Hearing held on February 20, 2018, p. 32, paras. 37 through 43 and p. 33, paras. 1 through 4 “Mr. Ndiaye :
 With respect to Lot No. 5, the amount of the delinquent receivables is 3,897,891.22 and the [amount in] the amendment is
 3,897,891.11 ... “150,765.46 for OPEC, 1,[0]21,403.69 for BADEA, 1,734,651.60 for the Kuwaiti Fund, for the KFAED, and
 991,070.47 for the Saudi Fund”.
 151 Exhibit No. 14 submitted in the correspondence from the Claimant dated October 25, 2017; it is also Exhibit No. 4 of the
 Request for Arbitration and Exhibit No. D4 of the Statement of Claim.
 152 Exhibit no. 14 submitted in the correspondence from the Claimant dated October 25, 2017; it is also Exhibit No. 4 of the
 Request for Arbitration and Exhibit No. D4 of the Statement of Claim.


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              Guinean NDB: EUR 3,409,629.06, in accordance with the following payment schedule:
                  •    First quarter of 2010: EUR 852,407.26
                  •    Second quarter of 2010: EUR 852,407.26
                  •    Third quarter of 2010: EUR 852,407.26
                  •    Fourth quarter of 2010: EUR 852,407.26”

260.     Article 6 of said Amendment stipulates that “[T]he prices shall be firm and not subject to revision.”

261.     Amendment No. 1 of the Procurement Contract for Lot No. 5 is valid and enforceable since it was
         signed by the Parties involved and approved by the Guinean Minister of the Economy and Finance
         as is evident from the signatures on the Amendment and the word “approved” as well as from the
         stamp.153

262.     The Arbitral Tribunal notes that the Claimant asserts that the delinquent amount claimed in Guinean
         Francs GNF 112,780,322 is related to the holdback in Count No. 27.154

263.     The Arbitral Tribunal, during the Final Hearing for Pleadings, deemed it necessary to conduct a
         verification of the amounts paid and not paid by the funders on the basis of Counts Nos. 1 through
         27. To that end, the Claimant and the Chief Executive Officer and Chief Financial Officer de la
         CSE established, for the Procurement Contract for Lot 5, the connection between each count
         (Exhibit no. 5, 11 and 12) and the proof of the bank wire transfer received (Exhibit no. 2, 3, 4, 7,
         8, 9 and 10). It proves to be the case that the unpaid counts for Lot 5 are Counts Nos. 24, 25, 26,
         and 27 in an amount of EUR 3,897,891.12.155

264.     The Arbitral Tribunal has verified each figure related to each count and verified the transfers that
         were made by the funders as well as the receipt by the Claimant in its Account No. 17722–00001
         at Crédit Commercial de France bank (CCF) as stipulated in Article 4 of the Procurement Contract
         for Lot 5.156




153   Article 10 of Amendment No. l of the Procurement Contract for Lot 5: “this amendment shall be valid and enforceable only
after it has been signed by the parties involved and has been approved by the Minister of the Economy and Finance.”.
154   Transcript of the Hearing held on February 19, 2018, p. 47, paras. 5 through 7: “Mr. Gueye: this amount, which corresponds
to the share of the Guinean Government in Count 27, has not been paid, and it corresponds to the holdback”; p. 50, paras. 4 through
10.
155   Transcript of the Hearing held on February 20, 2018, p. 32, paras. 38 through 43, and p. 33, para. 1 through 4: [W]ith respect
to Lot No. 5, the amount of the delinquent receivables is 3,897,891.22 and the [amount in] the amendment is 3,897,891.11;
Transcript of the hearing held on February 20, 2018, p. 31, paras. 22 through 31: “Mr. Gueye -- the sum is 3,470,475.73.”
156   Bank wire transfers made by the SFD with respect to Lot No. 5: Transcript of the Hearing held on February 20, 2018, p. 8,
paras. 24 et seq.; bank wire transfers made by BADEA with respect to Lot No. 5: Transcript of the Hearing held on February 20,
2018, p. 13 paras. 14 et seq. and transcript of the Hearing held on February 19, 2018, p. 17 para. 37; bank wire transfers made by
KFAED with respect to Lot No. 5: Transcript of the Hearing held on February 20, 2018, p. 17, paras. 9 et seq.; bank wire transfers
made by OPEC with respect to Lot No. 5; Transcript of the Hearing held on February 19, 2018, p. 37, paras. 33 et seq.


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265.       The Arbitral Tribunal has prepared the result of this exercise in the tables below, reflecting the
           amounts paid and unpaid by each of the Funders with respect to each of the counts.157

          The amounts paid by OPEC to the Claimant with respect to Procurement Contract for Lot 5:

                                                                                          WIRE
                                                                                        TRANSFER    DATE DE
LOTS                OPEC158           AMOUNT                EVIDENCE159                   DATE      VALUE

Dep. No.    IA160        174,908.08       174,908.08 Statement dated March 01-31,     03/30/2005    03/31/2005
                                                     2005
                                                     Statement dated December 01-
Dep. No.    1             31,232.91        31,208.99 31, 2004                         12/27/2004    12/23/2004
                                                     Statement dated December 01-
Dep. No.    2             57,392.88        57,392.88 31, 2005                         01/04/2005    01/05/2005
                                                     Statement dated October 01-31,                                  At the same time
Dep. No.    3             65,436.61       220,871.81 2005                             10/04/2005    10/05/2005       DEP. 4 for Lot 5
                                                     Statement dated October 01-31,                                  At the same time
Dep. No.    4             61,716.94       220,871.81 2005                             10/04/2005    10/05/2005       DEP. 3 for Lot 5
                                                                                                                     At the same time
                                                     Statement dated December 01-                                    DEP. No. 5 for
Dep. No.    5            107,279.19       312,995.35 31, 2005                     12/07/2005        12/09/2005       Lot 5 and No. 7
                                                                                                                     At the same time
                                                     Statement dated December 01-                                    DEP. No. 5 for
Dep. No.    6             96,684.21       312,995.35 31, 2005                     12/07/2005        12/09/2005       Lot 5 and No. 7
                                                                                                                     At the same time
                                                     Statement dated December 01-                                    DEP. No. 5 for
Dep. No.    7             55,087.98       312,995.35 31, 2005                     12/07/2005        12/09/2005       Lot 5 and No. 7
                                                                                                                     At the same time
                                                     Statement dated December 01-                                    DEP. No. 5 for
Dep. No.    8             53,943.97       312,995.35 31, 2005                         12/07/2005    12/09/2005       Lot 5 and No. 7
                                                     Statement dated December 01-
Dep. No.    9             42,721.86        42,721.86 31, 2005                         12/27/2005    12/28/2005
                                                     Statement dated April 01-30,                                    At the same time
Dep. No.    10            34,313.81        53,531.37 2006                             04/24/2006    04/25/2006       DEP. 2 for Lot 4
                                                     Statement dated March 01-31,                                    At the same time
Dep. No.    11            41,965.06        98,141.16 2006                             03/23/2006    03/24/2006       DEP. 1 for Lot 4
                                                     Statement dated April 01-30,
Dep. No.    12            34,382.47        34,382.47 2006                             04/27/2006    04/28/2006
                                                     Statement dated June 01-30,                                     At the same time
Dep. No.    13            19,249.02        36,957.15 2006                             06/16/2006    06/16/2006       DEP. 3 for Lot 4
                                                     Statement dated August 01-30,                                   At the same time
Dep. No.    14            28,566.29        65,627.08 2006                             08/04/2006    08/04/2006       DEP. 5 for Lot 4
                                                                                                                     At the same time
                                                                                                                     DEP. 16 for Lot 4
                                                     Statement dated September 01-                                   and DEP. 6 for
Dep. No.    15            33,437.36       101,334.47 31, 2006                      09/25/2006       09/25/2006       Lot 4




157   It must be noted that the minimal difference that exists between the amounts claimed and the transfers is explained by the
bank fees caused by the bank wire transfers. Cf., Transcript of the Hearing held on February 19, 2018, p. 34, para. 10: “It happens,
on the other hand, that there are fees caused by the bank wire transfers, which have also been taken into account”; Transcript of
the Hearing held on February 19, 2018, p. 34, paras. 32 through 43.
153 Exhibit No. 12 attached to the correspondence from the Claimant dated October 25, 2017 entitled “Counts Sent by the Claimant

to the Respondent and the Payment Thereof”.
159  Exhibit No. 10 attached to the correspondence from the Claimant dated October 25, 2017 entitled “Bank statements of
Compagnie Sahélienne d’Entreprises proving the bank wire transfers made by OPEC for the Tombo-Gbessia Roadwork, LOT 5”.
160  Exhibit No. 12 attached to the correspondence from the Claimant dated October 25, 2017: correspondence dated 09/19/2003
from CSE to the Guinean Ministry of Public Works.


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                                                                                                           At the same time
                                                                                                           DEP. 16 for Lot
                                                  Statement dated September 01-                            4 and DEP. 6 for
Dep. No.   16         29,351.55        101,334.47 30, 2006                      09/29/2006    09/29/2006   Lot 4
                                                  Statement dated September 01-                            At the same time
Dep. No.   17         23,040.19         44,631.17 30, 2006                      09/29/2006    09/29/2006   DEP. 7 for Lot 4
                                                                                                           At the same time
                                                                                                           DEP. 19 for Lot
                                                  Statement dated January 01-30,                           5 and DEPS. 8
Dep. No.   18         29,055.63         71,117.50 2007                           01/26/2007   01/26/2007   and 9 for Lot 4
                                                                                                           At the same time
                                                                                                           DEP. 19 for Lot
                                                  Statement dated January 01-30,                           5 and DEPS. 8
Dep. No.   19         10,789.37         71,117.50 2007                           01/26/2007   01/26/2007   and 9 for Lot 4
                                                                                                           At the same time
                                                                                                           DEP. 21 for Lot
                                                  Statement dated September 04-                            5 and DEPS. 20
Dep. No.   20         40,269.72        138,440.66 29, 2007                      09/13/2007    09/13/2007   and 21 for Lot 4
                                                                                                           At the same time
                                                                                                           DEP. 21 for Lot
                                                  Statement dated September 04-                            5 and DEPS. 20
Dep. No.   21         36,988.59        138,440.66 29, 2007                      09/13/2007    09/13/2007   and 21 for Lot 4
                                                                                                           At the same time
                                                  Statement dated September 04-                            DEP. 12 for Lot
Dep. No.   22         52,264.63         93,467.30 29, 2007                      09/24/2007    09/24/2007   4
                                                                                                           At the same time
                                                  Statement dated December 01-                             DEP. 24 for Lot
Dep. No.   23         41,231.29        190,401.57 31, 2007                     12/10/2007     12/10/2007   5
                                                                                                           At the same time
                                                  Statement dated December 01-                             DEP. 24 for Lot
Dep. No.   24         88,721.72        190,401.57 31, 2007                     12/10/2007     12/10/2007   5
                                                                                                           Partial payment
                                                                                                           DEP. 25 for Lot
                                                  Statement dated February 01-                             5 - Balance EUR
Dep. No.   25        211,432.84        132,952.72 29, 2008                       02/29/2008   02/29/2008   78,480.12
Dep. No.   26         40,504.76 Not Paid
Dep. No.   27         31,780.58 Not Paid



266.       It is evident from the table that the amounts not paid by OPEC are the following counts:
            Balance of Count No. 25 in the amount of EUR 78,480.12 (211,432.84 - 132,954.72).
            Count No. 26 in the amount of EUR 40,504.76.
            Count No. 27 in the amount of EUR 31,780.58.

267.       Thus, the total amount not paid by OPEC on the basis of Counts Nos. 26 and 27 for Lot 5 is EUR
           150,765.46.




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          The amounts paid by the SFD to the Claimant on the basis of the Procurement Contract for Lot 5:

                                                                                        WIRE
                                                                                      TRANSFER       VALUE
  LOT 5               SFD161      AMOUNT                  EVIDENCE 162                  DATE         DATE


                                                                                                                IA and DEP. 1 for
Dep. No.    IA     610,980.27   719,981.54     Statement dated 01 to 31/10/2004     10/20/2004     10/21/2004   Lot 5
                                                                                                                IA and DEP. 1 for
Dep. No.    1      109,101.27   719,981.54     Statement dated 01 to 31/10/2004     10/20/2004     10/21/2004   Lot 5
Dep. No.    2      200,481.97   200,358.05     Statement dated 01 to 31/12/2004     12/16/2004     12/16/2004   Payment DEP. 2

Dep. No.    3      228,579.92   228,456.00     Statement dated February 01-28, 2005 02/24/2005     02/24/2005   Payment DEP. 3
Dep. No.    4      215,586.58   215,462.66     Statement dated April 01-30, 2005    04/07/2005     04/07/2005   Payment v 4
Dep. No.    5      374,742.38   374,718.46     Statement dated July 01-31, 2005     07/29/2005     07/29/2005   DEP. 5 payment

Dep. No.    6      337,732.51   337,708.59     Statement dated August 01-31, 2005   08/04/2005     08/04/2005   Payment DEP. 6
                                               Statement dated September 01-30,
Dep. No.    7      192,430.62   192,430.62     2005                                 09/15/2005     09/15/2005   Payment DEP. 7
                                               Statement dated September 01-30,
Dep. No.    8      188,434.42   188,434.42     2005                                 09/29/2005     09/29/2005   Payment DEP. 8
                                               Statement dated November 01-30,
Dep. No.    9      149,233.90   149,233.90     2005                                 11/24/2005     11/24/2005   Payment DEP. 9
                                               Statement dated December 01-31,
Dep. No.    10     119,863.32   119,863.32     2005                                 12/22/2005     12/22/2005   DEP. 10
                                                                                                                DEPS. 11 and 12
Dep. No.    11     146,590.27   266,693.40     Statement dated June 01-30, 2006     06/29/2006     06/29/2006   for Lot 5
                                                                                                                DEPS. 11 and 12
Dep. No.    12     120,103.13   128,983.89     Statement dated June 01-30, 2006     06/29/2006     06/29/2006   for Lot 5
                                               Statement from 03/07/2006 to
Dep. No.    13     67,242.88    67,242.88      21/11/2006                           07/20/2006     07/20/2006   DEP. 13
                                                                                                                At the same time
                                                                                                                DEP. 16 for Lot 5
                                                                                                                and DEPS. 18 and
Dep. No.    14     99,786.35    341,500.31     Statement dated May 01-31, 2007      05/17/2007     05/17/2007   19 for Lot 15

Dep. No.    15     116,801.73   116,801.73     Statement dated August 01-31, 2006   08/03/2006     08/03/2006   DEP. 15
                                                                                                                At the same time
                                                                                                                DEP. 16 for Lot 5
                                                                                                                and DEPS. 18 and
Dep. No.    16     102,529.39   341,500.31     Statement dated May 01-31, 2007      05/17/2007     05/17/2007   19 for Lot 15
                                               Statement dated November 01-30,
Dep. No.    17     80,482.85    80,482.85      2006                                 11/30/2006     11/30/2006   DEP. 17
                                                                                                                At the same time
                                                                                                                DEP. 16 for Lot 5
                                                                                                                and DEPS. 18 and
Dep. No.    18     101,495.69   341,500.31     Statement dated May 01-31, 2007      05/17/2007     05/17/2007   19 for Lot 15
                                                                                                                At the same time
                                                                                                                DEP. 16 for Lot 5
                                                                                                                and DEPS. 18 and
Dep. No.    19     37,688.88    341,500.31     Statement dated May 01-31, 2007      05/17/2007     05/17/2007   19 for Lot 15

Dep. No.    20     140,668.22   140,668.22     Statement dated May 01-31, 2007      05/17/2007     05/17/2007   DEP. 20 for Lot 5



161  Exhibit No. 12 attached to the correspondence from the Claimant dated October 25, 2017 entitled “Counts sent by the Claimant
to the Respondent and the Payment Thereof”.
162  Exhibit No. 9 attached to the correspondence from the Claimant dated October 25, 2017 entitled “Bank statements of
Compagnie Sahélienne d’Entreprises proving the bank wire transfers made by the FSAOUD for the Tombo-Gbessia Roadwork,
LOT 5”.


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                                                                                                                         DP21 Lot 5 and
Dep. No.          21 129,206.71      240,304.78      Statement dated May 01-31, 2007         05/30/2007    05/30/2007    DP 11 Lot 4
Dep. No.          22 182,567.89      182,467.89      Statement dated June 01-30, 2007        06/28/2007    06/28/2007    DEP. 22
                                                                                                                         DP 23 Lot 5 and
                                                                                                                         DP
Dep. No.          23 144,027.10      230,111.15      Statement dated September 04-28, 2007 09/13/2007      09/13/2007    13 of the Lot 4

Dep. No.          24 309,918.34      309,818.34      Statement dated November 01-30, 2007 11/22/2007       11/22/2007    DEP. 24 for Lot 5
Dep. No.          25 738,566.78                      Statement dated February 01-28, 2005
Dep. No.          26 141,489.23                      Statement dated February 01-28, 2005
Dep. No.          27 111,014.36                      Statement dated February 01-28, 2005



268.        It is evident from the table that the amounts not paid by the SFD are the following counts:
             Count No. 25 in the amount of EUR 738,566.78
             Count No. 26 in the amount of EUR 141,489.23
             Count No. 27 in the amount of EUR 111,014.36

269.        Thus, the total amounts unpaid by the SFD on the basis of Counts Nos. 25, 26, and 27 for Lot 5 is
            EUR 991,070.37.

            The amounts paid by BADEA to the Claimant on the basis of the Procurement Contract for Lot 5:

                                                                                                 WIRE
                                          AMOUNT                                               TRANSFER       VALUE
          LOT 5           BADEA163         PAID                    EVIDENCE164                   DATE         DATE

                                                                                                                          IA DEP.
                                                       Statement dated 28/11/2003 to
      Dep. No.    IA     479,679.41     479,679.41     31/12/2003                             12/19/2003    12/23/2003
                                                                                                                          DEP. 1
      Dep. No.    I      85,655.20      85,655.20      Statement dated April 01-30, 2004      04/06/2004    04/08/2004
                                                                                                                          DEPS. 2, 3, and
      Dep. No.    2      157,398.00     506,112.26     Statement dated April 01-30, 2005      04/26/2005    04/26/2005    4 for Lot 5
                                                                                                                          DEPS. 2, 3, and
      Dep. No.    3      179,457.65     506,112.26     Statement dated April 01-30, 2005      04/26/2005    04/26/2005    4 for Lot 5
                                                                                                                          DEPS. 2, 3, and
                                                                                                                          4 for Lot 5
      Dep. No.    4      169,256.61     506,112.26     Statement dated April 01-30, 2005      04/26/2005    04/26/2005
                                                                                                                          DEP. 5
      Dep. No.    5      294,209.51     294,209.51     Statement dated August 01-31, 2005     08/04/2005    08/04/2005
                                                                                                                          DEP. 6
      Dep. No.    6      265,153.13     265,153.13     Statement dated August 01-31, 2005     08/18/2005    08/18/2005
      Dep. No.    7      151,076.91     151,076.91     Statement dated October 01-31, 2005    10/05/2005    10/05/2005    DEP. 7




163  Exhibit no. 12 attached to the correspondence from the Claimant dated October 25, 2017 entitled “Counts sent by the Claimant
to the Respondent and the Payment Thereof”.
164  Exhibit no. 7 attached to the correspondence from the Claimant dated October 25, 2017 entitled “Bank statements of
Compagnie Sahélienne d’Entreprises proving the bank wire transfers made by BADEA for the Tombo-Gbessia Roadwork, LOT
5”.


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                                                                                                                DEP. 8
 Dep. No.       8    147,939.49   147,939.49   Statement dated October 01-31, 2005    10/25/2005   10/25/2005
                                                                                                                DEP. 9
 Dep. No.       9    117,163.25   117,163.25   Statement dated November 01-30, 2005 11/28/2005     11/28/2005
                                                                                                                DEP. 10
 Dep. No.       10   94,104.46    94,104.46    Statement dated January 01-31, 2006    01/05/2006   01/05/2006
                                                                                                                DEPS. 11 and 12
                                                                                                                for Lot 5 and DEP.
 Dep. No.       11   115,087.74   262,083.98   Statement dated May 01-31, 2006        05/05/2006   05/05/2006   2 for Lot 4
                                                                                                                DEPS. 11 and 12 for
                                                                                                                Lot 5 and DEP. 2
 Dep. No.       12   94,292.73    262,083.98   Statement dated May 01-31, 2006        05/05/2006   05/05/2006   for Lot 4
                                                                                                                DEP. 13 for Lot
                                                                                                                [sic] AND
 Dep. No.       13   52,792.25    101,353.73   Statement dated June 01-30, 2006       06/23/2006   06/23/2006   DEP. 3 for Lot 4

 Dep. No.       14   78,342.06    78,342.06    Statement dated August 01-31, 2006     08/01/2006   08/01/2006   DEP. 14 for Lot 5
 Dep. No.       15   91,700.81    91,700.81    Statement dated August 01-31, 2006     08/15/2006   08/15/2006   DEP. 15 for Lot 5
                                                                                                                DEP. 16 for Lot 5
 Dep. No.       16   80,495.62    186,205.50   Statement dated September 01-30, 2006 09/11/2006    09/11/2006   AND 6 for Lot 4
                                                                                                                DEP. 17 for Lot 5
                                                                                                                AND THE DEP. 7
 Dep. No.       17   63,186.93    122,399.44   Statement dated September 01-30, 2006 09/21/2006    09/21/2006   for Lot 4
                                                                                                                DEPS. 18 and 19
                                               Statement dated December 01-30,                                  for Lot 5 and DEPS.
 Dep. No.       18   79,684.06    195,037.30   2006                                   12/19/2006   12/19/2006   8 and 9 for Lot 4
                                                                                                                DEPS. 18 and 19
                                                                                                                for Lot 5 and DEPS.
 Dep. No.       19   29,589.47    195,037.30   Statement dated December 01-30, 2006   12/19/2006   12/19/2006   8 and 9 for LOT 4

                                                                                                                DEPS. 20 and 21
                                                                                                                for Lot 5 and 10 for
 Dep. No.       20   110,438.34   292,445.88   Statement dated September 04-28, 2007 09/04/2007    09/04/2007   Lot 4
                                                                                                                DEPS. 20 and 21
                                                                                                                for Lot 5 and 10 for
 Dep. No.       21   101,439.93   292,445.88   Statement dated September 04-28, 2007 09/04/2007    09/04/2007   Lot 4
                                                                                                                DEPS. 22 and 23
                                                                                                                for Lot 5 and DEPS.
 Dep. No.       22   143,333.69   437,069.19   Statement dated September 04-28, 2007 09/07/2007    09/07/2007   [sic] for Lot 4
                                                                                                                DEPS. 22 and 23
                                                                                                                Lot 5 and DEPS.
 Dep. No.       23   113,075.10   437,069.19   Statement dated September 04-28, 2007 09/07/2007    09/07/2007   [sic] for Lot 4
 Dep. No.       24   243,316.28   Not Paid

 Dep. No.       25   579,847.33   Not Paid
 Dep. No.       26   111,082.92   Not Paid

 Dep. No.       27   87,157.16    Not Paid



270.        It is evident from the table that the amounts not paid by the BADEA are the following counts:
             Count No. 24 in the amount of EUR 243,316.28
             Count No. 25 in the amount of EUR 579,847.33
             Count No. 26 in the amount of EUR 111,082.92
             Count No. 27 in the amount of EUR 87,157.16




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271.          Thus, the total amount not paid by BADEA on the basis of Counts Nos. 24, 25, 26, and 27 for Lot
              5 is EUR 1,021,403.69.

             The amount paid by the KFAED to the Claimant on the basis of the Procurement Contract for Lot
              5:

                                                                                       BANK WIRE
                                    AMOUNT                                             TRANSFER       VALUE
      LOT 5             KFAED165     PAID                   EVIDENCE166                  DATE         DATE

                                                                                                                 IA DEP.
                                                Statement dated 10/31/2003 to
Dep. No.       SP     814,640.36   814,540.36   11/28/2003                             11/25/2003   11/27/2003
                                                                                                                 DEP. 1 for Lot 5
Dep. No.       1      145,468.37   145,344.45   Statement dated September 01-30, 2004 09/02/2004    09/01/2004
                                                                                                                 DEP. 2 for Lot 5
Dep. No.       2      267,309.29   267,185.37   Statement dated December 01-31, 2004   12/20/2004   12/20/2004
                                                                                                                 DEP. 3 for Lot 5
Dep. No.       3      304,773.23   304,649.31   Statement dated March 01-31, 2005      03/03/2005   03/03/2005
                                                                                                                 DEP. 4 for Lot 5
Dep. No.       4      287,448.78   287,324.86   Statement dated April 01-30, 2005      04/18/2005   04/18/2005
                                                                                                                 DEP. 5
Dep. No.       5      499,656.51   499,556.51   Statement dated September 01-30, 2005 09/19/2005    09/19/2005
                                                                                                                 Amount of
                                                                                                                 274,774.73 and
                                                                                                                 Balance of
                                                Statement dated September 01- [sic],                             175,425 paid on
Dep. No.       6      450,310.01   450,310.01   2005                                   09/28/2005   09/28/2005   03/25
                                                                                                                 Amount of
                                                                                                                 195,983.09.73 and
                                                                                                                 Balance of 60,491
Dep. No.       7      256,574.17   256,574.17   Statement dated September 01-30, 2005 09/28/2005    09/28/2005   paid on 03/25
                                                                                                                 Amount of
                                                                                                                 189,150.46 and
                                                                                                                 Balance of 61,995
Dep. No.       8      251,245.89   251,245.89   Statement dated October 01-31, 2005    10/20/2005   10/20/2005   paid on 03/25
                                                                                                                 Amount of
                                                                                                                 149,738.34 and
Dep. No.       9      198,978.54   198,978.54   Statement dated December 01-31, 2005   12/22/2005   12/22/2005   Balance of 49,140
                                                                                                                 DEPS. 10 and 11
Dep. No.       10     159,817.76   355,171.46   Statement dated March 01-31, 2006      03/15/2006   03/15/2006   for Lot 5
                                                                                                                 DP 10 and 11
                                                                                                                 for Lot 5
Dep. No.       11     195,453.70   355,171.46   Statement dated March 01-31, 2006      03/15/2006   03/15/2006
Dep. No.       12     160,137.51   160,037.51   Statement dated April 01-30, 2006      04/20/2006   04/20/2006   DEP. 12
                                                                                                                 DEPS. 13 14 15
                                                                                                                 16 and 17 for Lot 5
Dep. No.       13     89,657.17    622,357.59   Statement dated January 01-31, 2007    01/29/2007   01/29/2007
                                                                                                                 DEPS. 13 14 15
Dep. No.       14     133,048.46   622,357.59   Statement dated January 01-31, 2007    01/29/2007   01/29/2007   16 and 17 for Lot 5




165 Exhibit No. 12 attached to the correspondence from the Claimant dated October 25, 2017 entitled “Counts sent by the Claimant
to the Respondent and the Payment Thereof”.
166 Exhibit No. 8 attached to the correspondence from the Claimant dated October 25, 2017 entitled “Bank statements of Compagnie

Sahélienne d’Entreprises proving the bank wire transfers made by the KFAED for the Tombo-Gbessia Roadwork, LOT 5”.


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                                                                                                               DEPS. 13 14 15
 Dep. No.     15    155,735.64   622,357.59   Statement dated January 01-31, 2007   01/29/2007    01/29/2007   16 and 17 for Lot 5
                                                                                                               DEPS. 13 14 15
 Dep. No.     16    136,705.85   622,357.59   Statement dated January 01-31, 2007   01/29/2007    01/29/2007   16 and 17 for Lot 5
                                                                                                               DEPS. 13 14 15
 Dep. No.     17    107,310.47   622,357.59   Statement dated January 01-31, 2007   01/29/2007    01/29/2007   16 and 17 for Lot 5
                                                                                                               DEPS. 18 and 19 for
                                                                                                               Lot 5 and DEPS. 8
 Dep. No.     18    135,327.58   331,132.18   Statement dated January 01-31, 2007   01/17/2007    01/17/2007   and 9 for Lot 4
                                                                                                               DEPS. 18 and 19 for
                                                                                                               Lot 5 and DEPS. 8
 Dep. No.     19    50,251.84    331,132.18   Statement dated January 01-31, 2007   01/17/2007    01/17/2007   and 9 for Lot 4

 Dep. No.     20    187,557.62   187,457.62   Statement dated January 01-31, 2008   01/30/2008    01/30/2008   DEP. 20 for Lot 5
                                                                                                               DEPS. 21, 22 and 23
                                              Statement dated 04/09/2007 to                                    for Lot 5 and 11, 12
 Dep. No.     21    172,275.61   1,062,581.74 28/09/2007                            09/20/2007    09/20/2007   and 13 for Lot 4
                                                                                                               DEPS. 21, 22 and 23
                                              Statement dated 04/09/2007 to                                    for Lot 5 and 11, 12
 Dep. No.     22    243,423.86   1,062,581.74 28/09/2007                            09/20/2007    09/20/2007   and 13 for Lot 4
                                                                                                               DEPS. 21, 22 and 23
                                              Statement dated 04/09/2007 to                                    for Lot 5 and 11, 12
 Dep. No.     23    192,036.14   1,062,581.74 28/09/2007                            09/20/2007    09/20/2007   and 13 for Lot 4
 Dep. No.     24    413,224.45   Not Paid
 Dep. No.     25    984,755.70   Not Paid
 Dep. No.     26    188,652.31   Not Paid
 Dep. No.     27    148,019.14   Not Paid


272.        It is evident from the table that the amounts not paid by the KFAED are the following counts:
             Count No. 24 in the amount of EUR 413,224.45.
             Count No. 25 in the amount of EUR 984,755.70.
             Count No. 26 in the amount of EUR 188,652.31.
             Count No. 27 in the amount of EUR 148,019.14.

273.        Thus, the total amount not paid the KFAED on the basis of Counts Nos. 24, 25, 26, and 27 for Lot
            5 is EUR 1,734,651.60.

274.        Furthermore, it is clear from the table above that the Claimant has provided proof that Counts Nos.
            1 through 23 have been paid and that the amounts of the delinquent receivables in Euros are the
            following:

            LOT 5
                                                           Funder                    Delinquent Receivables Denominated in Euros
                                                           KFAED (Counts Nos. 24,
                                                           25, 26, and 27)         1,734,651.60
                                                           FSD (Counts Nos. 25, 26
                                                           and 27)
                                                                                     991,070.37




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                                                       BADEA (Counts Nos. 24,
                                                                              1,021,403.69
                                                       25, 26, and 27)

                                                       OPEC (Counts Nos. 25,
                                                       26, and 27)              150,763.13


         Total Delinquent Receivables                                      EUR 3,897,891.12




275.     The Tribunal thus notes that the amount of the delinquent receivables denominated in Euros claimed
         by the Claimant after verification of the counts and of the bank wire transfers is a total amount of
         EUR 3,897,891.12. Said amount corresponds to the amount stipulated in Amendment No. 1 for
         Lot 5. In accordance with Article 5 of Amendment No. l for Lot 5, the amount stipulated in the
         Amendment was to be paid by the funders in four quarterly installments in 2010. The payments
         were not made by the Respondent.

276.     With regard to the amount of the delinquent receivables denominated in Guinean Francs claimed
         by the Claimant in the amount of G NF 112,780,322 on the basis of Count No. 27, which
         corresponds, according to its allegations, to the holdback,167 the Arbitral Tribunal finds that the
         Claimant has not submitted the evidence that proves the claim for said amount denominated in
         Guinean Francs. The only document submitted for the case file is Count No. 27. An examination
         of said Count did not allow the Arbitral Tribunal to verify the legitimacy of said amount.

277.     In addition, the Tribunal refers to the confirmation by the Claimant during the Final Hearing for
          Pleadings and reiterated in its written submissions that the amount of the claim for delinquent
          receivables involves the amount indicated in the Amendment on the basis of Article 4 of
          Amendment No. l regarding Lot 5, which is denominated in euros. No provisions in the
          Amendment refer to payments that were required to be made in Guinean Francs. Therefore, the
          Tribunal has determined that the Claimant has not proven the legitimacy of its claims denominated
          in Guinean Francs either contractually or by the submission of evidence.

278.     Moreover, the Tribunal refers here to Article 801 of the Guinean Civil Code, which stipulates the
         following:
         “As a general rule, it is the plaintiff, that is, the person who institutes a legal proceeding, who has
         the burden of proof.




167Transcript of the Hearing held on February 19, 2018, p. 47, paras. 5 through 7: “Mr. Gueye: this amount, which corresponds to
the share of the Guinean Government in Count No. 27, has not been paid, and it corresponds to the holdback”; p. 50, paras. 4
through 10.


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         However, if the defendant (or respondent), that is, the person against whom the action is directed,
         has to assert a defense argument against his adversary, it is then to him that the burden of proof
         shall pass. 168

279.     It is clear from these provisions that the burden of proof is incumbent upon the Plaintiff (or
         Claimant) in Guinean law. Thus, any person who deems that he is the creditor of an obligation must
         provide proof thereof, and any person who deems that he has discharged an obligation must provide
         the proof thereof.

280.     The Claimant has provided proof of the payment in Euros of Counts Nos. 1 through 23 of the
         Procurement Contract for Lot 5. It has, moreover, provided proof that the counts mentioned in the
         table in paragraph 263 above have remained unpaid.

281.     The Claimant has not, however, provided proof of its right to payment of the sums denominated in
         Guinean Francs claimed on the basis of Count No. 27.

282.     Therefore, the Arbitral Tribunal determines, after verification of the counts and of the bank
         wire transfers, that the Claimant is entitled to receive the payment of the amount of the
         delinquent receivables denominated in Euros for the Procurement Contract for Lot 5 in the
         amount of EUR 3,897,891.12, and dismisses the Claimant’s claim for the sum of GN F
         112,780,322 related to the amount of the delinquent receivables denominated in Guinean
         Francs on the basis of Count No. 27 because of lack of proof.

         3- With regard to the request for liquidated damages in the amount of EUR 2,000,000

283.     The Arbitral Tribunal refers to Articles 681, 682, and 683 of the Guinean Civil Code, 169 which
         stipulate the following:

         “Article 681 of the Guinean Civil Code: The liquidated damages due, for example, pursuant to the
         terms of Article 673 above may be due only after a formal notice of default made to the debtor
         demanding it to perform its obligation.

         Article 682 of the Guinean Civil Code: A debtor may be ordered to pay liquidated damages, not
         only because of the non-performance of the obligation but also because of the tardiness in the
         execution of it, unless it proves an external cause, a fortuitous event, or a force majeure event that
         cannot be attributed to the debtor.




168 Correspondence from the Claimant dated March 20, 2018 with copies of the Civil Code and the Code of Civil Procedure of

Guinea attached.
169 Cf., Correspondence from the Claimant dated March 29, 2018.




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       Article 683 of the Guinean Civil Code: The liquidated damages due to a creditor shall include, in
       general, the loss that it has suffered and, potentially, the gain of which the creditor has been
       deprived. However, when a contract stipulates that the party that does not execute the clauses shall
       pay a specific sum as liquidated damages, the other party may be awarded only said sum, no more
       and no less.”

284.   It is clear from a reading of these articles in the G uinean Civil Code taken together that the
        liquidated damages due in case of tardiness in the execution or non-performance on the part of the
        debtor of the obligation are due after the completion of a formality: the debtor being sent a formal
        notice of default indicating that it must perform its obligation.

285.   It is evident in this particular case from the exhibits submitted by the Claimant that there were
        several requests and reminders for payment of the amounts due on the basis of the Amendments;
        however, there does not appear anywhere that there exists a formal notice of default regarding the
        claim for liquidated damages.

286.   In addition, a careful reading of Article 682 of the Guinean Civil Code reveals that the award of
        liquidated damages to the creditor who is the victim of late performance or non-performance of his
        right to the receivable is optional.

287.   In fact, a contractual breach per se does not necessarily signify the existence of damage that has a
        causal relationship to said breach. Liquidated damages may be awarded only if the Arbitral
        Tribunal finds, at the time it rules, that a prejudice resulted from the contractual breach.

288.   The Arbitral Tribunal notes that the Claimant has only alleged that it has incurred considerable
       sums of capital from shareholders’ equity, with the support of banking institutions for the
       completion of the works, and that the non-payment of the price of the Procurement Contracts has
       caused cash flow difficulties for it.

289.   However, the Claimant has not proven said cash flow difficulties. Such proof could, for example,
       be provided by the production of requests for repayment emanating from said financial institutions
       that the Claimant was unable to make since the Government of the Republic of Guinea did not
       honor its financial commitments to it.

290.   It follows therefrom that the Claimant has not provided evidence proving the amount of the
        prejudice invoked.

291.   Therefore, the Arbitral Tribunal dismisses the request for liquidated damages as articulated
       by the Claimant for the amount of EUR 2,000,000.




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   B.4. THE REQUEST RELATED TO PROVISIONAL ENFORCEMENT

              a. Position of the Parties

         1- Position of the Claimant

          During the Final Hearing for Pleadings held on February 20, 2018, the Claimant made an additional
         request to the Arbitral Tribunal, i.e., that the final award be accompanied by provisional
         enforcement.170

         2- Position of the Respondent

292.     The Respondent has not participated in any of the arbitral proceeding, including the Final Hearing
         for Pleadings and, accordingly, has not submitted any response regarding the provisional
         enforcement requested by the Claimant, although all the procedural documents and correspondence
         were served upon it at its various addresses via DHL express courier. The Arbitral Tribunal has
         prepared a table summarizing the pieces of correspondence served upon the Respondent and the
         dates on which they were received by the Respondent at its various addresses proving that the
         Respondent was indeed aware of the entirety of the progress of the arbitral proceeding and of the
         position taken by the Claimant.

              b- The Arbitral Tribunal

293.     During the Final Hearing for Pleadings dated February 20, 2018, the Claimant made an additional
         supplementary request to the Arbitral Tribunal, i.e., that the final award be accompanied by
         provisional enforcement.171

294.     The Arbitral Tribunal would like to refer to Article 23(4) of the ICC Rules, which stipulates, “After
         the Terms of Reference have been signed or approved by the Court, no party shall make new claims
         which fall outside the limits of the Terms of Reference unless it has been authorized to do so by the
         arbitral tribunal, which shall consider the nature of such new claims, the stage of the arbitration
         and other relevant circumstances.”

295.     Since the Arbitral Tribunal has considered the request for provisional enforcement and its ancillary
         nature with respect to the claims made in the Terms of Reference, and after being assured that said
         request was properly notified to the Respondent with a delivery confirmation receipt along with




170 Transcript of the Hearing held on February 20, 2018, p. 41, paras. 46–47: “we solemnly request that you accompany your

decision with provisional enforcement”.
171 Transcript of the Hearing held on February 20, 2018, p. 41, paras 46–47: “we solemnly request that you accompany your decision

with provisional enforcement”.


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          the transcript of the Final Hearing for Pleadings held on February 19 and 20, 2018, the Arbitral
          Tribunal upholds said request in light of the circumstances of the case and the power conferred
          upon the Arbitral Tribunal to accept this type of ancillary request pursuant to the aforementioned
          Article 23(4) of the ICC Rules.

296.      Therefore, the Arbitral Tribunal decides that the final award shall be accompanied by
          provisional enforcement.

      B.5. THE PENALTIES FOR LATE PAYMENT


                a. Positions of the Parties

          1 - Position of the Claimant

297.     The Claimant has asked the Arbitral Tribunal to “order the Republic of Guinea in Conakry to pay
         penalties for late payment in the amount of EUR 5,805,126.13 and GNF 506,725,585 to Compagnie
         Sahélienne d’Entreprise, known as “CSE”, interest that accrues until the arbitral award is
         rendered.”172.

298.     Furthermore, the Claimant, in response to the question asked by the Arbitral Tribunal in its
         correspondence dated October 3, 2017 (the Arbitral Tribunal’s questions sent to the Claimant) and
         then during the Final Hearing for Pleadings173 and in the subsequent correspondence from the
         Tribunal,174 provided clarifications regarding the basis for the calculation of the penalties for late
         payment requested.

299.     The method described by the Claimant for the calculation of the penalties for late payment is based
         on the contractual provisions, in particular, Article 11.7 of the General Administrative Terms and
         Conditions, which stipulates the following: “[I]n the event of late payments due and payable in
         compliance with the provisions of Article 13.2 of the General Administrative Terms and
         Conditions, the Contractor shall be entitled to penalties for late payment at the rate stipulated in
         the Special Administrative Terms and Conditions”. The Claimant maintains that the applicable
         rates are stipulated by Article 17 of the Special Administrative Terms and Conditions, which
         specify the following rates:

          “ - Central Bank of the Republic of Guinea GNF rate: policy rate: 9%
             - Euro rate: Central Bank of West African States (BCEAO) TEN + 2 = 8.75%”175

300.     The Claimant made the calculation of the penalties for late payment as follows:




172 Request for Arbitration p. 8; Statement of Claim p. 11.
173 Transcript of the Hearing held on February 20, 2018, p. 42, paras. 21 through 23, and p. 43, paras. 1 through 21.
174 Correspondence from the Arbitral Tribunal dated April 14, 2018.
175 Correspondence from the Claimant dated March 29, 2018.




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          “Interest = Amount of the delinquent receivable X interest rate X number of days late/30
          Thus, the penalties for late payment are as follows:
              • Penalties for late payment on portions in Euros of Lots 4 and 5 = EUR 5,805,126.13
              • Penalties for late payment on portions of Lots 4 and 5 denominated in GNF = GNF
                  506,725,585’”176

301.      Moreover, the Claimant referred to the legal texts in the Guinean Civil Code that justify the claims
          and the calculation of the interest, in particular, in Articles 637,177 638,178 and 639179 of Title 1
          entitled “Contracts or Contractual Obligations in General in the Guinean Civil Code” as well as
          to Articles 649,180 668, 181 and 669182 of that same code. The Claimant, in addition, referred to
          Section 5 of that same code involving the calculation of the liquidated damages in Guinean law, in
          particular, Articles 681,183 682,184, 683, 185 and 684.186




176 Correspondence from the Claimant dated March 29, 2018.
177 Article 637 of the Guinean Civil Code: “a contract is an agreement, that is, a meeting of the minds between or among one or
more persons who undertake obligations to one or more other persons, to give, to do, or to not do something”.
178 Article 638 of the Guinean Civil Code: “He or she is required to ensure the delivery thereof in accordance with the general

rules regarding execution of obligations and in accordance with the specific provisions of special contracts.”
179Article 639 of the Guinean Civil Code: “the debtor of an obligation to do or not do something must perform his or her

obligation fully.”
180 Article 649 of the Guinean Civil Code: “For an agreement to be legally valid, four main conditions are required:

          Consent between the Parties;
          Their capacity to conclude a contract:
          A certain purpose that forms the subject matter of the commitment;
          Finally, a lawful cause, that is, one that no text prohibits.”
181 Article 668 of the Guinean Civil Code : “Legally formed agreements shall take the place of the Law for those who made them.

They may be revoked only by mutual consent or for causes that are authorized by law.”
182 Article 669 of the Guinean Civil Code : “The mandatory force of agreements has a two-fold foundation:

          A moral idea, keeping one’s word
          An economic interest, the need for the credit.
This two-fold foundation means that agreements must be concluded in good faith and that they require not only compliance with
the clauses that are expressed therein, but also with everything that equity, customary practice, or the Law gives to them depending
on the nature of them.”
183 Article 681 of the Guinean Civil Code: “The liquidated damages due, for example, pursuant to the terms of Article 673 above

may be due only after a formal notice of default has been made to the debtor demanding it to perform his obligation.”
184 Article 682 of the Guinean Civil Code: “A debtor may be ordered to pay liquidated damages, not only because of the non-

performance of the obligation but also because of tardiness in the performance of it, unless it proves an external cause, a fortuitous
event, or a force majeure event, that cannot be attributed to the debtor.”
185 Article 683 of the Guinean Civil Code: “[T]he liquidated damages due to a creditor shall include, in general, the loss that it

has sustained and, potentially, the gain of which the creditor has been deprived. However, when a contract stipulates that the party
that does not execute the clauses shall pay a specific sum as liquidated damages, the other party may be awarded only said sum,
no more and no less.”
186 Article 684 of the Guinean Civil Code: “[L]liquidated damages that are separate from those due for non-performance or

tardiness in the performance may also be requested in the event of manifest bad faith on the part of the debtor.”


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            2 - Position of the Respondent

302.        The Respondent has not participated in the arbitral proceeding and has not submitted any response
            regarding the penalties for late payment, although all the procedural documents and correspondence
            have been served upon it at its various addresses via DHL express courier. The Arbitral Tribunal
            has prepared a summary table of the various pieces of correspondence served upon the Respondent
            and the dates on which they were received by the Respondent at its various addresses proving that
            the Respondent was indeed aware of the entire process of the arbitral proceeding and the position
            of the Claimant.

                   b. The Arbitral Tribunal

303.        Within the framework of the list of questions sent to the Claimant,187 the Arbitral Tribunal asked
            the Claimant to answer the following question regarding the calculation of the penalties for late
            payment: “[O]n what basis did the Claimant calculate the penalties for late payment due in the
            event of late payment?”

304.        Likewise, during the Final Hearing for Pleadings, the Tribunal reiterated that question to the
            Claimant asking it to provide clarifications regarding the methods used for calculation of the
            penalties for late payment and about the date on which the interest began to accrue on the basis of
            Guinean law. 188

305.        The Arbitral Tribunal notes the Claimant’s answer to said question in its correspondence dated
            March 29, 2018 in which it based its response on the contractual provisions of the G eneral
            Administrative Terms and Conditions and the Special Administrative Terms and Conditions of
            both Procurement Contracts, in particular, Article 11.7 of the General Administrative Terms and
            Conditions and Article 11.7 of the Special Administrative Terms and Conditions.

306.        The contractual provisions to which the Claimant referred stipulate:

            Article 11.7 of the General Administrative Terms and Conditions: “[I]n the event of late payments
            that are due and payable in compliance with the provisions of Article 13.2 of the General
            Administrative Terms and Conditions, the Contractor shall be entitled to penalties for late payment
            at the rate stipulated in the Special Administrative Terms and Conditions”. If said tardiness results
            from a cause for which the Project Owner is authorized, on the basis of the Procurement Contract,
            to suspend the payments, the penalties for late payment shall not be due”.

            Article 11.7 of the Special Administrative Terms and Conditions:




187   Correspondence from the Arbitral Tribunal dated October 3, 2017.
188   Transcript of the Hearing held on February 20, 2018, p. 41 para. 21 through 25.


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        “[...] for tardiness resulting in penalties for late payment, the interest rate for late payment shall
        be:
         For instances of tardiness resulting in the right to collect penalties for late payment for the
             payments denominated in foreign currency: the “legal” LEG rate in effect within the country
             of origin of the currency, plus one percent (1%) or otherwise, the discount rate of the central
             bank of the country of origin of the currency plus 2%.
         For tardiness resulting in the right to collect penalties for late payment in Guinean Francs
             (GNF): “the policy rate of the Central Bank of the Republic of Guinea plus two percent (2%).
             [...]”

307.   The Arbitral Tribunal notes that the agreements concluded between CSE and the Republic of
       Guinea in Conakry are, in particular, the General Administrative Terms and Conditions and Special
       Administrative Terms and Conditions appended to Procurement Contract Nos. 2003/0324/l/2/l/N
       and 2003/0325/12/l/2/N.

308.   The Arbitral Tribunal also refers here to the provisions of the Guinean Civil Code, which stipulates,
       in Articles 668 and 669, the following:

        «Article 668 Of the Guinean Civil Code : Legally formed agreements shall take the place of the
       Law for those who made them. They may be revoked only by mutual consent or for causes that are
       authorized by law.”

         Article 669 Of the Guinean Civil Code : The mandatory force of agreements has a two-fold
        foundation:
              A moral idea, keeping one’s word
              An economic interest, the need for the credit.
       This two-fold foundation means that agreements must be concluded in good faith and that they
       require not only compliance with the clauses that are expressed therein, but also with everything
       that equity, customary practice, or the Law gives to them depending on the nature of them.”

309.   It is evident from the provisions cited above that every agreement constitutes the law for the parties
       and that the latter must execute it in good faith.

310.   In this particular case, the Arbitral Tribunal has held that the Claimant has provided proof of the
       delinquent receivables on the basis of Amendment No. 1 of the Procurement Contract for Lot No.
       4 and on the basis of Amendment No. 1 of the Procurement Contract for Lot No. 5, which are the
       sums of EUR 3,470,475.73 and EUR 3,897,891.12 respectively.

311.   It is also established that the Respondent has not provided proof that it has performed its obligations
       to make payment on the basis of the delinquent Counts denominated in Euros for the Procurement
       Contracts for Lot 4 and for Lot 5 or that said late payments resulted from a cause for which the




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            Respondent was authorized, on the basis of the Procurement Contract, to suspend the payments. In
            addition, the Arbitral Tribunal notes that it is not clear from the evidence in the case file that there
            was a cause that authorized the Respondent to suspend the payments.

312.        It is clear from these findings that it is, therefore, necessary to apply the contractual provisions, in
             particular, Articles 11.7 of the G eneral Administrative Terms and Conditions and 11.7 of the
             Special Administrative Terms and Conditions, which stipulate the payment of penalties for late
             payment in the case of late payment.

313.        With regard to the interest rate applicable to the penalties for late payment, the Arbitral Tribunal
            refers here to Article 11.7 of the Special Administrative Terms and Conditions, which stipulates
            the following:
            “[...] for tardiness resulting in penalties for late payment, the interest rate for late payment shall
            be:
             For the cases of tardiness resulting in the right to collect penalties for late payment for the
                 payments denominated in foreign currency: the “legal” LEG rate in effect in the country of
                 origin of the currency, plus one percent (1%) or otherwise, the discount rate of the central bank
                 of the country of origin of the currency plus 2%.
             For tardiness resulting in the right to collect penalties for late payment in Guinean Francs
                 (GNF): “the policy rate of the Central Bank of the Republic of Guinea plus two percent (2%).
                 [...]”

314.        The Arbitral Tribunal has granted the Claimant the amounts of the delinquent receivables stipulated
            in the Amendments denominated in Euros for the Procurement Contract for Lot 4 and for the
            Procurement Contract for Lot 5.

315.        Upon reading Article 11.7 of the Special Administrative Terms and Conditions, the Arbitral
            Tribunal notes two possibilities for the determination of the interest rate for the penalties for late
            payment for the payments denominated in foreign currency, i.e., the Euro:
             Either the LEG “legal” rate in effect in the country of origin of the currency, plus one percent
                (1%);
             Or, otherwise, the discount rate of the central bank of the country of origin of the currency plus
                2%.

316.        The Arbitral Tribunal notes that the Claimant has used 8.75% for the calculation of the interest rate
            on the basis of the rates of the Central Bank of the Western African States.189 However, said interest
            rate is the reference rate for cases of tardiness resulting in the right to collect penalties for late
            payment denominated in G uinean Francs and not in Euros. Article 11.7 of the Special
            Administrative Terms and Conditions is, in this regard, very clear: the interest rates used for
            penalties for late payment for the payment denominated in Euros are made pursuant to one of the
            two rates mentioned in the aforementioned paragraph 304.



189   Correspondence from the Claimant dated March 29, 2018.


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317.        The Arbitral Tribunal therefore decides that it will use the discount rate of the European Central
            Bank (ECB) for the determination of the interest rates to be applied for the penalties for late
            payment plus 2%, where a uniform legal rate within the Euro area does not exist. The rate of the
            ECB applicable shall be the rate in effect on the date selected by the Arbitral Tribunal as the
            beginning date for the calculation of the penalties for late payment determined in the sections
            below.

318.        With regard to the beginning date for calculating the interest due for the penalties for late payment,
            the Arbitral Tribunal notes that the contractual provisions of the Procurement Contract do not
            stipulate said beginning date and that, therefore, reference must be made to the applicable
            regulatory provisions.

319.        The two Procurement Contracts are Public Procurement Contracts and, as such, are subject to the
            Guinean Public Procurement Contracts Code submitted for the case file by the Claimant.190

320.        Article 119 entitled “Rights to Penalties for Late Payment” in Decree No. 2012–128 dated
             December 3, 2012 regarding the G uinean Public Procurement Contracts Code 191 provides the
             following:
             “The lack of payment or of release of a guarantee within the time limits established by the Special
            Administrative Terms and Conditions shall, by operation of law, begin and cause to elapse the right
            to the benefit of the contract holder to penalties for late payment calculated from the day after the
            expiration of said time limits until the day on which the payment order is issued by the authorized
            accountant.”

321.        It is clear from this provision of Article 119 of Decree No. 2012–128 dated December 3, 2012 cited
             above that the contractor shall receive, by operation of law and without other formalities, penalties
             for late payment with interest beginning to accrue on the day after the expiration of the deadline
             for payment.

322.        The Arbitral Tribunal refers to Article 5 of Amendment No. l of the Procurement Contract for Lot
            4, which stipulates that : “the terms and conditions of payment shall be as follows:
             KFAED: EUR 206,356.09
             SFD: EUR 194,356.04
             OPEC: EUR 181,278.34
             Guinean NDB: EUR 3,074,933.34, in accordance with the following payment schedule:
                     • First quarter of 2010: EUR 768,733.31
                     • Second quarter of 2010: EUR 768,733.31
                     • Third quarter of 2010: EUR 768,733.31
                     • Fourth quarter of 2010: EUR 768,733.31.”




190   Cf., Request for Arbitration, Exhibit no. 9.
191   Cf., Request for Arbitration, Exhibit no. 9.


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323.     The Arbitral Tribunal also refers to Article 5 of the aforementioned Amendment No. 1 to the
         Procurement Contract for Lot 5, which stipulates the following: “[T]he terms and conditions of
         payment shall be as follows:
                  - SFD: EUR 383,854.57
                  - OPEC: EUR 104,407.49
                  - Guinean NDB: EUR 3,409,629.06, in accordance with the following payment
                      schedule:
                  • First quarter of 2010: EUR 852,407.26
                  • Second quarter of 2010: EUR 852,407.26
                  • Third quarter of 2010: EUR 852,407.26
                  • Fourth quarter of 2010: EUR 852,407.26.”

324.     It is evident from the contractual provisions that the payment is due on December 31, 2010.

325.     However, the Arbitral Tribunal, during Final Hearing for Pleadings, asked the Claimant to
         determine the date on which the penalties for late payment begin to elapse for the arrears related to
         the Amendments. In response to the question from the Arbitral Tribunal, the Chief Financial
         Officer of the Claimant acknowledged that the penalties for late payment were calculated beginning
         on December 10, 2012. 192

326.     Therefore, the Arbitral Tribunal is using the date of December 10, 2012 as claimed by the Claimant
         to have the penalties for late payment begin and not the due date of the delinquent receivables
         stipulated by Articles 5 of the Amendments No. 1 of the two Procurement Contracts, which is
         January 1, 2011. The Arbitral Tribunal also notes that the discount rate of the ECB on December
         10, 2012 was 0.75%. 193 Said rate should be increased by 2% in accordance with Article 11.7 of the
         Special Administrative Terms and Conditions.

327.     Therefore, with regard to the request for penalties for late payment, the Arbitral Tribunal has
         determined that the penalties for late payment due on the basis of the two Procurement Contracts
         are on the order of 2.75% per year for each of the two Procurement Contracts and that the interest
         shall begin to accrue beginning on the date of December 10, 2012, until the date of the final
         payment by the Respondent of the amount of the compensation determined by the Arbitral Tribunal
         in paragraphs 254 and 282 above.

      B.6 THE COSTS AND EXPENSES OF THE ARBITRATION

328.     The Arbitral Tribunal will answer the following question: What are the costs of this arbitration,
         and which Party should incur them, and in what proportion?




192 Transcript of the Hearing held on February 19, 2018, p. 54, para. 45, p. 55, paras. 1–2 : (para. 35—“Mr. Gueye – It is beginning
on 10 December that the penalties for late payment were calculated.”)
193 http://sdw.ecb.europa.eu/browseTable.do?node=9691107.




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                a. Positions of the Parties

          1- Position of the Claimant

329.     In its Request for Arbitration, 194 the Claimant asked the Arbitral Tribunal “To order the Republic
          of Guinea in Conakry to pay all the expenses and expenditures caused by this arbitral proceeding,
          which will be set forth in submissions”.

330.     The Claimant made that same request in its Statement of Claim, 195 in the following terms: “To
         order the Republic of Guinea in Conakry to pay all the expenses and expenditures caused by this
         arbitral proceeding.”

331.     The Arbitral Tribunal notes that during the Final Hearing for Pleadings, the Claimant maintained
         that it paid the sum of EUR 510,000 for the expenses of the arbitral proceeding196 and the sum of
         EUR 150,000 for the expenses of representation and the expenses of travel between Paris and
         Dakar. 197

332.     The Arbitral Tribunal asked the Claimant to submit to it, after the Final Hearing for Pleadings, the
         supporting documents proving the costs generated by the arbitral proceeding as well as the legal
         costs.198

333.     The Claimant subsequently submitted, in its correspondence dated March 29, 2018, the following
         supporting documents:




194 Request for Arbitration, p. 8.
195 Statement of Claim, pp. 10 and 11.
196 Transcript of the Hearing held on February 20, 2018, p. 40, paras. 22 through 30.
197 Transcript of the Hearing held on February 20, 2018, p. 40, paras. 44 through 46.
198 Transcript of the Hearing held on February 20, 2018, p. 40, paras. 44 through 46 and p. 41, para. [sic] through 9 :

“The Guinean Government... CSE has also -- how shall I put it -- paid for representation expenses - my own professional fees --
but also for all the trips that have been made between Paris and Dakar, and we calculate that sum to be EUR 150,000.
Ms. President.- Mr. NDIAYE, as you know, after this final procedural hearing, if you like, a summary of your written submissions
on the basis of what has happened must be submitted, without any additional documents.
The only written submissions that you may add are regarding the applicable law and the provisions of applicable law, as well as
the costs. We would like to have a statement of the costs that you have requested for the arbitral proceeding and you have asserted
that there were the costs that have been paid to the ICC; and next, the legal costs in the proceeding, which must also be sent to the
Arbitral Tribunal.
Mr. Ndiaye - Very well.”


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                A bank wire transfer to the ICC dated March 5, 2018 in the amount of USD 251,975 related to
                 the ICC’s call for funds.
                A bank wire transfer to the ICC dated May 31, 2017 in the amount of USD 146,70.86 [sic]
                 related to the professional fees of the arbitrators.199
                A bank wire transfer to the ICC dated March 16, 2017 in the amount of USD 46,765.19.200
                A check made payable to the ICC dated September 12, 2016 for the payment of the expenses
                 of the arbitration in the amount of EUR 55,390.
                A check made payable to the ICC dated June 24, 2016 for the submission of the Request for
                 Arbitration in the amount of EUR 2,643.

334.        The Arbitral Tribunal notes that the Claimant did not submit the supporting documents for its legal
            costs.

            2- Position of the Respondent

335.        The Respondent has not participated in the arbitral proceeding and has not submitted any response
            regarding the costs of the arbitration and on which Party they are incumbent, although all the
            procedural documents and correspondence have been served upon it at its various addresses, via
            DHL express courier. The Arbitral Tribunal has prepared a table summarizing the pieces of
            correspondence served upon the Respondent and the dates of receipt by the Respondent at its
            various addresses proving that the Respondent was aware of the entirety of the arbitral proceeding
            and of the position of the Claimant.

                   b. The Arbitral Tribunal

336.        The Arbitral Tribunal refers here to Article 37 of the ICC Rules applicable to this arbitral
            proceeding, which stipulates the following:

            “1- The costs of the arbitration shall include the fees and expenses of the arbitrators and the ICC
            administrative expenses fixed by the Court, in accordance with the scales in force at the time of the
            commencement of the arbitration, as well as the fees and expenses of any experts appointed by the
            arbitral tribunal and the reasonable legal and other costs incurred by the parties for the
            arbitration.

            2- The Court may fix the fees of the arbitrators at a figure higher or lower than that which would
            result from the application of the relevant scale should this be deemed necessary due to the
            exceptional circumstances of the case.




199    Initial amount: EUR 130,850.
200   Initial amount: EUR 44,180.00.


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       3- At any time during the arbitral proceedings, the arbitral tribunal may make decisions on costs,
       other than those to be fixed by the Court, and order payment.

       4- The final award of the arbitral tribunal shall fix the costs of the arbitration and decide which of
       the parties shall bear them or in what proportion they shall be borne by the parties.

       5- In making decisions as to costs, the arbitral tribunal may take into account such circumstances
       as it considers relevant, including the extent to which each party has conducted the arbitration in
       an expeditious and cost-effective manner.

       6- I n the event of the withdrawal of all claims or the termination of the arbitration before the
       rendering of a final award, the Court shall fix the fees and expenses of the arbitrators and the ICC
       administrative expenses. I f the parties have not agreed upon the allocation of the costs of the
       arbitration or other relevant issues with respect to costs, such matters shall be decided by the
       arbitral tribunal. If the arbitral tribunal has not been constituted at the time of such withdrawal or
       termination, any party may request the Court to proceed with the constitution of the arbitral
       tribunal in accordance with the Rules so that the arbitral tribunal may make decisions as to costs.”

337.   It is clear from Article 37 as cited above that the distribution of the expenses of the arbitration is at
        the discretion of the Arbitral Tribunal as long as the expenses incurred by the parties are reasonable.

       With regard to the expenses of the ICC

338.   The Arbitral Tribunal, by its assessment at its sole discretion, deems that in light of the outcome of
       the dispute as settled by the Arbitral Tribunal determining that the Respondent is liable to the
       Claimant for the payment of the amounts due on the basis of the Procurement Contracts, and that
       in light of the fact that the Claimant has paid for all the expenses of the arbitral proceeding and that
       the latter has prevailed in the majority of its claims, hereby determines that the Respondent shall
       be liable for all the expenses of the arbitral proceeding as established by the Court of the ICC.

339.   The Secretariat of the ICC, in its letter dated July 27, 2018, informed the Parties and the Arbitral
       Tribunal that the expenses of the arbitration as established by the Court of the ICC amount to USD
       541,450.

       With regard to the representation expenses and other expenditures of the Claimant

340.   The Arbitral Tribunal notes that the Claimant has not submitted any supporting documents
       regarding the amounts alleged during the Final Hearing for Pleadings that are related to its
       representation expenses and other expenditures incurred during this arbitral proceeding.

341.   Therefore, the Arbitral Tribunal has decided not to grant the Claimant its representation expenses
       and other expenditures incurred during this arbitral proceeding.




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VII- [sic] ENACTING CLAUSE

342.   The Arbitral Tribunal:

   1. Declares that it has jurisdiction to hear the dispute resulting from the two Public Works Procurement
      Contracts for Lot 4 and Lot 5 within a single arbitral proceeding on the basis of the arbitration
      clause stipulated in Article 29 of the Special Administrative Terms and Conditions of the two
      Procurement Contracts.

   2. Orders the Respondent to pay the amount of EUR 3,470,475.73 on the basis of the amount of the
      delinquent receivables per Amendment No. 1 of the Procurement Contract for Construction Work
      entitled “Upgrading of the 2x2-lane [Road] between Tombo and Gbessia Airport (Conakry), Lot 4:
      Kenien Section - T1, Procurement Contract for Construction Work No. 2003/0325/1/2/1/2/N” dated
      June 25, 2003.

   3. Orders the Respondent to pay EUR 3,897,891.12 on the basis of the amount of delinquent
      receivables per Amendment No. 1 to the Procurement Contract for Construction Work entitled
      “Upgrading of the 2x2-lane [Road] between Tombo and Gbessia Airport (Conakry), Lot 5: Section
      T1-T2” including the two interchanges at the intersections of the T1 and the T2”, Procurement
      Contract for Construction Work No. 2003/0324/1/2/1/2/N” dated June 25, 2003 .

   4. Dismisses the Claimant’s claim for the payment of the amount de GNF 96,939,178 for the amount
      of the delinquent receivables related to Counts Nos. 16 and 17 for the Procurement Contract for
      Construction Work entitled “Upgrading of the 2x2-lane [Road] between Tombo and Gbessia
      Airport (Conakry), Lot 4: Kenien Section - T1, Procurement Contract for Construction Work No.
      2003/0325/1/2/1/2/N” dated June 25, 2003.

   5. Dismisses the Claimant’s claim for the payment of the amount de GNF 112,780,322 on the basis
      of amount of the delinquent receivables per Amendment No. 1 to the Procurement Contract for
      Construction Work entitled “Upgrading of the 2x2-lane [Road] between Tombo and Gbessia
      Airport (Conakry), Lot 5: Section T1.-T2” including the two interchanges at the intersections of
      the T1 and the la T2”, Procurement Contract for Construction Work No. 2003/0324/1/2/1/2/N”
      dated June 25, 2003.

   6. Orders the Respondent to pay penalties for late payment on the order of 2.75% per year for each of
      the two Procurement Contracts, which shall accrue interest beginning on the date of December 10,
      2012, the date on which the Claimant claims the calculation of the interest rate, until the date of the
      final payment by the Respondent of the amount of compensation determined by the Arbitral
      Tribunal in the amount of EUR 3,470,475.73 for the Procurement Contract for Lot 4 and EUR
      3,897,891.12 for the Procurement Contract for Lot 5.

   7. Dismisses the Claimant’s Claim for payment of liquidated damages in the amount of EUR
      2,000,000.



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8. Orders the Respondent to pay the expenses of the arbitration established by the Court of the
   International Chamber of Commerce disbursed by the Claimant during the arbitral proceeding in
   the amount of USD 541,450.

9. Orders provisional enforcement of this Arbitral Award.

10. Dismisses all other requests or claims.




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Rendered and signed in Paris, France on August 7, 2018




                                                 [signature]
                                    Prof. Dr. Nayla COMAIR-OBEID
                                                President



                     [signature]                                       [signature]

              Dr. Seydou Madani SY                       Mr. Joachim BILE-AKA, Attorney at Law

                  (Co-Arbitrator)                                   (Co-Arbitrator)




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                                     ICC 22056/DDA: Final Award
                                               Appendix 1
           (DHL Receipts for transmission to the Respondent of all the pieces of correspondence)

 Correspondence   Date of Dispatch by Date of Receipt by Date of Receipt by Republic of Guinea         Appendix
                     the Tribunal     the Judicial Agent    the Guinean      Minister of Public
                                        of the Guinean    Embassy (Paris,         Works
                                         Government           France)
                                      (Conakry, Guinea)

AT-P-001          May 10, 2017       May 15, 2017       May 29, 2017 (sent                        1
                                                        with AT-P-003)
AT-P-002          May 23, 2017       May 26, 2017       May 29, 2017 (sent                        2
                                                        with AT-P-003)
AT-P-003          May 25, 2017       May 29, 2017       May 29, 2017                              3


AT-P-004          June 6, 2017       June 9, 2017       June 7, 2017                              4
AT P-005          June 14, 2017      June 19, 2017      June 15, 2017                             5

AT-P-006          June 15, 2017      June 20, 2017      June 16, 2017                             6

AT-P-007          June 16, 2017      June 20, 2017      June 19, 2017                             7

AT-P-008          June 20, 2017      June 27, 2017      June 21, 2017                             8

AT-P-009          June 22, 2017      June 27, 2017      June 23, 2017                             9

AT-P-010          June 27, 2017      July 3, 2017       June 29, 2017                             10

AT-P-011          July 6, 2017       July 11, 2017      July 7, 2017                              11


AT-P-012          August 4, 2017     August 8, 2017     August 7, 2017                            12
AT P-013          August 30, 2017                      August 31, 2017                            13
                                     September 4, 2017
AT-P-014          October 3, 2017    October 6, 2017   October 9, 2017                            14

AT-P-015          October 4, 2017    October 9, 2017    October 5, 2017                           15

                                   November 10,
AT-P-016          November 6, 2017 2017                 November 9, 2017     November 10, 2017 16–17
                                   November 10,
AT-P-017          November 7, 2017 2017                 November 9, 2017     November 10, 2017

AT-P-018          December 12, 2017 December 21, 2017 December 20, 2017 December 21, 2017
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AT-P-019   December 14, 2017   December 21, 2017 December 20, 2017    December 21, 2017
                                                                                          18–22
AT-P-20    December 16, 2017   December 21, 2017 December 20, 2017    December 21, 2017

AT P-21    December 17, 2017   December 21, 2017 December 20, 2017    December 21, 2017

AT-P-22    December 18, 2017   December 21, 2017 December 20, 2017    December 21, 2017

AT-P-23    December 21, 2017   January 3, 2018    January 2, 2018     January 3, 2018

AT-P-24    December 18, 2017   January 3, 2018    January 2, 2018     January 3, 2018     23–24

AT-P-25    January 8, 2018     January 12, 2018   January 11, 2018    January 12, 2018    25

AT-P-26    January 12, 2018    January 18, 2018   January 17, 2018    January 18, 2018    26

AT-P-27    January 24, 2018    January 30, 2018   January 29, 2018    January 30, 2018    27

AT-P-28    February 15, 2018   February 20, 2018 February 19, 2018    February 20, 2018 28

AT-P-29    February 26, 2018   March 1, 2018      February 28, 2018   March 1, 2018       29

AT-P-30    February 27, 2018   March 27, 2018     March 26, 2018      March 27, 2018      30–31

AT-P-31    March 22, 2018      March 27, 2018     26 Mary 204/        March 27, 20018

AT-P-32    March 29, 2018      April 9, 2018      April 6, 2018       April 9, 2018       32

AT-P-33    April 14, 2018      April 19, 2018     April 17, 2018      April 19, 2018      33

AT-P-34    April 17, 2018      April 27, 2018     April 25, 2018      April 27, 2018      34–35

AT-P-35    April 24, 2018      April 27, 2018     April 25, 2018      April 27, 2018

AT-P-36    July 12, 2018       July 16, 2018      July 3, 2018        July 16, 2018       36
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                                                 JUDICIAL AGENT OF THE [GUINEAN] GOVERNMENT

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